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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                NO. 9:18-cv-80176-BB/BR
             - - - - - - - - - - - - - - - - - - - - - - - - x
             Ira Kleiman, as the personal
             representative of the Estate
             of David Kleiman, and W&K Info
             Defense Research, LLC,
                         Plaintiffs,
                    v.
             Craig Wright,
                         Defendant.
             - - - - - - - - - - - - - - - - - - - - - - - - x
                                 *** CONFIDENTIAL ***
                           DEPOSITION OF GAVIN A. ANDRESEN
                    Wednesday, February 26, 2020 at 9:11 a.m.
                         COURTYARD MARRIOTT HADLEY AMHERST
                                   423 Russell Street
                             Hadley, Massachusetts 01035


             Reporter:      Lori-Ann London, RPR
                                 ____________________
                                 MAGNA LEGAL SERVICES
                                          866-624-6221
                                         www.MagnaLS.com

     Plaintiffs' Designations
     Defendant's Objections
     Defendant's Counter- Designations
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        1                      APPEARANCES OF COUNSEL
        2    On Behalf of the Plaintiffs:
        3               By:    Velvel Freedman, Esquire
        4               Kyle Roche, Esquire (on telephone)
        5               ROCHE CYRULNIK FREEDMAN LLP
        6               Southeast Financial Center
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       10               vel@rcfllp.com
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       12    On Behalf of the Defendant:
       13               By:    Zalman Kass, Esquire
       14               RIVERO MESTRE
       15               2525 Ponce de Leon Boulevard, Suite 1000
       16               Miami, Florida 33134
       17               305.445.2500
       18               zkass@riveromestre.com
       19
       20    ALSO PRESENT:
       21               Mati Kiin, Vidgeographer
       22               Ira Kleiman (on telephone)
       23
       24
       25
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                                                                           Page 7
        1                       P R O C E E D I N G S
        2                      THE VIDEOGRAPHER:       Good morning.
        3    We're now going on the record.          This begins
        4    media -- videotape No. 1 in the deposition of Gavin
        5    Andresen in the matter of -- in the -- in the
        6    matter of the Estate of David Kleiman, et al,
        7    versus Craig Wright.        This matter is held in the
        8    United States District Court, Southern District of
        9    Florida.
       10                      Today is February 26, and the time is
       11    approximately 9:11 a.m.        Our deposition is being
       12    taken at the Courtyard Marriott Hadley Amherst at
       13    the request of Roche Cyrulnik Freedman LLP.
       14                      I am the videographer, and, again, my
       15    name is Mati Kiin, on behalf of Magna Legal
       16    Services.     And our court reporter is Lori London,
       17    here also for Magna Legal Services.
       18                      I will now ask counsel and all
       19    parties present to state their appearances and whom
       20    they represent.
       21                      MR. FREEDMAN:      Vel Freedman, for the
       22    Plaintiffs.
       23                      MR. KASS:    Zalman Kass, for Dr. Craig
       24    Wright.
       25                      THE WITNESS:     I'm Gavin Andresen, I'm
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        1    being deposed.
        2                      THE VIDEOGRAPHER:       Thank you.
        3                      Is there anyone remotely?
        4                      No.   Okay.
        5                      MR. FREEDMAN:      There is a conference
        6    line open, and people may be joining and dropping.
        7                      Do you want a record of who's on?
        8                      MR. KASS:     If somebody's on now, I
        9    think they should just state that they are.
       10                      MR. FREEDMAN:      If anyone's on the
       11    record -- if anyone's on the conference line, can
       12    you please announce yourself?
       13                      (Discussion off the record.)
       14                      MR. ROCHE:     We're having trouble
       15    hearing on the line.        Is there any chance you can
       16    move the phone or the microphone closer to the
       17    witness?     That would be helpful.
       18                      MR. FREEDMAN:      The witness hasn't
       19    spoken really yet.       You're hearing the videographer
       20    from across the room.        But we'll -- we'll push it a
       21    little closer to the witness.
       22                      In the interim, you guys were not on
       23    speaker, so we couldn't hear you.           Can you
       24    re-announce who's on the line telephonically?
       25                      MR. ROCHE:     Kyle Roche, Roche
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                                                                           Page 9
        1    Cyrulnik Freedman, counsel for Plaintiff.
        2                      MR. KLEIMAN:     Ira Kleiman, Plaintiff.
        3                      THE STENOGRAPHER:       I can't hear the
        4    name.
        5                      MR. FREEDMAN:      Ira Kleiman.
        6                      Anyone else?
        7                      (No response.)
        8                      MR. FREEDMAN:      All right, with that,
        9    I'm gonna take you off speaker and put you back
       10    next to Mr. Andresen.
       11                      (Pause.)
       12                      THE VIDEOGRAPHER:       At this point, I
       13    would like the court reporter to please swear in
       14    the witness, and we can get started.
       15                        GAVIN A. ANDRESEN,
       16    a witness called for examination by the Plaintiff,
       17    having been satisfactorily identified by the
       18    production of his Massachusetts driver's license,
       19    and duly sworn by the Notary Public, was examined
       20    and testified as follows:
       21                             EXAMINATION
       22    BY MR. FREEDMAN:
       23          Q      Good morning, Mr. Andresen.         My name is
       24    Vel Freedman, I represent the Plaintiff in this
       25    action.
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             1                     Have you ever been deposed before?
             2          A      I have never been deposed before, no.
             3          Q      So I'm gonna go over some of the ground
             4    rules so we can get through this easier and
             5    quicker.
             6                     It's sometimes more natural for
             7    people to respond with -- non-verbally with shaking
             8    your head yes or no, but in order for the court
             9    reporter to take down your answers, I need you to
           10     try to remember to give a verbal "yes" or a verbal
           11     "no" so we have a record of -- of the way you
           12     responded.
           13           A     Okay.
           14           Q     This is not a marathon.         If you need a
           15     break, let me know, we'll stop; you can go to the
           16     bathroom, take a drink, stretch your legs.
           17                      You understand that you're under oath
           18     today, and the testimony that you're going to give
           19     may be shown to a judge or jury, and they may rely
R          20     on that testimony?
           21           A     Yes, I do.
           22           Q     And if you don't understand a question, I
           23     need you to ask [verbatim] me that you didn't
           24     understand the question.        If you don't ask me and
           25     you answer the question, I'm gonna assume you
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         1    understood it, and I'm gonna rely on that answer;
 R
         2    is that fair?
         3            A   Yes.
         4            Q   Okay.    With that, are there any
         5    medications that you're taking today that would
         6    affect your ability to testify or recall events?
         7            A   No.
         8            Q   Okay.    Thank you.
         9                      Mr. Andresen, can you state your name
       10     and date of birth for the record.
       11           A     Gavin Alexander Andresen,                        ,
       12     1966.
       13           Q     And is that your birth name?
       14           A     That is the name on my birth certificate.
       15           Q     That was an interesting response.
       16           A     It's complicated.       I could get into it if
       17     you really want.
       18           Q     Why don't you give me the 30-second
       19     version.    We'll see if it has any relevance.
       20           A     The 30-second version is, actually I was
       21     born Gavin Alexander Andresen.          My birth
       22     certificate was changed to Gavin Alexander Bell,
       23     when my mom married my dad way back in 1970 -- '70.
       24     And then it was changed back, again -- I actually
       25     changed my name back to Gavin Alexander Andresen.
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         1    So it's complicated.
         2          Q      Got it.   And it sounds like it has no
         3    relevance, so thank you for that.
         4                       Can you tell us your residential
R
         5    address, please.
         6          A
         7          Q      Okay.   And do you have a business
         8    address?
         9          A      I have an office at AmherstWorks,
       10     11 Amity Street in Amherst, Massachusetts.
       11           Q     Okay.    And you were born where?
       12           A     Melbourne, Australia.
       13           Q     And what -- sorry.       You told me your date
       14     of birth, but I've forgotten it.          What -- what was
       15     the year?
       16           A     1966.
       17           Q     '66.
       18                      And when did you leave Australia?
       19           A     1972.
       20           Q     And where did you go from there?
       21           A     Seattle, Washington.
       22           Q     And how long were you in Washington for?
       23           A     Let's see.     Moved from Seattle to Alaska
       24     when I was in third grade, which would be '74,
       25     maybe '75.
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         1          Q     And then...
         2          A     And then from Alaska, we moved to
         3    southern California; that was in '76, I believe.
         4          Q     Okay.    And were you in southern
         5    California for a while, or did you --
         6          A     I was in southern California, yeah,
         7    through most of high -- excuse me -- through most
         8    of school, although we did spend a couple months
         9    living in Arkansas --
       10           Q     Okay.
       11           A     -- when I was a freshman in high school.
       12     But most of that time was southern California.
       13           Q     All right.     And so when did you come to
       14     leave southern California?
       15           A     I went to college at Princeton University
       16     in Princeton, New Jersey, in 1984.
       17           Q     Okay.    And graduated...
       18           A     1988.
       19           Q     Okay.    And where did you go after you
       20     left Princeton?
       21           A     To -- let's see -- Mountain View,
       22     California.
       23           Q     Okay.
       24           A     Silicon Valley.
       25           Q     And were there until...
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         1          A     Well, I moved around different places in
         2    the Bay area from '88 until '96.
         3          Q     Okay.     And in '96, where did you -- did
         4    you -- were you still in California?
         5          A     I was still in California, yeah.
         6          Q     Did there come a time you left
         7    California?
         8          A     Yes.    In '96 we moved from Palo Alto,
         9    California, to Madison, Wisconsin.
       10           Q     Okay.    And when you left Wisconsin -- did
       11     there come a time you left Wisconsin?
       12           A     I left -- left Wisconsin --
       13           Q     You're here in Massachusetts.          Certainly
       14     there came a time you left Wisconsin.
       15           A     Yeah.    We moved from Madison, Wisconsin,
       16     to Amherst, Massachusetts --
       17           Q     There we go.
       18           A     -- in 1999.
       19           Q     Okay.    And have you been in Amherst
       20     since 1999?
       21           A     I have.
       22           Q     Okay.    Thank you for that.
       23                      And so let me take you back a second
       24     to your Princeton education.         Where -- what did you
       25     major in in Princeton?
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         1          A     I majored in computer science.
         2          Q     And then when you graduated in '88 and
         3    you moved to California, did you do that for job
         4    purposes or --
         5          A     Yes, I was hired by Silicon Graphics
         6    Computer Systems.
         7          Q     Okay.     And did you work for Silicon
         8    Graphics Computer Systems for a long time or --
         9          A     Eight years.
       10           Q     Eight years.
       11                      And what did you do for them?
       12           A     I wrote software.
       13           Q     Got it.
       14                      And so that would bring us to '96,
       15     when you moved to Wisconsin, also for job-related
       16     purposes?
       17           A     My wife got her PhD from Stanford.
       18           Q     Okay.
       19           A     And we moved to Wisconsin because she got
       20     a job at the University of Wisconsin.            So that's
       21     why we moved to Wisconsin.
       22           Q     And what about your job with Silicon
       23     Graphics?
       24           A     I left Silicon Graphics and started a
       25     startup with a -- a former coworker from Silicon
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         1    Graphics that failed.
         2          Q     Okay.    When -- when did it fail, what
         3    year?
         4          A     It was clear that it failed probably a
         5    year and a half, two years later.
         6          Q     Like around '98?
         7          A     Around '98.
         8          Q     And what did you do in '98?
         9          A     Let's see.     At that time, we moved here
       10     to Amherst, and I joined a startup up in North
       11     Adams.
       12           Q     What was the name of that startup?
       13           A     Resounding Technology.
       14           Q     How long were you with Resounding
       15     Technology?
       16           A     Oh, gosh.     They were -- two years.        They
       17     were purchased by another Silicon Valley company,
       18     Empath Entertainment.
       19           Q     Okay.    And what did you do for them?
       20           A     I wrote software again.         I was the chief
       21     technical officer.
       22           Q     And so when they sold, in about
       23     2000-ish --
       24           A     It was 2000-ish, yeah.
       25           Q     -- what did you -- did you leave at that
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         1    point?
         2          A     At that point, actually, I worked
         3    remotely for Empath for about a year.
         4          Q     Okay.
         5          A     And then -- let's see.        Our daughter was
         6    born around that time, and I stopped working for a
         7    while.
         8          Q     Got it.
         9                       And are you currently employed?
       10           A     No.
       11           Q     Okay.    Have you been employed since
       12     Empath?
       13           A     Yes.
       14           Q     Okay.    For who or in what capacity?
       15           A     Let's see.     After Empath -- I may get the
       16     order of -- of -- of this wrong, because I've done
       17     a fair number of things.
       18                       I believe after Empath I joined two
       19     University of Massachusetts graduates, and we
       20     formed a company called "Zform," which made games
       21     for blind people and their sighted friends and
       22     family.    I was the -- again, the chief technical
       23     officer and wrote a lot of the code.           That company
       24     eventually failed.       I -- I -- I stayed there for I
       25     think it was three or four years.
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         1                       I worked halftime for a web
         2    development company in Northampton, Massachusetts,
         3    called Gravity Switch --
         4          Q      Um-hm.
         5          A      -- doing kind of back-end web development
         6    stuff, three years -- two years, three years,
         7    something on that order.
         8                       Let's see.   After that, I joined a
         9    research group at UMass run by Andrew McCallum, who
       10     was a friend, doing machine learning stuff.             And,
       11     again, I was -- I was a programmer in that group
       12     doing various programming tasks that their -- their
       13     research group needed.
       14                      That takes me up to, I believe, 2009.
       15     And I quit that job in 2009 to go on a sabbatical
       16     in Australia.
       17           Q     Okay.     And since 2009, have you worked
       18     for anyone else, besides yourself?
       19           A     Yes.    I was hired by the Bitcoin
       20     Foundation as the chief scientist of the Bitcoin
       21     Foundation in -- I forget which year -- 2012,
       22     maybe.    I would have to go back and -- and check
       23     the years.     I'm very good at forgetting dates.           And
       24     was the chief scientist at the Bitcoin Foundation
       25     for several years.
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         1          Q     Okay.    Thank you.     That's very helpful.
         2                       Why don't we start with, can you tell
         3    me when you first heard about Bitcoin?
         4          A     I first heard about Bitcoin in May of
         5    2010, after I had gotten back from sabbatical in
         6    Australia.     I was looking for something interesting
 R

         7    to do, and I ran across a magazine article about
         8    interesting open-source software projects, and I
         9    think Bitcoin was one of seven or eight interesting
       10     open-source software projects, and it struck my
       11     interest, and that's how I became interested in it.
       12           Q     Can we take one step back before we
       13     continue down this line, which is, would it be a
       14     fair -- would it be fair to say that the vast
       15     majority of your professional career has been in
       16     writing and developing code?
       17           A     Yes.
       18           Q     So you find out about Bitcoin in a
       19     magazine article in May of 2010.          What do you do
       20     after that?
       21           A     I remember reading the magazine article,
       22     and then finding the Bitcoin forum, which is where
       23     all of the technical and other discussion about
       24     Bitcoin was happening at that time.           Through that,
       25     I found the source code, so I could actually
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         1    download and read the source code.
         2                     Because, at first, I was skeptical
         3    that it would work.       It seemed like a crazy idea.
         4    But I could see that there was real source code
         5    there; there was actually a program I could run.
         6    So I downloaded it.       I ran it.     I tried it out.      I
         7    think I mined some Bitcoins.
         8                     And then shortly after that I decided
         9    I would do a little project involving Bitcoin, and
       10     so I created what's called the "Bitcoin faucet,"
       11     which is -- was a website that gave away Bitcoin to
       12     anybody who wanted some.        I think the faucet
       13     launched in June of 2010.
       14           Q     And how did the faucet get supplied with
       15     Bitcoin?
       16           A     I bought $50 worth of Bitcoin with my
       17     very own money.
       18           Q     And when is the first time you had

R
       19     contact with Satoshi Nakamoto?
       20           A     I think it was fairly early in -- again,
       21     in -- in May of 2010, and I contacted him via the
       22     Bitcointalk forums.
       23           Q     Did you -- so you mined Bitcoin in May of
       24     2010, approximately; is that -- is that right?
       25           A     I think so.     I'd have to go back and
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         1    check when I actually flipped the switch to mine
         2    some Bitcoin.
         3          Q     And then did you ever mine Bitcoin again
         4    after that?
         5          A     Very briefly in, maybe, 2011.          I got an
         6    early hardware miner and turned that on and ran it
         7    for a little bit and measured its power consumption
         8    and realized I was spending more in electricity
         9    than I was getting in Bitcoin, so then turned
       10     around and resold it.
       11           Q     So from -- from -- you mined some in May
       12     of 2000 -- or about circa May of 2010, and then not
       13     again until sometime in 2011?
       14           A     I think that's right.        Again, I'd have to
       15     go back and check when I actually got that
       16     hardware.    It might have been 2012.
       17           Q     Okay.    But at no point after that initial
       18     mining -- strike that.
       19                      After that initial mining, you did
       20     not mine again until you purchased the hardware, be
       21     that in 2011 or 2010 --
       22           A     Correct.
       23           Q     -- '12?    I'm sorry.
       24                      That's correct.       Okay.
       25                      So how did you come to be the --
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         1    well, let me strike that.
         2                       Did there come a time when you became
         3    the lead core developer of Bitcoin?
         4          A     At the end of 2010, Satoshi -- the --
         5    the -- the pseudonym I was communicating with,
         6    Satoshi, told me he was going to step back from
         7    day-to-day Bitcoin stuff, and he left me with the
         8    root privileges, with the -- with the
         9    administrative privileges for the source code
        10    repository.     So at that time only he and I had
        11    access to the source forge -- source code

    R
        12    repository.
        13                     And I had -- through 2010, I had
        14    become more and more involved with developing code
        15    for the core Bitcoin system.         And then by the end
        16    of 2010, Satoshi stepped away, and I was left as
        17    the -- the lead developer.
        18          Q     By default, because you were the only one
        19    with access?
        20          A     Yes.
        21          Q     And I'm handing you, Mr. Andresen, what

H       22    we're gonna mark as Plaintiffs' Exhibit 1.             Just
        23    take a look at that for me.
        24                     (Exhibit 1 marked for
        25                     identification.)
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                                                                              Page 23
             1          Q     Do you recognize this email?
             2          A     Yes, I do.
H            3          Q     And this is an email from Satoshi
             4    Nakamoto to you?
             5          A     Yes.
             6          Q     Did you always communicate with Satoshi
             7    through the satoshin@gmx.com address?
             8          A     Either -- yes, either through that email
             9    address or via private messages in the Bitcointalk
           10     forums.
           11           Q     Did you ever use the Vistomail account?
           12           A     I don't think so.
           13           Q     And is this the email that you've just
           14     described where Satoshi is leaving you the -- the
           15     access to the Bitcoin repository?
           16           A     No.    So before this, there's a -- there's
           17     a -- there's a -- a website called "SourceForge"
           18     that a lot of open-source software projects use,
           19     and people can have administrative rights to be
           20     able to write to a source-code repository.             And so
           21     that was a separate privilege that I got sometime
           22     in 2010.
           23                       This was the final -- this is about
           24     an -- an alert key that would allow anybody to send
           25     a message -- excuse me -- send a message over the
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         1    network that would appear on everybody's Bitcoin
         2    software warning them that they need to upgrade or
         3    that there's some security bug, those kinds of
         4    things.
         5            Q   Got it.    So the adding to privileges of
         6    SourceForge didn't necessarily come through an
         7    email; it was just an action Satoshi took to give
         8    you those privileges?
         9            A   Yeah, I don't remember exactly how that
       10     happened.    There was probably an email or a forum
       11     message where he told me that he had done that,
       12     but...
       13           Q     After this email from Satoshi, where I
       14     think he -- he requests that you stop talking to
       15     him as a myster -- about him as a mysterious
       16     shadowy figure, and he says, "I've moved on to
       17     other things and will probably be unavailable," did
       18     you ever hear from Satoshi again through this email
       19     account?
       20           A     I'd have to go back and look.          I don't
       21     know.
       22           Q     Okay.    Do you recall, sitting here today,
       23     ever hearing from him again?
       24                      Let me -- let me -- let me rephrase
       25     the question.
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         1                       I want you to exclude for a moment
         2    the conversations you've had with Craig Wright, and
         3    I want to ask, subsequent to this email, have you
         4    had, in your mind, conversations with Satoshi
         5    Nakamoto subsequent to this email?
         6          A     I don't know.      The reason I --
         7          Q     Because people have reached out to you
         8    claiming to be Satoshi --
         9          A     Yes.
       10           Q     -- and you don't know if it's real?
       11           A     Yes.    Many people have -- have contacted
       12     me claiming to be Satoshi Nakamoto, and I just
       13     don't know if any of them are.
       14           Q     Okay.    Is it fair to say that no one
       15     has -- and, again, I want to exclude the
       16     conversations with Craig Wright in 2016 for
       17     purposes of this question.
       18                       Is it -- is it fair to say that no
       19     one has convinced you that they are Satoshi
       20     Nakamoto -- you know what, strike that question.
       21                       Sitting here today, do you believe
       22     you had communications with Satoshi Nakamoto after
       23     this email?
       24           A     No.
       25           Q     Okay.    So you're, at this point in time,
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                                                                          Page 26
         1    the lead core developer of Bitcoin; is that
         2    correct?
         3          A     At --
         4          Q     At --
         5          A     Currently?
         6          Q     So about April of 2011.
         7          A     Oh, April of 2011, yes.
         8          Q     And when did -- when did you step back
         9    from being the lead core -- or stop being the lead
       10     core developer in Bitcoin?
       11           A     Again, I'm very good at forgetting dates,
       12     but it's been a few years.
       13           Q     Approximately.
       14           A     2017.
       15           Q     Okay.    Why did you stop being the lead
R      16     core developer at Bitcoin?
       17           A     Several reasons.       The most immediate
       18     reason was I believed that, for Bitcoin to grow,
       19     there needed to be more than one implementation;
       20     there needed -- needed to be more than one software
       21     that people were using.
       22                      And so I had taken on the role of
       23     chief scientist of the Bitcoin Foundation, and I
       24     wanted that role to be not working on one
       25     particular implementation of Bitcoin, not one
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         1    particular open-source software project, but to be
         2    kind of bigger picture and try to encourage other
         3    implementations of the Bitcoin protocol and to
         4    think about kind of bigger issues facing Bitcoin.
         5                      And the other reason I stepped away
         6    is just because we had a -- a -- there was a team
R
         7    of people who were able to do the job of working on
         8    the open-source software.        So I felt comfortable
         9    stepping back and letting them take over the
       10     day-to-day software engineering of the project.              So
       11     I think those are the two major reasons I -- I
       12     stepped back as lead developer.
       13           Q     But you stayed on as the chief scientist
       14     of the Bitcoin Foundation?
       15           A     Yes, I stayed on as chief scientist of
       16     the Bitcoin Foundation.
       17           Q     Are you still the chief scientist of the
       18     Bitcoin Foundation?
       19           A     No.   I resigned that position a year or
       20     two ago.
       21           Q     Why did you resign that position?
       22           A     The Bitcoin Foundation is a troubled
       23     organization.     We had two members of our board of
       24     directors go to jail, and I -- I believe the
       25     Bitcoin Foundation lost the respect of the Bitcoin
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         1    community, partly for that reason.           Probably mostly
         2    for -- for that reason, just the fact that the, you
         3    know, members of the board of director turned out
         4    not to be trustworthy.
         5          Q      Did you take part in forming the Bitcoin
         6    Foundation when it -- in its -- when it was
         7    originally formed?
         8          A      I did, yes.
         9          Q      And who did you do that with?
       10           A     Peter Vessenes, Roger Ver, Charlie Shrem.
       11     I think those were the main people involved in the
       12     formation.     I could go back and check my notes, see
       13     who else was on the -- the emails.
       14           Q     And -- and who were the members of the
       15     board of directors that went to jail?
       16           A     Charlie Shrem and Mark Karpeles.
       17           Q     Do you -- I want to segue back -- well,
       18     actually, strike that.
       19                      Do you -- what is your current
       20     involvement with the Bitcoin community?
       21           A     I have very little involvement with the
       22     Bitcoin community, so I have shed all of my
       23     responsibilities.
       24           Q     And are you doing anything
       25     employment-wise now or...
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         1          A      My only title is
         2    Entrepreneur-in-Residence, UMass, Data Sciences.
         3    That's an unpaid, volunteer position.            So I -- I'm
         4    not getting a paycheck from anybody.
         5          Q      Did you -- the -- approximately how much
         6    Bitcoin did you mine in May of 2010?
         7          A      I think I mined 11 blocks, each --
         8    which -- 50 Bitcoins per block, so that would be
R
         9    550 Bitcoin.
       10           Q     And have you moved those -- have you
       11     spent those coin bases?
       12           A     Probably.
       13           Q     All of them?
       14           A     Probably.
       15           Q     Can you check, if I were to ask you to?
       16           A     Yes, I could check if you asked me to.            I
       17     could see what happened to them.
       18           Q     Can you do that, like, on a break, or
       19     would you need to go home and have access to your
       20     computers?
       21           A     I need to go home and have access to my
       22     computers.     I don't have those -- I -- you know,
       23     I'd have to go back in it and dig out an old
       24     wallet, find out what the Bitcoin addresses were,
       25     find out where they moved, see if I'm still holding
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             1    them in some cold wallet somewhere.           I just don't
             2    know.
             3            Q   Do you know the identity of any other
             4    miners who mined Bitcoin prior to August 20th of
             5    2010?
             6            A   No.
             7            Q   Are you aware of any blocks that
             8    Satoshi Nakamoto mined?
             9            A   Yes.    Block No. 10, I believe, is a
           10     famous Bitcoin block.       Because Satoshi Nakamoto
           11     sent some Bitcoin to Hal Finney as, I believe, the
           12     first person-to-person Bitcoin transaction that we
           13     know about.
           14           Q     Block 9 or block 10?
           15           A     Depends on if you start counting at zero
           16     or not.
R
           17           Q     Interesting.      So the genesis block is
           18     zero?
           19           A     The genesis block, I believe, is usually
           20     counted as zero.
           21           Q     And then block 9, it could be 9 or 10,
           22     depending if you count the first -- zero block
           23     as -- as a -- as a block?
           24           A     Correct.
           25           Q     Got it.
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                                                                              Page 31
             1                     Are you aware of any others that
             2    Satoshi mined?
             3          A     Not directly.
             4          Q     And did you ever send Bitcoin to Satoshi
             5    or receive Bitcoin from Satoshi?
             6          A     Not to my knowledge.
             7          Q     Are you aware of any patterns within the
             8    blockchain that would reveal which blocks were
R
             9    mined by Satoshi?
           10           A     There is a very interesting blog post by
           11     Sergio, Sergio Demian Lerner, where he found some
           12     patterns that are plausible that might be
           13     associated with Satoshi's mined Bitcoins.
           14           Q     This is the Patoshi research?          I think he
           15     calls it the Patoshi research?
           16           A     Maybe.    I'm not familiar with that.
           17           Q     They call it the Patoshi --
           18           A     I'm not familiar with that term.
           19           Q     Is it -- is it based on the Nonce value?
           20           A     Yes, it's based on the Nonce values.            And
           21     I have --
           22                      THE STENOGRAPHER:       The what value?
           23     Sorry.
           24                      THE WITNESS:      Nonce, N-O-N-C-E.       It
           25     means number used once.
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                                                                          Page 32
         1           A    I have no direct knowledge of that, but
         2    his research seems plausible to me.
         3           Q    Okay.    Is there any reason you can think
         4    of that a miner would try to create a coin-based
         5    transaction that did not hash to within a specific
         6    range of values?
         7                       MR. KASS:   Object to form.
         8           Q    Do you understand the question?
         9           A    I'm not sure I understand the question.
       10            Q    Okay.    Strike the question.
       11                      When did you first learn of Craig
       12     Wright?
       13            A    Again, I'm very bad with dates, but Jon
       14     Matonis sent me an email saying that I should pay
       15     attention to this person, Craig Wright, back in
       16     whatever year that was -- sorry.          2020, '19 -- '17?
       17     '18?
       18            Q    Did there come a time before that where
       19     Craig Wright applied for a job at the Bitcoin
       20     Foundation?
       21            A    Yes.    When I was responding to the
       22     subpoena for this lawsuit, I went back through
       23     my old emails, and I did get an email from a
       24     Craig Wright asking for a job at the Bitcoin
       25     Foundation that I never responded to and,
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         1    frankly, I had not recalled until I went through
         2    my old emails.
         3                       MR. FREEDMAN:    So I'm gonna hand you
         4    what's been marked as Plaintiffs' Exhibit 2.             And
         5    it's -- for the record, it's Bates Gavin 1296.
         6                       (Exhibit 2 marked for
         7                       identification.)
         8          Q     Do you recognize this email?
         9          A     Yes.
       10           Q     And is it fair to say this is Jodie
       11     Brady, at the Bitcoin Foundation, forwarding you a
       12     job application that she had received?
       13           A     Yes.
       14           Q     And the job application is from
       15     Craig S. Wright with the email address
       16     craig@panopticrypt.com?
       17           A     That's --
       18                      MR. KASS:     Object to form.
       19                      THE STENOGRAPHER:       Wait.    What's the
       20     address?
       21                      MR. FREEDMAN:      Craig@panopticrypt.
       22     P-A-N-O-P-T-I-C-R-Y-P-T.
       23                      MR. KASS:     And object to form.
       24           Q     So, from time to time, either myself or
       25     Mr. Kass, depending on who's asking questions, may
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         1    object to form.       You can just pause, let them
         2    object, and then you can answer the question.
         3          A      Okay.
         4                       Yes.
         5          Q      Okay.    Do you -- did you review this job
         6    application back in November 2014 when you got it?
         7          A      No.
         8          Q      You didn't even see it?
         9          A      I don't recall.
       10           Q     Okay.     It's fair to say he did not get a
       11     job with the Bitcoin Foundation?
       12           A     He did not.
       13           Q     Looking back at it now, would he have fit
       14     the criteria you were looking for?
       15                        MR. KASS:    Object to form.
       16           A     We were not actively looking for people,
       17     there was no job opening, so there was no criteria.
       18           Q     Fair enough.
       19                        So I want to jump back to the 2016
       20     contact that you received from Jon Matonis, and
       21     that was...
       22                        (Pause.)
       23           Q     Let me hand you what's been marked as
       24     Plaintiffs' Exhibit 3.         And for the record, it's
       25     Gavin 796.
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                                                                          Page 35
         1                     (Exhibit 3 marked for
         2                     identification.)
         3          Q     Is this the email you received from
         4    Jon Matonis in March -- on March 14, 2016?
         5          A     Yes.
         6          Q     And in this email, Jon invites you to a
         7    proof session in London?
         8          A     Yes.
         9          Q     And he ends the third paragraph saying, I
       10     per -- "I've never asked you for anything before,
       11     so you are just going to have to trust me on this
       12     and what I personally witnessed with the block
       13     No. 1 sign and verify"?
       14           A     What was the question?
       15           Q     Is that -- I'm just taking you through
       16     the document, highlighting the portions of the
       17     document that I -- that -- that I'd like you to
       18     take a look at.
       19           A     Okay.
       20           Q     And what did you take Jon as asking you
       21     to do here?
       22                      MR. KASS:     Object to form.
       23           A     I believe Jon was asking me to physically
       24     go to London, and then witness the -- a
       25     cryptographic proof of possession of a private key
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         1    that corresponds to the public key of one of the
         2    early Bitcoin blocks.
         3          Q     He says, "As we discussed" in the emails,
         4    implying that there had been a previous telephonic
         5    communication.
         6          A     I believe we did have a telephone call.
         7          Q     Do you know what he said on the telephone
         8    call?
         9          A     I don't recall.
       10                      MR. KASS:     Now, I'm just going to put
       11     a standing objection out there to -- oh, well, if
       12     you're gonna give it to me, so I don't have to
       13     repeat it all the time.        In this email it mentions
       14     there's a non-disclosure agreement.           That
       15     non-disclosure agreement was executed.            So to the
       16     extent you're asking information that is protected
       17     by the non-disclosure agreement, I'm just putting a
       18     standing objection that there is a non-disclosure
       19     out there, agreement out there, and that
       20     information needs to be protected.
       21                      MR. FREEDMAN:      What's the objection?
       22     I don't understand the basis of the objection.
       23                      MR. KASS:     I'm just putting on the
       24     record that --
       25                      MR. FREEDMAN:      Are you maintaining
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         1    Mr. Andresen --
         2                     THE STENOGRAPHER:       One at a time.
         3                     MR. FREEDMAN:      Are you maintaining
         4    Mr. Andresen cannot respond to deposition
         5    questions?
         6                     MR. KASS:     I am not instructing him
         7    not to answer.      I'm just putting on the record that
         8    there's a non-disclosure agreement, and that this
         9    testimony that you're asking may not be permitted
       10     under the non-disclosure.
       11                      MR. FREEDMAN:      So you are entitled to
       12     seal this deposition and designate it confidential,
       13     and you can exercise your right to do so, but
       14     I'm -- I'm not sure what you -- I'm not sure what
       15     your objection is, so...
       16                      MR. KASS:     All right.     It's on the
       17     record, it is what it is.
       18     BY MR. FREEDMAN:
       19            Q    Okay.    We were talking about the
       20     telephonic communication between you and -- and
       21     Jon.    You said you don't recall what he said?
       22            A    I don't recall.
       23            Q    Did he mention Craig Wright during that
       24     phone call?
       25            A    I don't recall.
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         1          Q     Did he -- when you received this email,
         2    were you aware that Craig Wright was the person
         3    they wanted you to come meet?
         4          A     I don't know.
         5          Q     Okay.
         6          A     I don't recall when the name "Craig
         7    Wright" entered the conversation.
         8          Q     So what was your initial reaction to --
         9    when you finally did find out that there was
       10     -- strike that.
       11                      What was your initial reaction to
       12     somebody claiming to be able to prove that they
       13     were Satoshi Nakamoto?
       14                      MR. KASS:     Object to form.
       15           A     I was skeptical.
       16           Q     Fair to say you were extremely skeptical?
       17           A     I think that's fair to say.
       18           Q     I'm handing you what's been marked as
       19     Plaintiffs' Exhibit 4, I believe.
       20                      (Exhibit 4 marked for
       21                      identification.)
       22           Q     Do you recognize this email
       23     correspondence?      This is -- sorry -- for the
       24     record, Bates Gavin 1433.
       25           A     Yes.
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         1          Q      And if you look at the email from you --
         2    this is an email from you to Jon Matonis and then
         3    Jon Matonis responding back?
         4          A      Yes.
         5          Q      And in it you write to Jon Matonis that
         6    you're seeing whispers that Craig Wright is the
         7    real deal?
         8          A      Yes.
         9          Q      So fair to say at this point you were
       10     aware it was Craig Wright they were asking you to
       11     come meet?
       12           A     Yes.    I'm trying to remember my state of
       13     mind at that time.
       14                      I don't know if Jon had mentioned the
       15     name "Craig Wright," and I was just seeing Craig
       16     Wright in others -- other venues and putting the
       17     pieces together.      But, yes, certainly the name
       18     "Craig Wright" was -- was in the air at that time.
       19           Q     Got it.
       20                      And right there in the email you
       21     said, "I'm extremely skeptical"?
       22           A     Yes.
       23           Q     Why were you extremely skeptical?
       24           A     I have been contacted by many people
       25     claiming to be Satoshi Nakamoto in the past.             So
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         1    yet another claimed Satoshi made me extremely
         2    skeptical.
         3          Q     And in it you -- you lay out four
         4    different things that you'd like to see any real
         5    Satoshi candidate do?
         6          A     Yes.
         7          Q     And those were that you'd want to see a
         8    message signed with the same PGP key that Satoshi
         9    used in 2010; is that correct?
       10           A     Yes.
       11           Q     And a message signed with the keys from
       12     early Bitcoin blocks?
       13           A     Yes.
       14           Q     And a copy of an email or private forum
       15     post between you and Satoshi?
       16           A     Yes.
       17           Q     And you wanted to have a conversation
       18     about technical things via email?
       19           A     Yes.
       20                       MR. KASS:    Object to form.
       21           Q     Did you get all four of those things
       22     during your interactions with Craig Wright in 2016
       23     and 2017?
       24           A     No.
       25           Q     Which did you get and which did you not
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                                                                          Page 41
         1    get?
         2           A    I believed I got a message signed with
         3    keys from early Bitcoin blocks.
         4           Q    Okay.
         5           A    And I did get a conversation about
         6    technical stuff.      I don't believe I got any email
         7    or private forum posts.        And I did not get any
         8    messages signed with the PGP key that he was using
         9    in 2010.
       10            Q    Okay.    Did you ask for the PGP signature?
       11            A    I vaguely recall a conversation about PGP
       12     signatures, and I believe Craig gave me some reason
       13     why he either did not have the key, or it would not
       14     be good proof, but I don't recall the details.
       15            Q    And...
       16            A    And the private posts, again, I think I
       17     recall him giving me -- I believe there was a claim
       18     that all of those were deleted.          Yeah, if I recall
       19     correctly, he claimed that he had deleted those,
       20     and they were unavailable.
       21            Q    Did you find that credible at the time?
       22            A    Yes.
       23            Q    Do you still find that credible?
       24            A    I have my doubts.
       25            Q    Okay.    Jon Matonis responds, asking you
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                                                                          Page 42
         1    to -- or -- or suggesting that you forward your
         2    four expectations to Stefan in advance.
         3                     Do you see that?
         4          A      Yes.
         5          Q      Who is he talking about?
         6                     MR. KASS:     Object to form.
         7          A      Craig Wright was working with a couple of
         8    venture capital-type people.         I've forgotten the
         9    name of their company.        Excuse me, I've forgotten
       10     who is who.     But he was one of those venture
       11     capital-type people who, I believe, were interested
       12     in helping Craig through this whole process of
       13     claiming to be Satoshi Nakamoto.
       14           Q     And did you -- had you had interactions
       15     with Stefan before this date?
       16           A     I -- there might have been emails before
       17     this date.
       18           Q     Okay.
       19           A     I'd have to go back and check.          I had not
       20     met him.
       21           Q     And at this point, were you aware that
       22     they wanted you to participate in a public
       23     endorsement of Craig Wright as Satoshi?
       24                      MR. KASS:     Object to form.
       25           A     I think so, yes.
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                                                                          Page 43
         1          Q     Okay.    I'm gonna hand you what's been
         2    marked as -- sorry -- been marked as Plaintiffs'
         3    Exhibit 5.     And for the record, it's Gavin 1286.
         4                       (Exhibit 5 marked for
         5                       identification.)
         6          Q     Take a moment to review that.
         7                       Do you recognize this email?
         8          A     Yes.
         9          Q     And is it an email from you to
       10     craig@ncrypt.com?
       11           A     Yes.
       12           Q     This was Craig Wright?
       13           A     Yes.
       14           Q     And in it is it fair to say that you're
       15     asking Craig to give you some of his backstory and
       16     thoughts on the state of Bitcoin?
       17           A     Yes.
       18           Q     Okay.    Did he give you his backstory and
       19     his thoughts on the state of Bitcoin?
       20           A     I don't recall.
       21           Q     Do you --
       22           A     I'd have to go back and look at the email
       23     thread.
       24           Q     Okay.    Did -- did you have a telephonic
       25     communication with Craig Wright as of this date?
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                                                                          Page 44
         1          A     I don't believe so, no.
         2          Q     Okay.    And just -- this is about five
         3    days or so before the proof session in London that
         4    took place on April 7th?
         5                       MR. KASS:   Object to form.
         6          A     Correct.
         7          Q     Is -- so you don't believe you had spoken
         8    to him telephonically yet?
         9          A     I don't believe so, but my recollection
       10     could be faulty.
       11           Q     Fair enough.
       12                      I'm gonna hand you what's been marked
       13     as Plaintiffs' Exhibit --
       14                      THE STENOGRAPHER:       6.
       15           Q     -- 6 -- thank you -- and for the record
       16     is Gavin 307.
       17                      (Exhibit 6 marked for
       18                      identification.)
       19           Q     Do you recognize this email?
       20           A     Yes.
       21           Q     It's an email from Craig to you?
       22           A     Yes.
       23                      MR. KASS:     Object to form.
       24           Q     In response to your last email on the
       25     state of affairs of Bitcoin?
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                                                                          Page 45
         1          A     Yes.
         2          Q     So he did respond to you.         Does this help
         3    refresh your recollection that he did respond to
         4    you about the state of affairs of Bitcoin as of
         5    2016?
         6          A     Yes.
         7          Q     Okay.    And did you read this email at the
         8    time?
         9          A     Yes, I did.
       10           Q     Did you find it convincing?
       11           A     I found it convincing enough for me to
       12     get on an airplane to London.
       13           Q     Fair enough.
       14                      I'm handing you what's been marked as
       15     Plaintiffs' Exhibit 7.        And for the record, it's
       16     Gavin 1120.
       17                      (Exhibit 7 marked for
       18                      identification.)
       19           Q     Do you recognize this email?
       20           A     Yes.
       21           Q     And it's one from Craig to you?
       22           A     Yes.
       23           Q     And it -- it includes, underneath that,
       24     the thread of a -- of a message from you to Gav --
       25     from you to Craig and then, initially, from Craig
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                                                                          Page 46
         1    to you?
         2            A      Yes.
         3            Q      And, actually, it includes that email way
         4    at the bottom where you're actually asking, that we
         5    looked at previously --
         6            A      Yes.
         7            Q      -- Plaintiffs' Exhibit 5?
         8                          MR. KASS:   Objection to form.
         9                          THE STENOGRAPHER:   Wait, wait, wait.
       10           Q        So if you take a look at the email from
       11     Craig to you, can you look at the -- the last line
       12     of that email?         He tells you, "The backstory is
       13     long.       You will have it in installments for this
       14     reason, but you will have it."
       15                        Do you see that?
       16           A        Yes.
       17           Q        Did you end up having it?
       18           A        I -- some of it --
       19           Q        Okay.
       20           A        -- maybe.    I have my doubts on -- I have
       21     many, many doubts in my head about what parts of --
       22     what things Craig told me are true and what are not
       23     true.
       24           Q        Okay.    Did he give you a long backstory?
       25           A        He gave me a fairly long backstory.
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                                                                          Page 47
         1            Q   Okay.    And when did he give you that
         2    fairly long backstory?
         3            A   In London, in the -- the hotel room.
         4            Q   Okay.
         5            A   Or the hotel basement.
         6            Q   I'm gonna come back to that.
         7                       In the interim, let me hand you
         8    what's been marked as Plaintiffs' Exhibit --
         9                       MR. KASS:   8?
       10           Q     -- 8.    And for the record, it's Gavin
       11     1720.
       12                      (Exhibit 8 marked for
       13                      identification.)
       14           Q     Do you recognize this email -- or these
       15     emails, I should say?
       16           A     Yes.
       17           Q     And it's a -- it's a series of emails
       18     between you and Craig?
       19           A     Yes.
       20           Q     On or about April 6, 2016?
       21           A     Yes.
       22           Q     And it looks like -- if you look on the
       23     midway point of page that's marked 1720 at the
       24     bottom, it looks like what you did is you responded
       25     to Craig's email by inserting your own comments in
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                                                                            Page 48
         1    line with his email below?
         2                       MR. KASS:   Object to form.
         3          Q     Is that what happened?
         4          A     Yes.
         5          Q     And if you look at the second paragraph
         6    up from the bottom of that page, you state to
         7    Craig, "I know nothing about your business.             One
         8    question on my list of things to ask you: Why lots
         9    of businesses if you have lots of coin already?"
       10                       Do you see that?
       11           A     Yes.
       12           Q     That was from you?
       13           A     Yes, that was from me.
       14           Q     Okay.    Did he ever explain that to you?
       15           A     No.
       16           Q     I am handing you what's been marked as
       17     Plaintiffs' Exhibit 9 --
       18                       THE STENOGRAPHER:      Yeah.
       19           Q     -- 9, and I didn't -- accidentally did
       20     not print with the Bates label, but for the record,
       21     it should match to Bates Gavin 1077 -- 77.
       22                       (Exhibit 9 marked for
       23                       identification.)
       24           Q     Do you recognize this email -- these
       25     emails?
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                                                                           Page 49
         1          A     Yes.
         2          Q     And this, similarly, is a email chain
         3    between you and Craig on or about April 6 of 2016?
         4          A     No --
         5                       MR. KASS:   Object to form.
         6          A     -- this is between me and Andrew O'Hagan.
         7          Q     Maybe I handed you the wrong email.            Can
         8    I grab that back?
         9                       MR. KASS:   Is this still Exhibit 9,
       10     though?
       11                      MR. FREEDMAN:      No, that's not.      We're
       12     gonna redo Exhibit 9.       I gave you all the wrong
       13     email.    Sorry.
       14                      (Pause.)
       15                      THE WITNESS:      So many email.
       16                      MR. FREEDMAN:      Yeah.    I apologize.     I
       17     just used my printer this morning at the hotel.
       18                      THE STENOGRAPHER:       Do you want this
       19     on?
       20                      MR. FREEDMAN:      Oh, actually, why
       21     don't we go off the record for two minutes.
       22                      THE VIDEOGRAPHER:       Sure.    The time
       23     now is 10:04 a.m.      We're going off the record.
       24                      (Exhibit 9 marked for
       25                      identification.)
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                                                                              Page 50
             1                       (Off record.)
             2                       THE VIDEOGRAPHER:     The time now is
             3    10:13 a.m.     We're coming back on the record.
             4    BY MR. FREEDMAN:
             5            Q   Okay.    I've now handed you the remarked
             6    Plaintiffs' Exhibit 9.        Do you recognize this
             7    email?
R

             8            A   Yes.
             9            Q   And is this email an email exchange
           10     between you and Craig Wright?
           11           A     Yes.
           12           Q     On or about April 6, 2016?
           13           A     Yes.
           14           Q     I've handed you the correct exhibit this
           15     time.
           16                      So I want to -- I want to ask you
           17     some questions about some of the statements in
           18     this -- in this email.
           19                      In the first paragraph, Craig opens
           20     up, he says, "Only time will tell, but I" -- "I
           21     made some incredible mistakes."
           22                      Do you see that?
           23           A     Yes.
           24           Q     The email doesn't say what those
           25     incredible mistakes are, as far as I'm aware, but
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                                                                              Page 51
             1    do you know what those incredible mistakes are?
             2          A     No.
             3                      MR. KASS:    Object to form.
             4          Q     Did you ever come to learn what those
             5    incredible mistakes were?
             6          A     No.
             7          Q     Okay.    Did you ask him what he meant by
             8    "incredible mistakes"?
             9          A     I don't think so, no.
           10           Q     Okay.    He then -- about halfway down the
           11     page, he quotes your email that says, "I know
           12     nothing about your businesses."
           13                       MR. KASS:    Object to form.
           14           Q     Do you see that?
           15           A     Yes, I do.
           16           Q     And then he responds, That was part of
R
           17     the idea.    It was a front in some ways.          I have
           18     made some really stupid mistakes.
           19                       Do you know what he meant by saying
           20     his businesses were a "front" in some ways?
           21                       MR. KASS:    Object.    Object to form.
           22           A     No.
           23           Q     Did you ever come to learn what he meant
           24     by that?
           25           A     No.
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                                                                          Page 52
         1          Q     Did you ever ask him what he meant by the
         2    fact that his businesses were a "front"?
         3          A     No.
         4          Q     Did you come to learn that he's claimed
         5    millions of dollars in tax rebates from the
         6    Australian Tax Office based on these businesses?
         7                      MR. KASS:    Object to form.
         8          A     I saw that in media reports.
         9          Q     Did it strike you as odd that he would be
       10     using a front to claim millions of dollars in tax
       11     rebates?
       12                       MR. KASS:    Object to form.
       13           A     I don't think I ever thought about it.
       14           Q     So you didn't learn what the incredible
       15     mistakes were.      Did you learn what the really
       16     stupid mistakes were?
       17           A     No.
       18           Q     Did you ask him what really stupid
       19     mistakes he made?
       20           A     No.
       21           Q     Then the next paragraph, he says, "The
       22     ones that matter remain hidden."
       23                       Did you take this to mean the really
       24     stupid mistakes that matter remain hidden?
       25                       MR. KASS:    Object to form.
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                                                                          Page 53
         1          A     Yes.
         2          Q     And then he says, "The media has grabbed
         3    all of the shit and low-hanging fruit, and they
         4    have done no real investigation.          Thank God for the
         5    laziness of human nature."
         6                      Do you know what he was concerned the
         7    media would find out?
         8                      MR. KASS:    I'm gonna object to form.
         9          A     No.
       10           Q     Did you ever ask him what he was
       11     concerned the media would find out about?
       12           A     No.
       13           Q     In the bottom paragraph on the page, he
       14     says, "Now I am this guy who does what the hell he
       15     likes, cannot be fired, and who has finally learnt
       16     to delegate all he hates."
       17                       Did you ever ask him what it is he
       18     likes to do?
       19           A     Did I ever ask him?        He told me what he
       20     likes to do.
       21           Q     What did he say he likes to do?
       22           A     He likes to get PhDs.        He likes to do
       23     research.    He likes to write papers.
       24           Q     Okay.    And then, if you turn to the next
       25     page for me, marked Gavin 1078, on the top of the
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                                                                          Page 54
         1    page, Craig quotes your email again that says, "One
         2    question on my list of things to ask you: Why lots
         3    of businesses if you have lots of coin already?"
         4                      Do you see that on the top?
         5          A     Yes.
         6                      MR. KASS:    Object to form.
         7          Q     And then he responds, "Bad decisions,"
         8    full stop.
         9                      Do you know what he meant by "bad
       10     decisions"?
       11           A     No.
       12           Q     Did you ever ask him what he meant by
       13     "bad decisions"?
       14           A     No.
       15           Q     You didn't ask him if stealing Bitcoin
       16     had anything to do with bad decisions?
       17                       MR. KASS:    Object to form.
       18           A     No.
       19           Q     Then he says, "I was advised about risk
       20     diversification in the early days."
       21                       Did you ask him -- do -- do you know
       22     what he means there?
       23           A     No.
       24                       MR. KASS:    Object to form.
       25           Q     Did you ask him what he meant?
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                                                                          Page 55
         1                       THE STENOGRAPHER:     Wait.
         2          A     No.
         3                       MR. KASS:   Vel, if you could pause.
         4    There's gonna be a lot of objections --
         5                       THE STENOGRAPHER:     Yeah.
         6                       MR. KASS:   -- throughout the email.
         7                       MR. FREEDMAN:    No problem.
         8                       THE WITNESS:    Sorry.
         9          Q     Then, in the -- in the third paragraph
       10     down from the top, he says, "Then, none of this is
       11     about money."
       12                       Do you see that?
       13           A     Yes.
       14           Q     Did you ask him what he meant by none of
       15     it being about money?
       16           A     No.
       17           Q     Did it strike you as odd that it was not
       18     at all about money?
       19                       MR. KASS:    Object to form.
       20           A     No.
       21           Q     So he has a venture capital firm reach
       22     out to you; is that -- that's right?
       23           A     Yes.
       24           Q     And paying for you to come to London,
       25     right?
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                                                                          Page 56
         1                     MR. KASS:     Object to form.
         2           A    Yes.
         3           Q    And funding your trip there?
         4           A    Yes.
         5           Q    And coordinating an entire media blitz;
         6    is that an accurate statement?
         7                     MR. KASS:     Object to form.
         8           A    Yes.
         9           Q    And it didn't strike you as odd that none
       10     of this was about money?
       11                      MR. KASS:     Object to form.
       12            Q    Or, I mean, maybe it just didn't occur to
       13     you.    I mean, like, tell me how -- what -- give me
       14     your reaction to the statement that none of this --
       15     this is -- "none of this is about money," and, yet,
       16     it apparently appears, at least to me, that a ton
       17     of it's about money.
       18                      MR. KASS:     Object to form.
       19            A    I -- yeah, I was not thinking about money
       20     when I received this email.         I was thinking about,
       21     is this person Satoshi Nakamoto or not.            And...
       22            Q    That's fair.
       23            A    Yeah, that -- that's -- so, yeah, I was
       24     not thinking about the money.
       25            Q    In retrospect, does it strike you as odd
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                                                                          Page 57
         1    that he said "none of this is about money"?
         2                       MR. KASS:   Object to form.
         3          A     No.
         4          Q     Why?
         5          A     Being Satoshi Nakamoto is about much more
         6    than money.     He's almost a God-like figure in the
         7    Bitcoin community.       He's the holy founder of this
         8    world-changing technology.         So saying "this is not
         9    about money" did not strike me as strange because
       10     of that.
       11                       Because, you know, having been the
       12     chief scientist of the Bitcoin Foundation and the
       13     lead developer for the project, I had felt the kind
       14     of weight of that responsibility, and to take on
       15     the mantle of being Satoshi Nakamoto struck me as,
       16     you know, much more important than -- than the
       17     money.    So that's where my head space was through
       18     this conversation.
       19           Q     So consistent with something Satoshi
       20     might actually say?
       21           A     Yes.
       22           Q     Sitting here today, do you believe this
       23     was stated honestly, that it really wasn't about
       24     money?
       25                       MR. KASS:    Object to form.
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         1          A     I don't know.
         2          Q     At the end of that paragraph, the
         3    second-to-bottom line, he says, "I have access to
         4    systems that transfer more value and transactions a
         5    day than the existing BTC network does in a year."
         6                      Do you understand what he meant by
         7    that?
         8          A     No.
         9          Q     Did you ever come to understand what he
       10     meant by that?
       11           A     No.
       12           Q     Is this a statement that you think is --
       13     is -- is possible?
       14                       MR. KASS:    Object to form.
       15           A     I don't know.      I've never thought about
       16     it.
       17           Q     And then if we go down, from there, two
       18     paragraphs, Craig tells you, "I want to stay as
       19     close to the edge as I can without going over."
       20                       Do you know what he meant by that?
       21                       MR. KASS:    Object to form.
       22           A     No.    And I think that might be a quote
       23     from somebody.      It sounds familiar.
       24           Q     But you can't recall who?
       25           A     No.
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                                                                          Page 59
         1          Q     And then if you go down, you'll see
         2    there's a line that begins with the word
         3    "frustration"?
         4          A     Yes.
         5          Q     He says, "Frustration should be my middle
         6    name."
         7                      Do you know why he said frustration
         8    should be his middle name?
         9                      MR. KASS:    Object to form.
       10           A     No.
       11           Q     What did you take that statement to mean?
       12           A     I can't put myself back when this email
       13     was received, so I am projecting backwards.             I
       14     don't know what I would have thought when I first
       15     read this email.      Knowing what I know now, my
       16     assumption would be he was frustrated that he
       17     didn't have complete control over kind of the
       18     process.
       19                       Because, to me, he claimed that he
       20     had been extorted, and, basically, he was forced to
       21     step forward and reveal himself as Satoshi
       22     Nakamoto.    I don't think I knew that when I first
       23     read this email, but if I project backwards, I'm --
       24     that -- that is what I would assume he meant.
       25           Q     And then he says, "Here... well, I have a
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         1    plan that is likely to leave me more hated."
         2                      Do you know what he meant by that?
         3                      MR. KASS:    Object to form.
         4          A     No.
         5          Q     And then if you -- if you look down
         6    toward the -- the end of the -- I guess it's one,
         7    two, three, four up from the bottom, he says, "Your
         8    mistake may have been the BTC Foundation, mine was
         9    that bloody response to a DoS."
       10                       Do you know what a "DoS" is?
       11           A     DoS is a denial-of-service attack.
       12           Q     Do you know what he meant by responding
       13     to denial-of-service attack?
       14                       MR. KASS:    Object to form.
       15           A     No.    Wait.   Yes, I think he was assuming
       16     in 2010 there were denial-of-service attacks
       17     against the Bitcoin network and what are called
       18     "transaction spamming attacks," where somebody
       19     floods the network with lots of tiny transactions.
       20                       And as part of that, that was --
       21     there was a technical change made by Satoshi to
       22     limit the Bitcoin block size to 1 megabyte, and
       23     that had been, and is still, actually, hugely
       24     controversial on whether to increase the block size
       25     to allow more transactions.         So I believe that's
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             1    what he was referring to.
             2            Q   Okay.    If you turn to the next page,
             3    Gavin 1079, and you look two down from the top, he
             4    starts the paragraph with, "Some of all this is
             5    stranger than fiction."
             6                     Do you agree with that statement?
             7            A   "Some of all of this is stranger than
             8    fiction."     It's hard to agree with a statement
             9    that's so vague.
           10           Q     Fair enough.      And then if you -- if you
           11     go down to the -- I guess two paragraphs down from
           12     that, he says, "Why?       That is the question.        Why
           13     not have a life of leisure?         Why not a yacht?       Yada
           14     Yada Yada."
           15                      And then if you read the next

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           16     paragraph he says, "My wife and I spend time in
           17     Antigua from time to time.         We have friends who
           18     live there.     It becomes a life draining of vampiric
           19     exercise fast.      I do not relax well.       As for the
           20     boat, tried that, a hole in the water that you have
           21     to maintain and my wife gets seasick."
           22                      What did you take these statements to
           23     mean?
           24           A     What did I take them to mean?          I just
           25     took them to be his way of telling me that he has
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             1    resources and -- and, again, trying to tell me that
R
             2    it's not about money; that he has money already.              I
             3    think that's probably the way I took it when I read
             4    that email.
             5          Q     And then if you drop down, he quotes you
             6    again, "Why lots of businesses if you have lots of
             7    coin already."
             8                      Do you see that?
             9          A     Yes.
           10                       MR. KASS:    Object to form.
           11           Q     And then he responds, "Lots is not the
           12     issue.    Lots has allowed the media to focus in the
           13     wrong places.      They have no idea what the main
           14     business is."
           15                       Did you ever get additional detail on
           16     what the main business is?
           17           A     No.
           18           Q     Did you ask?
           19           A     No.
           20           Q     Do you find that inconsistent with his
           21     statement that it's not about money?
           22                       MR. KASS:    Object to form.
           23           A     Did I find it inconsistent -- I'm not
           24     sure I understand the -- the question.
           25           Q     Aren't businesses usually about money?
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                                                                                Page 63
               1                      MR. KASS:    Object to form.
               2          A     I think at the time I did not find it
               3    inconsistent.      I mean, if I think back on it now,
               4    yeah, it might be inconsistent.
               5          Q     He said that -- that the -- the lots of
               6    coin or the -- the large amount of coin has allowed
               7    the media to focus in the wrong places.
               8                      Do you know what the right places
               9    they should have focused on was?
             10           A     No.
             11                       MR. KASS:    Object to form.
             12           Q     And then he says, "They even missed that
R-F          13     we paid out Hotwire and that none really failed,"
             14     smiley face.
             15                       Do you know what that meant -- means?
             16           A     No, I don't know.
             17           Q     Did you ever get additional detail?
             18           A     No.
             19           Q     All right.     If you turn to page 1080 for
             20     me.
             21                       You see in the bottom of the page,
             22     this is -- I think now we're in an email that you
             23     sent that began on the previous page, and you,
             24     again, inserted your comments in line with his
             25     email; is that right?
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                                                                          Page 64
         1                       MR. KASS:   Object to form.
         2          A     Let me see.      Yes.
         3          Q     And then way at the bottom, you've told
         4    him -- and this is a paraphrase, but let me know if
         5    it's fair -- that you've given some thought to the
         6    meeting with him tomorrow; you'll be bringing your
         7    laptop and a new USB stick, and you'd like a couple
         8    of things to verify, one being a PGP signed
         9    message, like you had said earlier, and you even
       10     gave the phrase "so it goes" as what you wanted him
       11     to sign, right?
       12           A     Yes.
       13                      MR. KASS:     Object.
       14           Q     And then one or more messages signed
       15     using keys from the early Bitcoin blocks, right?
       16           A     Yes.
       17           Q     And then copies of never-before published
       18     private emails or forum posts between you and
       19     Satoshi?
       20           A     Yes.
       21                      MR. KASS:     Object to form.
       22           Q     And consistent with your -- would it be
       23     consistent with your testimony earlier that you may
       24     have gotten No. 2, but you did not get No. 1 and
       25     No. 3?
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                                                                          Page 65
         1          A     Yes.
         2          Q     Okay.    Thank you.
         3                       And this was the day before you met
         4    Craig in London for the proof session, right?
         5                       MR. KASS:   Object to form.
         6          A     Yes.
         7          Q     If -- if you look before -- no.           Sorry.
         8    Strike that.
         9                       So the next day is April 7th, and you
       10     arrive in London for this proof session; is that
       11     right?
       12           A     Yes.
       13           Q     Can you walk -- you know what, why don't
       14     we -- it's not really a memory test, so let me give
       15     you back what we're now gonna call Plaintiffs'
       16     Exhibit 10.     And this is missing the -- the Bates,
       17     but it is 10 -- no.       I'm sorry.     It's Gavin 810.
       18                      (Exhibit 10 marked for
       19                      identification.)
       20           Q     Do you recognize this email?
       21           A     Yes.
       22           Q     And is this correspondence between you
       23     and Andrew O'Hagan?
       24           A     Yes.
       25           Q     And in it are you describing a meeting
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                                                                          Page 66
         1    you had this day, the April 7th day?
         2                     MR. KASS:     Object to form.
         3          A     Yes.
         4          Q     Okay.    Do you want to take a minute to
         5    review it?
         6                     (Witness perusing document.)
         7                     MR. KASS:     Vel, I'm just gonna raise
         8    my same objection about the non-disclosure.             Do you
         9    just agree I don't have to raise it again and
       10     whatever validity it has, it has?
       11                      MR. FREEDMAN:      I don't understand.       I
       12     mean, you've -- you've made your statement before,
       13     and the witness --
       14                      MR. KASS:     Fine.
       15                      MR. FREEDMAN:      -- is under a subpoena
       16     to testify.     There's no protective order granted
       17     for a nondisclosure.       You didn't raise it in front
       18     of the Court.      So I'm not sure what you're saying,
       19     but whatever you're saying, it's certainly there,
       20     you don't have to keep saying it.
       21                      MR. KASS:     Okay.    That's all I wanted
       22     to know.    I just wanted to avoid having to resay it
       23     if you agree it's kind of said in that still.
       24                      MR. FREEDMAN:      Standing -- whatever
       25     you said is standing.
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                                                                          Page 67
         1                       MR. KASS:   Perfect.     That's all I
         2    wanted.
         3    BY MR. FREEDMAN:
         4          Q     Have you completed your review?
         5          A     Yes.
         6          Q     So is it an accurate high-level summary
         7    of what happened that day?
         8          A     Yes.
         9          Q     I want to go into it in a little bit more
       10     detail with you, if that's all right.
       11           A     Okay.
       12           Q     You got off the plane at around 11:00 or
       13     so; is that right?
       14                      MR. KASS:     Object to form.
       15           Q     Arrived at the hotel, I should say,
       16     around 11:00?
       17           A     That's probably correct.
       18           Q     The email, "It was a red-eye flight, so I
       19     arrived at the hotel at 11:00 a.m."
       20                      We were not following you that day.
       21           A     It was a red-eye flight, so I was very
       22     tired.
       23           Q     Yes.    And who -- who were the first folks
       24     that you met with that day?
       25           A     The venture capital people, who,
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                                                                          Page 68
         1    according to this email, are named Andrew and Rob.
         2          Q     Yeah, or -- right.       And -- and what did
         3    they -- where did that meeting take place?
         4          A     That meeting took place in the -- in a
         5    conference room in the basement of the hotel I was
         6    staying at.
         7          Q     Okay.    And what did they -- what did they
         8    tell you?
         9          A     They -- let's see.       One of them said he
       10     had known Craig for a long time, and that Craig had
       11     been talking to him about Bitcoin for a long time,
       12     and that over time he had become convinced that
       13     Craig was Satoshi and had invented Bitcoin.
       14                      And the other one, I believe -- I'm
       15     trying to remember the conversation.           It's been a
       16     very long time.      I don't recall the details of that
       17     conversation, but it was also -- let's see, he
       18     talked about how he was working with Craig
       19     business-wise and, you know, was helping facilitate
       20     everything that was happening.          And, again, I -- I
       21     have very little recollection of what exactly we
       22     talked about.
       23           Q     Did they explain why they were involved?
       24                      MR. KASS:     Object to form.
       25           A     Yes.    Again, one of them, I don't recall
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                                                                          Page 69
         1    which, said he had been in -- a business partner or
         2    a business associate or somehow involved in Craig's
         3    businesses in the past.
         4                     And then the -- the other one, the
         5    money person, I don't recall if he -- he mentioned
         6    how he had gotten involved, if it was Craig or if
         7    it was this other person who brought him in.
         8    Frankly, I just don't recall.
         9          Q     Did there come a time when you learned
        10    that this venture capital group intended to sell or

H-F-R
        11    license many of Craig's purported intellectual
        12    properties and patents under the Satoshi name to
        13    monetize those inventions?
        14                     MR. KASS:     Object to form.
        15          A     At some point, I learned that, I don't
        16    recall when.
        17          Q     Could it have been in this conversation?
        18                     MR. KASS:     Object to form.
        19          A     It's possible it was in that
        20    conversation, yes.
        21          Q     In the email to Andrew O'Hagan you say,
        22    "They gave me a lot of background and explained
        23    their involvement before meeting with Craig."
        24                     Was that part of the background that
        25    they gave you?
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                                                                          Page 70
         1                     MR. KASS:     Object to form.
         2          A     Was what part of the background?
         3          Q     That -- this investment and what they
         4    were hoping to do with it.
         5                     MR. KASS:     Object to form.
         6          A     Possibly.     Again, I don't -- I don't
         7    recall details of that conversation.
         8          Q     And then, from that meeting, did you go
         9    to meet Craig?
       10                      MR. KASS:     Object to form.
       11           A     That meeting I think -- I'm trying to
       12     recall physically where what happened.            I believe I
       13     met them in the same room, and then Craig came into
       14     the room, and I met with Craig for the first time.
       15           Q     And what did he tell you there?
       16                      MR. KASS:     Object to form.
       17           A     What did he tell me?        Again, I don't
       18     recall details.      If you want to ask something
       19     specific, I might be able to --
       20           Q     Did he say, "Hi, I'm Satoshi Nakamoto"?
       21     Like, do you remember, did he claim to be Satoshi
       22     in that -- in that conversation?
       23                      MR. KASS:     Object to form.
       24           A     I don't think he ever directly claimed to
       25     be Satoshi, although, I might be mistaken.
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                                                                                Page 71
               1          Q     Did you talk at all about Satoshi
               2    Nakamoto during that initial conversation?
               3          A     I don't recall.
               4          Q     Did he -- did you ask him about where all
               5    his coins were?
               6          A     No.
               7          Q     Did you discuss any of the trusts that
               8    had been set up?
               9          A     No.
             10           Q     Did you discuss the creation of Bitcoin
             11     at all during that initial conversation?
             12           A     I don't think so.
             13           Q     Did he mention Dave Kleiman in that
             14     initial conversation?
             15                       MR. KASS:    Object to form.
             16           A     I -- I think he did, but I'm not certain.
             17     I remember him getting emotional.           I believe -- I
             18     believe at one point there was some mention of Dave
             19     Kleiman, and I remember Craig being emotional.

H-S
             20           Q     Emotional in what way?
             21           A     Sad about Dave's death.         I did not press
             22     or ask.
             23           Q     And do you know in what context Dave
             24     Kleiman was raised in this initial conversation?
             25           A     I think we had a conversation about the
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          1    person of Satoshi actually being three people --
          2            Q   Okay.
          3            A   -- being Dave Kleiman, Craig Wright, and
          4    some other mysterious person, who I never asked
          5    about.
          6            Q   And you say you think you had this
          7    conversation.     Are you sure you had this
          8    conversation, or do you think you had this
          9    conversation?
        10           A     I think I had this conversation.           Again,
        11     I was jet lagged, and this was four years ago,
        12     so --
        13           Q     And is the doubt --
        14           A     -- my recollection is -- my recollection
        15     is very fuzzy.
        16           Q     And this -- this conversation -- let me
        17     strike that.
        18                      Is the doubt that you don't know if
        19     it was during this conversation or a later
        20     conversation, or are you concerned you might be
        21     imagining the whole thing?
        22           A     Yeah, I'm -- I'm certain that, you know,
        23     it could have been this conversation or the
        24     following breakfast.       It's also possible...
H-R-F   25           Q     So is it fair to say Craig told you this,
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                                                                            Page 73
           1    you just don't remember when?
H-R-F
           2                     MR. KASS:     Object to form.
           3          A     Yes.
           4          Q     Okay.    So after you -- you met with Craig
           5    in this initial conversation, did you go right to
           6    the proof section -- proof session?
           7                     MR. KASS:     Object to form.
           8          A     Yes.    The proof session was -- it was one
           9    continuous meeting in that room at the hotel.
         10           Q     Can you -- can you walk me through that
         11     proof session?
         12           A     Sure.    I -- I do recall producing a
         13     brand-new USB stick.       So I had my laptop with me
         14     and a -- put a brand-new, sealed-in-the-package USB
         15     stick on the table, which I expected Craig to take
         16     and produce some digital signatures that I could
         17     then verify on my laptop.        That did not happen.
         18     Instead, a laptop was procured, a brand-new laptop
         19     was procured by an assistant.          I think it was an
         20     assistant for one of the -- I don't know whose
         21     assistant it was.
         22                      Craig and I waited in the room while
         23     the laptop was purchased.        It was then unpacked and
         24     booted up for the first time in front of me.             And
         25     the proof then was Craig downloaded and installed
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         1    software.
         2                       And then, after some -- many hours, I
         3    don't recall how many hours, but it took much
         4    longer than -- than expected, at the end of that, I
         5    was convinced that he had taken one of the early
         6    blocks and signed a message using its private key.
         7          Q     Which block did he use?
         8          A     It was the block that -- I believe it was
         9    block 10, the block that -- that had the
       10     transaction from Satoshi to Hal Finney.
       11           Q     So the assistant that went to get the
       12     computer -- sorry.       Strike that.
       13                       Did you accompany the assistant to go
       14     purchase the new computer?
       15           A     No.
       16           Q     When the computer came back, how -- did
       17     you verify that it was factory sealed?
       18           A     No.
       19           Q     When the -- when the computer started up,
       20     did it boot up with the typical initial startup
       21     that's required on a new computer?
       22           A     Yes.
       23           Q     Which Bitcoin wallet did -- did
       24     Dr. Wright use for the demonstration?
       25                       MR. KASS:    Object to form.
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                                                                          Page 75
         1          A     Which -- I be -- I'm not sure -- do
         2    you -- do you mean which software did he use?
         3          Q     Meaning, yes, which software did Craig
         4    use to -- to initiate the transaction, the signed
         5    transaction?
         6          A     I went back and checked my notes this
         7    morning, and it was Electrum.
         8          Q     Do you have notes of that actual meeting
         9    somewhere?
       10           A     I don't have contemporaneous notes.            The
       11     best I have is a -- a Reddit private message thread
       12     that I had with a person on Reddit that -- that I
       13     gave up as part of discovery.          Those are the
       14     best -- that's the best notes that I have.
       15           Q     And whose -- did you suggest that he use
       16     Electrum?
       17                       MR. KASS:    Object to form.
       18           A     No.
       19           Q     He chose Electrum?
       20                       MR. KASS:    Object to form.
       21           A     He chose Electrum, yes.
       22           Q     How was -- how was -- how was it -- how
       23     was it downloaded?       How was it -- how did Electrum
       24     end up on the computer?
       25           A     It was downloaded via the hotel Wi-Fi
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         1    from the -- and I don't recall if it was from the
         2    Electrum website or from GitHub.
         3          Q     And did you verify -- did you watch the
         4    laptop connect to the hotel's Wi-Fi?
         5          A     I don't recall.
         6          Q     Did you see him input, like, the log-in
         7    codes that are typically associated with a hotel
         8    Wi-Fi?
         9          A     I don't recall.
       10           Q     Is it possible it was not the hotel's
       11     Wi-Fi?
       12           A     Yes, it --
       13                      MR. KASS:     Object to form.
       14           A     Yes, it is possible.
       15           Q     When Electrum was downloaded either from
       16     GitHub or from Electrum's website, did you verify
       17     that it had the HTTPS security certificate on the
       18     website?
       19           A     I don't recall.
       20           Q     Did you verify the hash digest of the
       21     download against something you had brought with you
       22     independently?
       23                      MR. KASS:     Object to form.
       24           A     The hash digest of the Electrum software?
       25     No, I did not.
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         1          Q     And I understand you were jet lagged
         2    during this.      Is it fair to say you were exhausted
         3    at this point?
         4          A     Yes, I was.
         5          Q     So how did -- as I understand it, Craig
         6    signed the message on his own computer, and then
         7    you verified that signature on the new computer.
         8    Is that -- is that right?
         9                      MR. KASS:    Object to form.
       10           A     No.    Everything happened on that new
       11     computer.    That's not true.       There had to be a
       12     private key involved.
       13                       I don't recall -- I don't recall if
       14     he signed a message on his computer and then
       15     transferred it to the new computer, or if he
       16     transferred the private key to that new computer.
       17     I don't recall which method was used.
       18                       (Pause.)
       19                       (Exhibit 11 marked for
       20                       identification.)
       21           Q     So I'm handing you what's been marked as
       22     Plaintiffs' Exhibit 11, and it's been produced by
       23     you as -- we've marked it as Gavin 2007.
       24                       Take a moment to familiarize yourself
       25     with it, and then, if you would, turn to 2009 at
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         1    the bottom.
         2                     Is this that Reddit private message
         3    you discussed earlier?
         4          A     Yes, it is.
         5          Q     And if you go to the bottom of page 2009,
         6    do you see it says, CSW signed on his laptop using
         7    Electrum.    GA -- which I assume is Gavin Andresen
         8    -- did not witness the procedure on CSW's screen.
         9    CSW put the signature in a text file and put the
       10     text file on GA's USB stick.
       11                      Does this help refresh your
       12     recollection of --
       13           A     2009.
       14           Q     -- what happened?       Sorry?    Do you want to
       15     keep reading?
       16           A     Let me --
       17           Q     Yeah.    Go ahead.
       18           A     -- find the...
       19                      MR. KASS:     I'm just objecting to the
       20     use of this document.
       21                      MR. FREEDMAN:      Okay.    On what basis?
       22                      MR. KASS:     It's not clear if this is
       23     a Reddit post.      It looks like something that was
       24     copied and pasted into a Word document.            Nothing
       25     has been established as to the providence of this
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         1    document.     So until that's established...
         2                     (Pause.)
         3    BY MR. FREEDMAN:
         4          Q      All right.    Let me take a step back,
         5    actually, before you do that and address Mr. Kass's
         6    concern.
         7                     Do you recognize this particular
         8    document?
         9          A      Yes.
       10           Q     Can you explain to me how I obtained
       11     possession of this document?
       12           A     I went into my Reddit account and went
       13     back through my Reddit private messages, and then I
       14     copied and pasted into a text document that I sent
       15     to you as part of my response to the subpoena I
       16     received.
       17           Q     And is this an accurate copy and paste of
       18     the Reddit messages?
       19           A     Some of the formatting is a little weird,
       20     but, yes, all of the text is.
       21           Q     The substance is accurate?
       22           A     The substance is accurate, I believe.
       23                      MR. FREEDMAN:      Okay.    Still have an
       24     objection?
       25                      MR. KASS:     We'll get to it on cross.
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         1    I mean --
         2                       MR. FREEDMAN:    Okay.
         3                       MR. KASS:   -- a little better.
         4          Q      So, Mr. Andresen, does this help -- is
         5    this a completely accurate description of exactly
         6    what occurred in that demonstration?
         7          A      The -- the text that we were talking
         8    about, the -- let's see.
         9                       (Pause.)
       10           A     Yes.    I believe at least everything on
       11     page 2009 and 2010, this person I was corresponding
       12     with put together from things I had said publicly
       13     around the time that this was being discussed.
       14           Q     And there's a message here, it says you
       15     got -- are you Etmet -- Etmetm?
       16           A     No, I am not Etmetm.        That was the person
       17     I was discussing with that.         Etmetm is one of
       18     the -- I believe he says he's an Electrum
       19     developer.
       20           Q     Got it.    And there's a message on the --
       21     on page 2011, it says, "You got several details
       22     wrong.    I'll correct when on my computer next."
       23                      Is that -- is that from you?
       24           A     That is from me, yes.
       25           Q     Did you ever correct?
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         1          A     No.
         2          Q     Okay.    What was wrong?
         3          A     Oh, boy.     Yeah, I don't recall what was
         4    wrong.
         5          Q     Regardless, does this -- does this
         6    exchange -- does this document help refresh your
         7    recollection as to whether the signature was -- the
         8    sig -- the proof process was done completely on the
         9    new computer or whether it involved two computers?
       10           A     I have no memory of it.         So this document
       11     is the best record of what probably happened.
       12           Q     Okay.    So you would defer to this
       13     document?
       14           A     Yes.
       15                       MR. KASS:    Object to form.
       16           Q     Is one of the mistakes -- do you believe
       17     one of the mistakes in the document is that it was
       18     signed on Craig's laptop and transferred to yours
       19     with a USB stick?
       20                       MR. KASS:    Object to form.
       21           A     It's possible that that is one of the
       22     mistakes, because I don't remember the USB stick
       23     ever being removed from its bubble shell factory --
       24     but it might have been.
       25           Q     So how did Craig get -- assuming that it
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         1    was all done on the new computer, how did Craig get
         2    the private key to block 9 onto the new computer?
         3                     MR. KASS:     Object to form.
         4          A      I don't know.
         5          Q      And then what -- what would have been the
         6    -- did you go ahead and verify it after he had
         7    signed it?
         8                     MR. KASS:     Object to form.
         9          A      Did I?   If I recall correctly, Craig
       10     signed a message, and I saw him do the command to
       11     -- to sign the message.        I think it must have been
       12     on his personal computer.        And we probably did use
       13     a USB stick to move it to the -- the fresh
       14     computer.    And then Craig typed on the fresh
       15     computer the verify command, which failed
       16     initially.     We did it a second time, and -- and
       17     that verification succeeded.
       18           Q     What was different?        Why did it fail and
       19     then why did it succeed?
       20           A     We were verifying a slightly different
       21     message.    I think that it was, you know, Gavin's
       22     favorite number is 11, maybe, if I recall
       23     correctly, dash, CSW versus Gavin's favorite number
       24     is 11.    And we had just -- again, it had been a
       25     long day.    I was jet lagged.       I think Craig was
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                                                                          Page 83
         1    tired after wrestling with new computers and
         2    software, and -- and, hence, the -- the failed
         3    first attempt and the -- the successful second
         4    attempt.
         5          Q      Wasn't the message copied from the
         6    original signed message and then pasted and then
         7    again copied and pasted to verify?
         8                     MR. KASS:     Object to form.
         9          A      I'm not sure I understand the question.
       10           Q     Was the message, Gavin's favorite -- so
       11     we had the signed -- we had the signed message,
       12     right?
       13           A     You have a message that you then sign and
       14     create a digital signature --
       15           Q     Right.
       16           A     -- yes.
       17           Q     Then how did you go about verifying that
       18     signature?
       19           A     You take the digital signature, you
       20     transfer it to -- well, you don't have to transfer
       21     it to another computer, but you can then -- given
       22     the -- the public key, which -- which I knew from
       23     the early Bitcoin block, public key, the signature,
       24     and the message that you signed, together, form a
       25     verification, so you need those three things.
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                                                                          Page 84
         1          Q      And so my question is:         You didn't --
         2    there -- there wasn't a copy and paste of the
         3    message you were signing, you didn't create a Word
         4    file or a text file of "Gavin's favorite number is
         5    11-CSW," save that, put it on the USB, reopen that,
         6    and use that as one of the three factors?
         7          A      No, the --
         8                      MR. KASS:    Object to form.
         9          Q      Sorry.    Go ahead.
       10           A     No.    The message was --
       11           Q     Retyped.
       12           A     -- entered, retyped.
       13                       THE VIDEOGRAPHER:      Counsel, I'm sorry
       14     to interrupt.      I have a bit of a technical issue.
       15     Could we go off the record --
       16                       MR. FREEDMAN:     Sure.
       17                       THE VIDEOGRAPHER:      -- for a moment?
       18                       MR. FREEDMAN:     Time is 11:01.      We're
       19     going off the record.       This will mark the end of
       20     Media Unit No. 1.       We're off the record.
       21                       (Off record.)
       22                       THE VIDEOGRAPHER:      The time now is
       23     11:10 a.m.     We're coming back on the record.          Now
       24     beginning Media Unit No. 2 in our deposition with
       25     Gavin Andresen.       We're on the record.
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                                                                          Page 85
         1    BY MR. FREEDMAN:
         2          Q     Has this discussion at all refreshed your
         3    recollection of whether there was, in fact, a
         4    transfer of the signature from one computer to
         5    another?
         6                       MR. KASS:   Object to form.
         7          A     No.     Again, my -- I don't recollect that
         8    level of detail.
         9          Q     Is it fair to say that if -- if there was
       10     a transfer, you did not verify that there was no
       11     other software installed on the USB stick?
       12                       MR. KASS:    Object to form.
       13           A     Yes.
       14           Q     Can you guarantee there was an authentic
       15     version of Electrum used for this signing event?
       16                       MR. KASS:    Object to form.
       17           A     Can I guarantee?       No.   It's possible that
       18     a rogue version was downloaded.
       19           Q     Can you guarantee that no code under
       20     Craig's control was installed on the computers used
       21     to verify the message?
       22                       MR. KASS:    Object to form.
       23           A     No.
       24           Q     Did you verify the public address of
       25     block 9 or 10 with the public address that had been
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                                                                          Page 86
         1    used to sign the block?        Did you go through every
         2    letter and verify it matched?
         3          A     I brought a list of all the early block
         4    public addresses, and I did verify -- I don't
         5    recall if I went through every single letter, but I
         6    probably did at least the first four to six and the
         7    last four to six, which is typically how I verify a
         8    public address is -- is what I think it is.
         9          Q     During the public proof demonstration,
       10     was there any mention of a -- of needing a trust's
       11     permission to use the private key?
       12           A     I don't recall.
       13           Q     Do you recall how the private key to
       14     block 9 was stored on Craig's laptop in order for
       15     him to sign?
       16                       MR. KASS:    Object to form.
       17           Q     Let me strike that.
       18                       Do you recall how the pub -- the
       19     private key to block 9 was stored by Craig Wright?
       20           A     No.
       21           Q     But if it was a valid signing, he had to
       22     have had access to the private key of -- of
       23     block 10?
       24                       MR. KASS:    Object to form.
       25           A     Yes.
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                                                                          Page 87
         1          Q     Okay.    I think I said 9 before, but if
         2    I'm saying block 9 or 10, I'm referring to the same
         3    block, it's that one that Satoshi sent to Hal and
         4    Hal sent back.      10 versus 9 being where you're
         5    starting from counting, right?
         6          A     Yes.
         7          Q     Okay.
         8          A     And, again, my recollection of the block
         9    number could very well be incorrect.
       10           Q     Did you choose the message you wanted
       11     signed?
       12           A     Yes.
       13           Q     Including the CSW at the end of the
       14     message?
       15                      MR. KASS:     Object to form.
       16           A     No, I did not choose the including CSW at
       17     the end of the message.
       18           Q     So he added that on his own?
       19                      MR. KASS:     Object to form.
       20           A     Yes.
       21           Q     I think you've publicly stated that it's
       22     certainly possible you were bamboozled by Craig.
       23     Do you recall saying that?
       24                      MR. KASS:     Object to form.
       25           A     Yes.
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                                                                          Page 88
         1          Q     What led to you thinking that it was
         2    certainly possible you were -- well, let me take a
         3    step back.
         4                     Sitting here today, do you believe
         5    that you saw a proper signature with the private
         6    key to block 9?
         7          A     Sitting here today, I think it's more
         8    likely than not that I saw a proper signature, but
         9    I -- but I do have some doubt.
       10           Q     And what made you acknowledge that it's
       11     certainly possible you were bamboozled?
       12           A     As I think I state in this kind of Reddit
       13     private message, I did not expect the private
       14     proving session to have as much weight as it did.
       15     So there were certainly, you know, pos -- there are
       16     places in the private proving session where I could
       17     have been fooled, where somebody could have
       18     switched out the software that was being used or,
       19     perhaps, the laptop that was delivered was not a
       20     brand-new laptop, and it had been tampered with in
       21     some way.    I was also jet lagged.
       22                      And, again, I was not in the head
       23     space of this is going to prove to the world that
       24     Craig Wright is Satoshi Nakamoto.           I was in the
       25     head space of, you know, this will prove to me
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                                                                          Page 89
         1    beyond a reasonable doubt that Craig Wright is
         2    Satoshi Nakamoto.
         3                     And my doubts arise because the proof
         4    that was presented to me is very different from the
         5    pseudo proof that was later presented to the world.
         6          Q     So after the -- after the proof session
         7    was over, what happened next?
         8          A     I went and got fish and chips, I had a
         9    lovely fish-and-chips dinner, and then went to
R
        10    sleep.
        11                     The next morning, met with Craig and
        12    what's his name and who's his face, the money guys,
        13    for a traditional English -- English breakfast at
        14    the hotel, the hotel restaurant.
        15          Q     Okay.    And during the proof session, did
        16    Dave Kleiman get brought up at all?
    H
        17                     MR. KASS:     Object to form.
        18          A     Again, I believe he was mentioned as one
        19    of the three people.
        20          Q     Let's take that -- let's take that out of
        21    it, 'cause I understand you're not sure whether
        22    that was said in the first meeting at the proof
        23    session or at the breakfast in the morning, so
        24    let's take that out.
        25                     Aside for this conversation --
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                                                                          Page 90
         1          A     Okay.
         2          Q     -- with Dave Kleiman being one of the
         3    three people behind the Satoshi Nakamoto moniker,
         4    was there any other mention of Dave Kleiman during
         5    the proof session?
         6                       MR. KASS:   Object to form.
         7          A     I don't recall.
         8          Q     So then you -- the next morning you had a
         9    proper English breakfast with the money men.             Did
       10     Craig attend that meeting?
       11           A     Yes.
       12           Q     So it was four people?
       13           A     Four people, yes.
       14           Q     Was it four people the entire time?
       15           A     Yes, I believe so.
       16           Q     Okay.    And aside for, again, the
       17     conversation, we don't know when it took place,
       18     about Dave Kleiman's involvement with Satoshi being
       19     one of the three people, was Dave Kleiman raised at
       20     that breakfast?
       21                      MR. KASS:     Object to form.
       22           A     I don't recall.
       23           Q     Were the trusts raised at that breakfast?
       24                      MR. KASS:     Object to form.
       25           A     I don't recall.
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                                                                          Page 91
         1          Q     Were any trusts raised at that breakfast?
         2                      MR. KASS:    Same objection.
         3          A     I don't recall.
         4          Q     During any of these three conversations
         5    with Craig, did you ever talk to Craig about where
         6    all of his Bitcoin were?
         7          A     No.
         8                      MR. KASS:    I'm gonna object to form.
         9          Q     Can you tell me a bit more about the
       10     conversation, whenever it occurred, with Craig
       11     about the three people behind Satoshi Nakamoto?
       12                       MR. KASS:    Object to form.
       13           A     Can I tell you more about that
       14     conversation?      I don't think so.      My memory is very
       15     fuzzy.    I believe we had a conversation, a short
       16     two sentences, about that, but I don't recall
       17     details.
       18           Q     How did it come up?
       19           A     I don't recall.
       20           Q     And -- and how did he reference the
       21     mysterious third character; what -- what did he --
       22     how did he refer to that character?
       23                       MR. KASS:    Object to form.
       24           A     I think he just said, "And there was
       25     somebody else."
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                                                                          Page 92
         1          Q     And -- sorry.
         2          A     And that's it.      I -- I did not -- it
H        3    didn't seem to be any of my business to ask who the
         4    other mysterious third person was.
         5          Q     And -- and what was the -- the statement,
         6    that these three people what?
         7          A     That these three people were involved in
         8    creating Bitcoin in 2009.
         9          Q     Did he --
       10                      MR. KASS:     Object to form, prior
       11     question.
       12           Q     Did he describe what the duties of each
       13     of the three were?
       14                      MR. KASS:     Object to form.
       15           A     Not that I recall, no.
       16           Q     Did he claim one was more Satoshi than
       17     the rest?
       18                      MR. KASS:     Object to form.
       19           A     I believe he claimed that he was the
       20     primary inventor.
       21           Q     And what did you -- what did he mean by,
       22     or did he explain what he meant by, being the
       23     "primary inventor"?
       24                      MR. KASS:     Object to form.
       25           A     I got the impression, or at least I
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                                                                          Page 93
         1    believe he -- again, I don't recall details, but he
         2    might have said something like, "It was my idea."
         3            Q   So did he claim credit for anything more
         4    than just saying it was his idea or --
         5                       MR. KASS:   Object.
         6            Q   -- did he leave it at, "It was my idea"?
         7                       MR. KASS:   Object to form.
         8            A   I believe he left it at, "It was my
         9    idea."
       10           Q     During any of these conversations, did
       11     you ask him why he had disappeared in 2011?
       12           A     No.
       13           Q     Did he explain why he disappeared in
       14     2011?
       15           A     I believe he said that he was, at that
       16     time, going through a divorce.
       17           Q     Um-hm.    And, therefore...
       18                       MR. KASS:    Object to form.
       19           A     That he was going through a divorce and
       20     just the personal stress of that contributed to him
       21     stepping back, away from the project.
       22           Q     I think it was Plaintiffs' Exhibit 1 was
       23     Satoshi's message to you that he was moving on to
       24     other things.      Do you recall that?
       25           A     Yes.
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                                                                          Page 94
         1           Q    Did you ask him what those other things
         2    were?
         3           A    I don't recall.      I don't think I did.
         4           Q    Did the topic of the other two members of
         5    the Satoshi team ever come up in front of the money
         6    men?
         7                      MR. KASS:    Object to form.
         8           A    They were there during all of my
         9    conversations with Craig, at least one of them --
       10     one or the other of them were there, so, yes, it
       11     would have been in front of them.
       12            Q    Do you remember which?
       13            A    No, I don't recall.
       14            Q    Did they ever express concern about who
       15     might have the rights to Satoshi's work product?
       16                       MR. KASS:    Object to form.
       17            A    No.
       18            Q    Did that issue ever get discussed?
       19                       MR. KASS:    Object to form.
       20            A    No.
       21            Q    During the conversations with Craig, did
       22     his wealth ever come up?
       23                       MR. KASS:    Object to form.
       24            A    Did his wealth ever come up?          No.
       25            Q    Did you ever ask him what he intended to
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         1    do with the fortune of Bitcoin he was sitting on?
         2                       MR. KASS:   Object to form.
         3          A     No.
         4          Q     Did he say what he intended to do with
         5    the fortune of Bitcoin?
         6                       MR. KASS:   Object to form.
         7          A     Not that I recall.
         8          Q     It seems you exercised extreme restraint
         9    in not asking.
       10           A     Yes, I did.
       11                       MR. KASS:    Object to form.
       12                       (Exhibit 12 marked for
       13                       identification.)
       14           Q     I want to pull you out of the timeline
       15     for a second, just so you see where I'm going with
       16     things.
       17                       I'm handing you what's been marked as
       18     Plaintiffs' Exhibit 12, and it is comprised of
H      19     Gavin 683 and 684.
       20                       Do you recognize this email?
       21           A     Yes.
       22           Q     To put this email -- and this is an email
       23     from Robert MacGregor to you and Jon Matonis?
       24           A     Yes.
       25           Q     CC'ing Stefan Matthews from nCrypt?
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  H      1          A     Yes.
         2          Q     And these are the money men?
         3                       MR. KASS:   Object to form.

  H      4          A     Rob.    Yes, I believe they are.
         5          Q     Okay.    And 683 is the email, 684 is its
         6    attachment?
         7                       MR. KASS:   Object to form.
         8          Q     It's the next page.
         9          A     Yes.
       10           Q     Do you recall receiving this email and
       11     its attachment?
       12           A     I recall -- do I recall receiving it?            I
       13     recall giving it to you as part of the discovery
       14     process for the subpoena.
       15           Q     So at some point you received it?
       16                      MR. KASS:     Object.
       17           A     At some point I did receive it, yes.
       18           Q     Okay.    And to put this in context, and
       19     we'll get back to the timeline in a minute, Craig
       20     attempts to prove to the world publicly that he is
       21     Satoshi, and provides less than perfect proof.              Is
       22     that an accurate statement?
       23                      MR. KASS:     Object to form.
       24           A     Yes.
       25           Q     And when that proof fails to demonstrate
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           1    who he says he is, the money men go into crisis
           2    mode to save the day.        Is that an accurate
           3    paraphrase of what's going on?
           4                       MR. KASS:   Object to form.
           5          A     Yes.
           6          Q     And as part of that saving of the day to
           7    recover Craig's reputation, they propose that there
           8    will be -- that Craig will actually send Bitcoin
           9    from block 9 or block 10, that -- I think they're
         10     referring to it as block 9, but it's the same
         11     block, to you and Jon Matonis as unequivocal,
         12     uncontrovertible proof that he has the private key
         13     to block 9 --
         14                      MR. KASS:     Object to form.
         15           Q     -- is that fair?
         16           A     Yes.
         17           Q     And in the attachment, it lays out kind
H-R
         18     of the process of what they're going to release --
         19     or, rather, it is, in fact, a blog post that they
         20     were going to post; is that right?
         21                      MR. KASS:     Object to form.
         22           A     Yes.
  H-R
         23           Q     And it was -- it was a draft blog post
         24     for Craig to post?
         25                      MR. KASS:     Object to form.
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         1          A     Yes.
         2          Q     And in it, it starts off saying, "While
H        3    Hal Finney was not the second person to actually
         4    run Bitcoin as he had speculated, that distinction
         5    goes to Dave Kleiman."
         6                     You see that?
         7          A     Yes, I see that.
         8          Q     Is this consistent with your
         9    conversations with Craig that Dave Kleiman was the
       10     second person to run Bitcoin?
       11                      MR. KASS:     Object to form.
       12           A     I don't know that we ever discussed
       13     running Bitcoin.
       14           Q     Okay.
       15           A     So, no, I don't think I ever had any
       16     discussion about who was running Bitcoin when with
       17     Craig.
       18           Q     After you received this message, did you
       19     communicate with Craig at all about Dave Kleiman
       20     being the second person to run Bitcoin?
       21           A     Not that I recall.
       22           Q     Did you understand that Craig had signed
       23     off on this blog post?
       24                      MR. KASS:     Object to form.
       25           A     I don't think I had any knowledge about
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         1    whether Craig had seen this blog post prior to me
         2    seeing this blog post.
         3            Q   And then if you look down at the fourth
         4    paragraph, it says, "Obviously, I'm well aware of
         5    the furore that has been created because I did not
         6    immediately sign a message with the private key
         7    from this block.      I will make the reasons for this
         8    clear and provide further context in an upcoming
         9    post."
       10                      Do you see that?
       11           A     Yes.
       12           Q     Did he ever make the reasons for his
       13     failure clear?
       14           A     I don't think so, no.
       15           Q     And did he ever provide further context?
       16           A     He wrote a lot -- he wrote a lot
       17     afterwards, and -- and a lot I didn't read, so I
       18     don't know.
       19                      MR. FREEDMAN:      Do we want to maybe
       20     take a minute and see if we can get them to quiet
       21     down?
       22                      THE VIDEOGRAPHER:       Great idea.
       23                      The time is 11:31.       We're going off
       24     the record.
       25                      (Off record.)
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         1                        THE VIDEOGRAPHER:     The time is
         2    11:33 a.m.     We're back on the record.
         3    BY MR. FREEDMAN:
         4            Q    Are you aware that -- did Craig ever
         5    mention Patrick Paige to you?
         6            A    Not that I recall.
         7            Q    Are you aware that Patrick Paige is --
         8    was one of Dave's best friends, Dave Kleiman's best
    H
         9    friends?
        10           A     No.
        11           Q     Are you aware that he testified that in
        12    2014 Craig told him Craig was a part of a group of
        13    people that had created Bitcoin?
        14                       MR. KASS:   Object to form.
        15           A     No.
H
        16           Q     Is that consistent with what Craig told
        17    you?
        18                       MR. KASS:   Object to form.
    H   19           A     Yes.
        20           Q     Did you ever read Andrew -- did you ever
        21    come to meet Andrew O'Hagan -- or, sorry.             Strike
        22    that.
        23                       Did you ever come to be introduced to
        24    Andrew O'Hagan?
        25           A     I don't think I've met him in person.
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             1           Q     But you spoke with him?
             2           A     I don't know if we ever had a phone
             3    conversation.        I've definitely emailed with him.
             4           Q     You've communicated with Andrew O'Hagan?
             5           A     I have communicated with Andrew O'Hagan,
             6    yes.
             7           Q     Did you ever come to read the story he
             8    put together called "The Satoshi Affair"?
             9           A     Yes, I did.
            10           Q     I'm gonna hand you what we're marking as
            11    Plaintiffs' Exhibit 13.
            12                      (Exhibit 13 marked for
    H
            13                      identification.)
            14                      MR. FREEDMAN:     I might have a second
            15    copy for you, but it's 83-1.
            16                      MR. KASS:    Well, if you have one for
            17    me, that will be helpful.
            18                      (Pause.)
            19                      (Document exhibited to counsel.)
            20           Q     Do you recognize -- do you recognize what
            21    I've just handed you as Plaintiffs' Exhibit 13?
H
            22           A     Yes.
            23           Q     Okay.    And can you turn -- and is this
            24    "The Satoshi Affair" article that Andrew O'Hagan
            25    drafted or wrote -- authored?
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               1          A      I believe so, yes.
               2          Q      And is the characterization of the
               3    signing session, the proof session, is that
               4    accurate?
               5                        MR. KASS:   Object to form.
               6          A      I would have to go back and reread it.
               7          Q      All right.     Well, let's come back to
               8    that.
               9                        Can you page -- turn to page -- see
              10    on the top there's blue page numbers?            Sorry.
              11    They're not blue in your copy.
              12                      Do you see in the top that there's a
              13    header, it says page X --
              14          A      Yes.
              15          Q      -- of Y?
              16          A      Yes.
              17          Q      Can you -- can you turn to page 26.
              18          A      Yep.
              19          Q      If you go to the middle paragraph, do you
              20    want to read that first sentence for the record?
              21          A      "Dave Kleiman was to become the most
H-F
              22    important person in Wright's professional life, the
              23    man he says helped him do Satoshi's work."
              24          Q      Is this consistent with statements you
              25    heard from Craig?
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                                                                         Page 103
         1                       MR. KASS:   Object to form.
         2           A     Yes.
         3           Q     And can you turn to page 76.
H-F      4                       And way at the bottom, this is Andrew
         5    O'Hagan recounting a conversation he had with
         6    Craig.     Can you go ahead and read that back and
         7    forth?
         8           A     In a conversation I had, right?
         9           Q     No.    Andrew O'Hagan with Craig Wright.
        10    Starting from "but you can say," can you read that
        11    for the record, please?
        12                       MR. KASS:   Object to form.
        13           A     "But you can say, hand on heart, I am
        14    Satoshi Nakamoto."
H-F
        15           Q     And then Craig's response on the next
        16    page, 77.
        17                       MR. KASS:   Same objection.
        18           A     "I was the main part of it.         Other people
        19    helped.    At the end of the day, none of this would
H-F     20    have happened with Dave Kleiman, without Hal
        21    Finney, and without those who took over, like Gavin
        22    and Mike."
        23           Q     Are these statements about Dave Kleiman
        24    consistent with other statements Craig has made to
        25    you?
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                                                                               Page 104
               1                        MR. KASS:   Object to form.
               2          A      Yes.
        A
               3          Q      Can you turn back to page 27.
               4                        And on page 27 -- sorry.
               5                        (Pause.)
               6          Q      Do you see the paragraph that starts off,
               7    "We needed people to respond to us"?
               8          A      Yes.
               9          Q      Halfway through that paragraph there is a
              10    sentence that begins with "If"?
              11          A      Yes.
              12          Q      It's a -- it's a quote from Craig.           Can
              13    you read that for the record?
              14          A      "If I" -- "if I had come out originally
  H-F
              15    as Satoshi, without Dave, I don't think it would
              16    have gone anywhere.       I've had too many
              17    conversations with people who get annoyed because
              18    it's me."
              19          Q      Is that also consistent with your
              20    conversations with Craig?
              21                      MR. KASS:     Object to form.
              22          A      Yes.
H-F
              23          Q      And consistent with statements Craig has
              24    told you?
              25                      MR. KASS:     Object to form.
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                                                                           Page 105
           1          A      Yes.
H-F
           2          Q      Can you go to page 31 for me?
           3          A      (Witness complied.)
           4          Q      And in the second paragraph of page 31,
           5    Andrew O'Hagan quotes an email dated 12th
           6    March 2008.     Do you see that?
           7          A      Yes.
           8          Q      And can you read the -- can you read the
           9    quote that he's quoting from that article -- I'm
          10    sorry -- can you read the quote of the email that
          11    he's quoting?
          12          A      That begins, "I need your help"?
          13          Q      Yes.
          14          A      "I need your help editing a paper I am
          15    going to release later this year.           I have been
          16    working on a new form of electronic money, Bit
          17    cash, Bitcoin.      You are always there for me, Dave.
          18    I want you to be part of it all.           I cannot release
          19    it as me.     GMX, Vistomail, and Tor, I need your
          20    help and I need a version of me to make this work
          21    that is better than me."
          22          Q      Is this email consistent with the story
          23    Craig told you about his and Dave's collaboration?
          24                      MR. KASS:    Object to form.
          25          A      Yes.
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                                                                         Page 106
         1                      (Discussion off the record.)
         2                      THE VIDEOGRAPHER:       There's a signal
         3    going through the audio that is disruptive, but it
         4    doesn't prevent you from hearing everything.              It's
         5    just annoying.      I don't know -- it just popped up.
         6    I don't know where it's coming from.            We could go
         7    off the record, we could try to track it down, but
         8    I don't know.
         9                      MR. FREEDMAN:     How bad is it?
        10                      Maybe we should go off the record
        11    while we're doing this.
        12                      THE VIDEOGRAPHER:       Let's go off,
        13    yeah.     The time is 11:41.      We're going off the
        14    record.
        15                      (Off record.)
        16                      THE VIDEOGRAPHER:       The time is
        17    11:45 a.m.     We're coming back on the record.           Now
        18    beginning -- no, continuing with Media Unit No. 2.
        19    Sorry.     We're on the record.
        20    BY MR. FREEDMAN:
        21          Q      If you turn to page 36, and you go to the
        22    bottom of the page, you'll see a sentence that
        23    says, "I asked Wright about this, and he told me it
        24    was true, that his and Kleiman's mining activity
        25    had led to a complicated trust."
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                                                                         Page 107
         1                        Did you discuss trusts at all with
         2    Craig?
         3                        MR. KASS:   Object to form.
         4          A      I don't recall.
         5          Q      Did you discuss his and Dave Kleiman's
         6    mining activity?
         7                        MR. KASS:   Object to form.
         8          A      No.
         9                        (Exhibit 14 marked for
        10                       identification.)
        11          Q      I'm gonna hand you what has been marked
        12    as Plaintiffs' Exhibit 14.         And for the record,
        13    it's Gavin 1007.
        14                       Do you recognize this email?
        15          A      Yes.
        16          Q      And it's an email from Craig to you and
        17    Jon Matonis?
        18          A      Yes.
        19          Q      On April 27, 2016?
        20          A      Yes.
        21          Q      If you look three paragraphs down from
        22    the top, do you see where Craig writes to you, "In
        23    the past I would joke with Dave before he died
        24    about being Bond villains"?
        25          A      No, I'm not seeing that.        Third paragraph
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                                                                         Page 108
         1    from the --
         2                        (Counsel indicating.)
         3          A      Oh, there.     Sorry.    I was going from the
         4    bottom.    Yes, I see that.
         5          Q      So you understood this to be a reference
         6    to Dave Kleiman?
         7                        MR. KASS:   Object to form.
         8          A      Yes.
         9          Q      So, clearly, you had discussed Dave
        10    Kleiman before this date?
        11                      MR. KASS:     Object to form.
        12          A      Yes.
        13          Q      Beyond the statements that he, Dave
        14    Kleiman, and a mysterious third person had created
        15    Bitcoin together, did the other -- did he make any
        16    other statements about Dave Kleiman?
        17                      MR. KASS:     Object to form.
        18          A      I don't recall.
        19          Q      "Starting a Bitcoin company has meant
        20    dealing" --
        21                      THE STENOGRAPHER:       I'm sorry.     Can
        22    you start again?
        23          Q      "Starting a Bitcoin company has meant
        24    dealing with so many people in the past that it
        25    made me feel that way."
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                                                                         Page 109
         1                        Did you ever understand why he felt
         2    like a Bond villain starting a Bitcoin company?
         3          A      No.
         4          Q      Do you see the paragraph that starts,
         5    "This time"?
         6          A      Yes.
         7          Q      The last sentence of it, can you read it
         8    for the record?
         9          A      "I wonder how long I can keep my other
        10    wallets secret.       Soon it won't matter."
        11          Q      Do you know what he meant here by "other
        12    wallets"?
        13                       MR. KASS:   Object to form.
        14          A      No.
        15          Q      Did you ever come to learn what he meant
        16    by "other wallets"?
        17                       MR. KASS:   Object to form.
        18          A      No.
        19          Q      Do you see the second-to-last sentence of
        20    the paragraph after that?         It starts, "But most
        21    importantly," and then the whole sentence says,
        22    But, most importantly, I have capital?
        23          A      Yes.
        24          Q      Did you understood -- did you ever come
        25    to understand where that capital came from?
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                                                                         Page 110
         1                        MR. KASS:   Object to form.
         2           A     No.
         3           Q     Do you understand how much capital he
         4    had?
         5           A     No.
         6                        MR. KASS:   Object to form.
         7                        (Exhibit 15 marked for
         8                        identification.)
         9           Q     I'm going to hand you what's been marked
        10    as Plaintiffs' Exhibit 15 and is Bates labeled
        11    Gavin 357.
        12                       Do you recognize this email?
        13           A     Yes.
        14           Q     Can you explain what these emails were?
        15                       (Witness perusing document.)
        16           A     Let me -- let me parse out the thread.
        17    So I was contacted by Uyen Nguyen -- I don't know
        18    how you pronounce the name.
        19           Q     I think that's right.
        20           A     -- Uyen Nguyen back in 2016.         They were
        21    -- they claimed that they were trustee for some
        22    trust that Craig Wright had set up.            And, if I
        23    recall correctly, they were -- they were asking if
        24    I could help put them in touch with Craig, because
        25    they were running into some issues with the IRS or
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                                                                         Page 111
         1    something.     I think that's what the -- and I may be
         2    misremembering, 'cause I may have had several
         3    communications with them.
         4                       Third -- and then this particular
         5    document is from Ian Grigg, who was asking me not
         6    to make all of the information public about trusts
         7    and -- and various other -- I guess about -- about
         8    trusts.
         9          Q      Do you know Ian Grigg from before this
        10    email?
        11          A      No.
        12          Q      But did you know him by reputation?
        13          A      I don't know if I knew him by reputation
        14    before this email.
        15          Q      Do you know him now?
        16          A      I do know him now, yes.        He's a technical
        17    guy, cryptographer-type person.
        18          Q      Have you discussed this email with him?
        19          A      I have not, no.
        20          Q      If you look on the page Bates-labeled
        21    358, second page, maybe it's the third paragraph up
        22    from the bottom, it says, "Craig Wright is
        23    one-third of Satoshi Nakamoto.          He is the only
        24    survivor now."
        25          A      I see that, yes.
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                                                                         Page 112
         1            Q    Is that consistent with statements Craig
         2    has made to you?
         3                       MR. KASS:   Object to form.
         4            A    I don't know that Craig ever talked about
         5    the mysterious third person dying, but I suppose it
         6    would be consistent.
         7            Q    Do you see in the first paragraph Uyen
         8    writes, "I was the one chosen, since I knew who and
         9    what they were back in 2010"?
        10          A      Where is that?
        11          Q      It's in the first paragraph of her email.
        12          A      I see it, yes.
        13          Q      Did you ever have a conversation with
        14    Uyen?
        15          A      No.    I think the email conversations that
        16    I produced as part of discovery was the only
        17    communications I've had with Uyen.
        18          Q      Did you ever talk to Craig about these
        19    emails from Uyen?
        20          A      No.
        21          Q      Did you keep the emails confidential?
        22          A      Until I was subpoenaed, yes.
        23                       (Exhibit 16 marked for
        24                       identification.)
        25          Q      I'm handing you what's been marked as
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                                                                         Page 113
         1    Plaintiffs' Exhibit 16, Bates 622.
         2                        Do you recognize this email?
         3                        (Witness perusing document.)
         4          A      Yes.
         5          Q      And do you see your email -- this is
         6    the -- the email we just looked at a moment ago
         7    from Uyen that was at the bottom of the chain of
         8    Plaintiffs' Exhibit 15, right?
         9          A      Yes.
        10          Q      And then above that, you respond back to
        11    Uyen, right?
        12          A      Yes.
        13          Q      And you say, "Is it possible there are no
        14    Bitcoins in the trust, and David and Craig were
        15    making up a story all along?"
        16                      Which trust are you referring to?
        17          A      The trust that Uyen Nguyen claimed they
        18    were a trustee for.
        19          Q      But Craig had never mentioned a trustee
        20    before this?
        21                      MR. KASS:    Object to form.
        22          A      I don't recall.
        23          Q      And then you say -- well, why don't you
        24    read the second paragraph for me, of your email.
        25          A      "Given his extreme efforts to avoid
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                                                                         Page 114
         1    releasing a public signature, I'm starting to doubt
         2    that Craig actually possesses the key he claims he
         3    has, and he did somehow manage to trick me and,
         4    perhaps, has been deceiving people for many years."
         5          Q      What do you think now?        Was -- let me
         6    take a step back.
         7                       Was that an accurate statement
         8    when -- when you made it?
         9          A      Yes.
        10          Q      And what do you think now?
        11                       MR. KASS:   Object to form.
        12          A      I'm not sure what to think.         I am -- I
        13    might have been bamboozled.
        14          Q      In the email that Uyen responds back to
        15    your last email, she says, "The troublemaker is
        16    Craig himself, not Dave."
        17                       Do you see that?     Top -- top -- or
        18    second sentence of the email.
        19          A      Yes, I see that.
        20          Q      Do you know what she's referring to?
        21                       MR. KASS:   Object to form.
        22          A      No.
        23          Q      Did you ever ask Craig what she was
        24    referring to?
        25          A      No.
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                                                                         Page 115
         1          Q      And she finishes the email with,
         2    "nLockTime is what controls the trust."
         3                        Do you see that?
         4          A      Yes.
         5          Q      Do you know what she means?
         6                        MR. KASS:   Object to form.
         7          A      Yes.    NLockTime is a feature of Bitcoin
         8    transactions that allows you to create a
         9    transaction that cannot be published to the network
        10    to transfer Bitcoins from one person to another
        11    until sometime in the future.
        12          Q      Okay.    Did you ever get any more detail
        13    on what she means by "nLockTime is what controls
        14    the trust"?
        15          A      No.
        16                       (Exhibit 17 marked for
        17                       identification.)
        18          Q      Okay.    I'm gonna hand you what's been
        19    marked Plaintiffs' Exhibit 17, and it's been

H       20    Bates-labeled Gavin 33.
        21                       Do you recognize this email?
        22          A      Yes.
        23          Q      What is this email?
        24          A      This is an email from me to Stefan
        25    Matthews about a blog post that I wrote saying that
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                                                                         Page 116
          1   I believe Craig Wright is Satoshi Nakamoto.
 Auth.
          2         Q      Did you end up publishing this blog post?
          3         A      Yes, I did.
          4         Q      In this form?
          5         A      Very close to this form.        You can check
          6   my blog, it's actually still there.
          7         Q      Okay.   And that final form is obviously
          8   what you, yourself, posted?
          9         A      Yes.
         10         Q      In the draft, you write, on the second
         11   paragraph, last sentence, "After spending an
         12   afternoon with him" -- him meaning Craig, right?
         13         A      Yes.
         14                     MR. KASS:    Object to form.
         15         Q      -- "I am convinced beyond a reasonable
         16   doubt he is Satoshi."
         17                     What convinced you beyond a
         18   reasonable doubt at the time?
         19         A      It was the combination of speaking with
         20   him, communicating with him via email.            It -- he
         21   seemed to have the same prickly personality of the
         22   person I was communicating with in 2010, combined
         23   with a plausible backstory about why he would have
         24   stepped away, and then combined with -- I was
         25   convinced that he actually did sign and verify a
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                                                                               Page 117
               1    message using a key from one of the early Bitcoin
               2    blocks.    So those three things convinced me at the
               3    time.
               4          Q      And did the convincing -- the convincing
               5    reason for why he stepped away was that he was
               6    going through a divorce in 2011?
               7          A      Yes.
               8          Q      Any -- anything else?
               9          A      No.
              10          Q      Can you look at the third -- or maybe
              11    it's fourth paragraph down, and the second sentence
              12    starts with "and."       Can you read that for me?
              13          A      "And he cleared up a lot of mysteries,
              14    including why he disappeared when he did and what
              15    he's been busy with since 2011."
      F-H-R
              16          Q      So what are the mysteries he cleared up?
              17          A      I don't recall what exactly I was
              18    referring to then.       Yeah, I don't recall.
              19          Q      Is it fair to say that the -- the fact
              20    that Satoshi Nakamoto was a team of three
              21    individuals is one of those mysteries?
              22                       MR. KASS:   Object to form.
              23          A      I guess that's fair to say, sure.
F-R           24          Q      We covered why he disappeared, right, it
              25    was the divorce?
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                                                                         Page 118
         1          A      Yes.
         2          Q      And then what he's been busy with since
         3    2011?
         4          A      Yes.   I believe the academic study.          From
         5    previous emails, the -- the -- you know, busy
         6    getting further degrees I assumed is what he had
         7    been busy with.
         8          Q      So we've covered three things:          Why he
         9    disappeared, what he's been busy with, and the
        10    identity -- the tri-party identity of Satoshi
        11    Nakamoto.
        12                      He wrote, "A lot of mysteries."          Is
        13    there more you just don't recall?
        14          A      There's more --
        15                      MR. KASS:    Object to form.
        16          Q      I'm just -- was it just an inaccurate
        17    statement?     Why did you write, "A lot of
        18    mysteries"?     Because three strikes me as a few, not
        19    a lot.
        20                      MR. KASS:    Same objection.
        21          A      I don't recall details.        I mean, we
        22    discussed some design decisions in Bitcoin
        23    software.     And, again, I don't recall the details
        24    of exactly which of those -- like, you know, why
        25    did he choose C++?       Why did he use Windows?         Why --
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                                                                         Page 119
         1    why 21 million Bitcoin?           Why -- why the name
         2    Satoshi Nakamoto?
         3                          I believe we discussed some of those
         4    things either in London or later in emails, and so
         5    those were some of the types of mysteries that I
         6    felt like had been cleared up.
         7            Q      Why did he choose Satoshi Nakamoto?
         8                          MR. KASS:   Object to form.
         9            A      He actually -- oh, he gave me a -- he
        10    gave me a -- a book, which I actually haven't read
        11    yet, it's a Japanese -- story about a Japanese
        12    merchant, I believe.         Again, I haven't read the
        13    book.       But the merchant is named Satoshi.        And so
        14    that was his explanation for why he chose the name
        15    "Satoshi."
        16          Q        Got it.
        17                       So -- okay.     I want to jump back into
        18    the timeline now.         So we left it that you had just
        19    exited the proof session on April 7th, and you
        20    walked away from the meeting, beyond reasonable
        21    doubt, thinking Craig is Satoshi?
        22          A        Yes.
        23          Q        And that was April 7th?
        24          A        Yes.
        25          Q        Craig's press conference was May 2nd.
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                                                                         Page 120
         1                        MR. KASS:   Object to form.
         2            Q    So I want to cover the period between
         3    your meeting Craig -- your meeting Craig for the
         4    proof session, and then the ultimate failure of his
         5    public proof session.         Is that okay?
         6            A    Okay.
         7                        MR. KASS:   Object to form.
         8            Q    So on April 12th, I believe, you get an
         9    email from Andrew O'Hagan asking whether or not --
        10    did I run out -- there I am, thank you -- asking
        11    whether or not you could talk.
        12                      This is Plaintiffs' Exhibit 18, and
        13    it's Bates labeled Gavin 1762.
        14                      (Exhibit 18 marked for
        15                      identification.)
        16          Q      And in response -- so is that right, you
        17    get an email from Andrew O'Hagan asking if you can
        18    talk?
        19          A      Yes.
        20          Q      In response, you forward this to the --
        21    the money men and Craig, right?
        22                      MR. KASS:     Object to form.
        23          A      Yes.
        24          Q      And you say, I'm not planning on talking
        25    to anyone, but let me know if you would like me to
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         1    talk to him; is that fair?
         2           A     That's correct.
         3           Q     Did they end up asking you to talk to
         4    him?
         5           A     I don't recall.
         6           Q     And did they explain to you what Andrew
         7    O'Hagan was there to do?
         8           A     I don't think so.
         9           Q     Did you ever come --
        10           A     I don't recall them mentioning Andrew
        11    O'Hagan's name at all.
        12           Q     Did Andrew O'Hagan ever explain to you
        13    what he was there to do?
        14           A     I don't think so.      I think the -- the --
        15    the next time I -- I don't know.           I wouldn't be
        16    surprised if the next time I heard of Andrew
        17    O'Hagan was when the big article was published.
        18           Q     Okay.   Well, you had that email exchange
        19    with him?
        20                      MR. KASS:    Object to form.
        21           Q     We -- we looked at it earlier.          It was --
        22    do you mind passing me your exhibits so I can find
        23    it for you?
        24           A     Sure.
        25           Q     That's the downside of using electronic
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                                                                             Page 122
             1    exhibits.
             2                        Here we are, Plaintiffs' Exhibit 10.
             3                        (Document exhibited to witness.)
             4          A      April 29th.       I sit corrected.
             5          Q      So do you recall ever getting explained
             6    who Andrew O'Hagan was or what he was doing there?
             7          A      No.
             8          Q      Somebody must have authorized you to give
             9    this detailed account because you were otherwise
            10    under a embargo; isn't that right?
            11                       MR. KASS:    Object to form.
            12          A      I don't recall.
            13          Q      And, in fact, an -- an NDA of some kind?
            14          A      I don't recall.
            15                       (Exhibit 19 marked for
            16                       identification.)
            17          Q      Okay.    Hand you what's been marked as
            18    Plaintiffs' Exhibit 19, and what is Bates-labeled
H           19    Gavin 15.
            20                       Do you recognize this email?
            21                       (Witness perusing document.)
            22          A      Yes.
            23          Q      And this is you writing to Stefan
            24    Matthews, I believe; is that right?
            25                       MR. KASS:    Object to form.
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                                                                         Page 123
            1        A     Probably.    I -- I ma -- I don't know who
 BOL
            2   srmatt@hushmail.com is.
            3        Q     He was one of the money men?
            4                     MR. KASS:   Object to form.
            5        A     Yes.
            6        Q     Okay.    And in the third paragraph down,

H-R         7   you tell him, "Convincing Andreas Antonopoulos that
            8   Craig has possession of early-in-the-blockchain
            9   keys, convincing him that Craig deeply understands
           10   Bitcoin would, I think, be very helpful."
           11                   Do you see that?
           12        A     Yes.
           13        Q     Why did you believe it would be helpful
           14   to convince Andreas Antonopoulos?
           15        A     An -- Andreas Antonopoulos is well-known
           16   in the Bitcoin community and is considered to be
           17   very trustworthy.     He's also very knowledgeable
           18   about technical stuff.
           19        Q     Do you consider him to be trustworthy?
           20                   MR. KASS:     Object to form.
           21        A     Yes.
 R
           22        Q     Do you consider him to be very
           23   knowledgeable about Bitcoin?
           24                   MR. KASS:     Object to form.
       R   25        A     Yes.
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                                                                         Page 124

 R
          1         Q      Would you rank him in the top 10 people
          2   in the world in terms of Bitcoin knowledge?
          3                       MR. KASS:   Object to form.
          4         A      Top 10?
 R

          5         Q      Make it top 20.
          6                       MR. KASS:   Object to form.
          7         A      Top 20?    He wrote -- he wrote a whole
          8   book about Bitcoin, so he's definitely an expert.
 R
          9   If it came to actually working on the code, like
         10   doing the software engineering, then he's probably
         11   not in the top 20, but, I mean, he definitely
         12   understands the Bitcoin system very well.
         13         Q      Okay.    So there are better coders than
         14   him, you're saying?
         15         A      There are better coders than him, yes.
         16         Q      Would you consider him to be an expert in
     R
         17   Bitcoin technologies?
         18                     MR. KASS:     Object to form.
     R   19         A      Yes.
         20         Q      Did Craig convince Andreas Antonopoulos
         21   -- Andreas Antonopoulos that he had the keys to the
         22   early Bitcoin --
         23                     MR. KASS:     Object to form.
         24         Q      -- public addresses?
         25                     MR. KASS:     Object to form.
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                                                                         Page 125
         1          A      No.
         2          Q      Why not?
         3          A      I believe Andreas refused to meet with
         4    Craig.
         5          Q      Do you know why?
         6          A      I don't know why.
         7          Q      Okay.    And in this email you're
         8    referencing the blog post that we -- we took a look
         9    at earlier, right?
        10          A      Yes.
        11                       MR. KASS:   Object to form.
        12                       Vel, do you have an idea as to how
        13    much you have left?       Because we have a cross-
        14    noticed deposition, and you're probably about three
        15    hours.
        16                       MR. FREEDMAN:    I don't know, but we
        17    can take stock of that the next break.
        18                       MR. KASS:   All right.
        19                       MR. FREEDMAN:    I'm not sure how it
        20    helps, though.       I've got to finish, and then we can
        21    see how we proceed.
        22                       MR. KASS:   Well --
        23                       (Exhibit 20 marked for
        24                       identification.)
        25          Q      I'm handing you Plaintiffs' Exhibit 20,
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                                                                             Page 126
             1    and it's Bates marked 1521.
             2                        MR. FREEDMAN:   Let's discuss it
             3    later.
             4                        MR. KASS:   Okay.   I just want to make
             5    clear, though, that we don't consent to you just
             6    finishing and not leaving us sufficient time.              We
             7    can talk about it at the break, but I just wanted
             8    to make sure that I wasn't implicitly conceding to
             9    your statement.
            10                      MR. FREEDMAN:     Okay.    Your objection
            11    is noted.
            12                      MR. KASS:     All right.
            13    BY MR. FREEDMAN:
            14          Q      All right.     So I've just handed you
            15    Plaintiffs' Exhibit 20 that is Bates-marked
            16    Gavin 1521.
            17                      Do you see that email?
            18          A      Yes.
            19          Q      Okay.    Do you recognize it?

H
            20          A      Yes.
            21          Q      And is it an email from Stefan Matthews
            22    to you?
            23          A      Yes, it is.
            24          Q      Does it help you remember who
            25    srmatt@hushmail.com is?
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                                                                           Page 127
          1          A      No.
          2          Q      Well, do you see the "from" email?
H-R

          3          A      Oh, Stefan -- Stefan Matthews.          Yes.
          4    Okay.
          5          Q      So "srmatt" is Stefan Matthews?
          6                        MR. KASS:   Object to form.
H-R       7          A      I think so.
          8          Q      And one of the money men?
          9                        MR. KASS:   Object to form.
H-R      10          A      Yes.
         11          Q      And what is this email?
         12          A      This is Stefan giving me -- encouraging
         13    me to communicate with Andrew about the whole
         14    Satoshi affair.
         15          Q      So I guess it's fair to say this is the
         16    introductory explanation of who Andrew O'Hagan is
         17    vis-a-vis Craig Wright's coming out as Satoshi?
         18                       MR. KASS:    Object to form.
         19          A      Yes.
         20          Q      And then you went ahead and engaged
         21    Andrew O'Hagan as we saw in that email?
         22          A      Yes.
         23          Q      But do you recall if you spoke to him on
         24    the phone yet?
         25          A      I don't recall.
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                                                                         Page 128
         1                      (Exhibit 21 marked for
         2                      identification.)
         3          Q      I'm handing you -- thank you.
         4                      I'm handing you what we're marking as
         5    Plaintiffs' Exhibit 21, and it's Bates-labeled
         6    Gavin 1179.
         7                      Do you recognize this email?
         8          A      Yes.
         9          Q      What is this email?
        10          A      This is an email from Craig Wright to me,
        11    supposedly showing a screenshot that is some early
        12    Bitcoin debug logs from the Bitcoin software.
        13          Q      And he says they have his name in it?
        14                      THE STENOGRAPHER:       I'm sorry?
        15          Q      They say -- it says that -- sorry.           He
        16    says that these debug logs have his name in them;
        17    is that right?
        18          A      Yes, that's what he says.
        19          Q      Do you see Craig.Wright in the debug --
        20    debug log?
        21                      MR. KASS:    Object to form.       Vel, it's
        22    not legible besides.
        23          A      Yeah, kind of.      I think I do, actually,
        24    see it kind of at the beginning.
        25    C:\Users\craig.wright --
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                                                                         Page 129
         1                       MR. FREEDMAN:    I can zoom in on it
         2    for you.
         3          A      -- AppData.
         4                       MR. KASS:   Well, you don't -- well,
         5    if the witness has better eyes than me, he can
         6    testify.
         7          Q      See the --
         8          A      Yes.
         9          Q      All right.     There we go.     This is an
        10    electronically zoomed-in version.
        11                       What is -- what is this debug log?
        12          A      The Bitcoin software can be run with a
        13    command line switch to write debugging information
        14    to a file, just to help developers to figure out if
        15    it makes a mistake.
        16          Q      And does this show in any way that Craig
        17    is Satoshi?
        18          A      No.
        19          Q      I mean, I could have run this debug log,
        20    right?
        21                       MR. KASS:   Object to form.
        22          A      Yeah.    Well, certainly anybody could
        23    produce a screenshot that claims anything, so...
        24          Q      Well, that's certainly true, right?           It
        25    could be a doctored screenshot, right?
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                                                                         Page 130
         1          A      Could be a doctored screenshot.          I mean,
         2    it's possible -- I don't -- I can't read the dates
         3    on here.     Looks like block height.        There's block
         4    index, 12,000 -- I don't know.          I mean, anybody
         5    could have been running Bitcoin very early, so it
         6    doesn't really prove anything.
         7          Q      I mean, if -- if it is not doctored, is
         8    it correct to say that it shows Craig was running
         9    Bitcoin somewhere around the 12,000 block?
        10                      MR. KASS:    Object to form.
        11          Q      I think that's 12,914.        I can -- the
        12    block index says 12,914.         I can kind of zoom in on
        13    it on my...
        14          A      Yeah, and I think 12 -- I -- block index,
        15    12,914.    I think that refers to which block is --
        16    is the latest block that it knows about.             I'd have
        17    to go back and -- and check to double -- make sure
        18    it's not referring to some other index.
        19          Q      Okay.   So when you received this, what
        20    were your -- what were your mental impressions?
        21          A      My only impression was that, I mean, he's
        22    trying to add more evidence that he is Satoshi to
        23    try to reassure me.       But, I mean, frankly, again,
        24    screenshots can be doctored, so it didn't have much
        25    effect on me.
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                                                                         Page 131
         1            Q      So on -- on May 1st you -- you set your
         2    blog post for release on May 2nd when the press
         3    conference was gonna take place.           You recall that?
         4            A      Yes.
         5                       MR. KASS:    Object to form.
         6            A      The idea was that the -- yeah, my blog
         7    post and Craig's blog post would go out at the same
         8    time.
         9            Q      I think you were at a ConsenSys event at
        10    that time, right?
        11          A        I was.   I was at a ConsenSys New York
        12    City conference.
        13          Q        What happened?
        14          A        Bad things.   So the blog post that Craig
        15    released was not at all what I expected him to
        16    release.       I expected him to release a very simple,
        17    you know, I am Satoshi, here is some -- here is a
        18    simple message signed with an early key from an
        19    early block.
        20                       Instead, he released a very wacky
        21    supposed proof that actually wasn't a proof of
        22    anything but was incredibly technical and hard to
        23    follow, and I was as surprised as anybody to see
        24    that.       And it -- it took, I don't know, a few
        25    hours, a day, for somebody to -- to figure out what
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                                                                         Page 132
         1    all that technical gobbledygook actually meant and
         2    to show that it wasn't actually a proof of
         3    anything.
         4          Q      So he didn't even almost prove he was
         5    Satoshi?
         6                        MR. KASS:   Object to form.
         7          A      Correct.     Anybody could have produced
         8    that gobbledygook proof.
         9          Q      Why didn't he release a simple signed
        10    message?
        11                      MR. KASS:     Object to form.
        12          A      I don't know.
        13          Q      Did you ask him?
        14          A      I did not.     At least I don't think I did.
        15    You're probably about to pull out an email where I
        16    ask him.
        17          Q      Not yet.    Maybe soon.
        18                      (Exhibit 22 marked for
        19                      identification.)
        20          Q      I'm gonna hand you what's been marked as
        21    Plaintiffs' Exhibit 22, and it's Bates-labeled
        22    Gavin 5.
        23                      This is an email from the money man,
        24    Stefan Matthews; is that right?
        25          A      Yes.
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                                                                         Page 133
         1            Q      To you?
         2            A      Yes.
         3            Q      On May 2nd, 2016?
         4            A      Yes.
         5            Q      So this is after the press release went
         6    south?
         7            A      Yes.
         8            Q      The demonstration went south.
         9                          MR. KASS:   Object to form.
        10          Q        And -- and he opens by telling you that
        11    Craig is working on several corrections to his blog
        12    post.       Do you see that?
        13          A        Yes.
        14          Q        And he delivered some incorrect
        15    screenshots?
        16          A        Yes.
        17          Q        Would there have been correct screenshots
        18    that could have fixed this proof?
        19                       MR. KASS:      Object to form.
        20          A        Yeah, there could have been.       I don't --
        21    let me say I don't recall exactly what was a
        22    screenshot in his blog post and what was not.              So
        23    it's also possible that no -- just new screenshots
        24    would not have done anything because he described
        25    what he did in text.
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                                                                         Page 134
         1          Q      Right.    Did he ever produce the
         2    screenshots to you?
         3          A      No.
         4          Q      Publicly?
         5          A      Not that I know of.
         6          Q      And then in the fourth paragraph,
         7    Matthews asks you, "If we were to be" -- "If we
         8    were able to sign a transaction, say you sent BTC
         9    to an address associated with block 9, and this was
        10    then sent back to you, would that" -- "that be
        11    something you would entertain?"
        12                       Do you see that?
        13          A      Yes.
        14          Q      Was that something you'd entertain?
        15          A      Yes, I believe I actually did send a
        16    transaction to block 9.
        17          Q      Did he ever send it back?
        18          A      No.
        19          Q      He owes you money?
        20          A      Well, the money's still sitting there in
        21    block 9.     So I think it was half -- .11 Bitcoin,
        22    because my favorite number's 11, I think.
        23          Q      Okay.
        24          A      But, again, I -- I could go back and
        25    check the blockchain.
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                                                                          Page 135
          1          Q      It's not an insignificant amount of
          2    money.
          3          A      Yeah.
          4          Q      Have you asked for it back?
          5          A      I have not asked for it back.
          6                        (Exhibit 23 marked for
          7                        identification.)
          8          Q      So then --
          9                        MR. FREEDMAN:   Can I get another...
         10          Q      I'm handing you what we've marked as
         11    Plaintiffs' Exhibit 23, and it's been Bates-labeled
         12    Gavin 47.
H-R-F
         13                      Do you recognize this email?
         14          A      Yes.
         15          Q      And this is, again, from Stefan Matthews
         16    to -- one of the money men, to you?
         17                      MR. KASS:    Object to form.
         18          A      Yes.
         19          Q      On May 2nd, 2016?
         20          A      Yes.
         21          Q      And this is, again, after the fiasco of
         22    the public proof failed?
         23                      MR. KASS:    Object to form.
         24          A      Yes.
 H-R-F
         25          Q      And Matthews, the money man, says to you,
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                                                                             Page 136
             1    "Hi Gavin, I've just spoken to CSW" -- that's Craig
             2    Steven Wright?
H            3          A      I believe so, yes.
             4          Q      "He has agreed to sign a new message
             5    twice, once with block 9 and once with block 9" --
             6    sorry -- "once with block 1 and once with block 9
             7    keys.     It will include proof of date.         Both signed
             8    messages will be provided to each of you to give
             9    additional evidence should you need it."
            10                       And it's sent to you and Jon Matonis,
            11    right?
            12          A      Yes.
            13          Q      With Craig in CC?
            14          A      Yes.
            15          Q      Did Craig ever respond back and say, "I'm
            16    not gonna do this"?
            17          A      Not that I recall.
            18          Q      Did he say, "I can't do it"?
            19          A      Not that I recall.
            20          Q      Did he ever do it?
            21          A      No.
            22          Q      Why not?
            23                       MR. KASS:   Object to form.
    H       24          A      I don't know.
            25          Q      I mean, he has -- if -- if the proof
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                                                                         Page 137
         1    session you saw was real, he has the key to
         2    block 9 --
         3                        MR. KASS:   Object to form.
         4            Q    -- is that a fair statement?
         5            A    Yes.
         6                        MR. KASS:   Same objection.
         7            Q    Would it have involved significant effort
         8    for him to use that key he clearly has access to,
         9    to send you a message from at least block 9?
        10                       MR. KASS:    Object to form.
        11                       Vel, you're mixing up dates.
        12          A      No.    It would be easy.
        13          Q      It would be easy for him to have done
F-S-R
        14    that?
        15          A      Yes.
        16                       MR. KASS:    Object to form.
        17          Q      But he didn't?
F-S-R
        18          A      No.
        19          Q      Why do you think he didn't?
        20                       MR. KASS:    Object to form.
        21          A      I don't really know.       If you want me to

F-S-R   22    speculate --
        23          Q      Sure.
        24          A      Do you want me to speculate?
        25          Q      Speculate for this question only.
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                                                                             Page 138
             1                      MR. KASS:    And I'm gonna object to
             2    the speculation.
             3                      MR. FREEDMAN:     Noted.
             4          A      If the -- the Bitcoins were supposed to
             5    be locked in a trust, but Craig kept the private
             6    keys when he was not supposed to, then that would
S            7    be a good reason for him not to sign something with
             8    a key that he is not supposed to have access to.
             9    So that is the -- that is my speculation on why he
            10    might have been very resistant to signing any
            11    messages with those early keys.
            12          Q      To show he has access to private keys he
            13    really shouldn't have access to?
            14                      MR. KASS:    Object to form.
            15          A      Correct.    Perhaps there is some legal
      S
            16    reason he was not supposed to have kept the keys.
            17          Q      Is that pure speculation, or can you base
            18    it on anything you've heard or seen from Craig or
            19    the money men?
            20          A      I would say that's mostly speculation.            I
            21    mean, the discussion of this mysterious trust, or
            22    trusts, kind of fed into that theory.
            23                      (Exhibit 24 marked for
            24                      identification.)
            25          Q      So I am handing you what's been marked as
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                                                                         Page 139
         1    Plaintiffs' Exhibit 24, and it's Bates-labeled
         2    Gavin 161.
         3                        And Craig says -- this is an
         4    email from you -- do you recognize this email?
         5          A      Yes.
         6          Q      It's an email from Craig to you?
         7          A      Yes, and Jon Matonis.
         8          Q      And Stefan Matthews?
         9          A      And Stefan Matthews.
        10          Q      And he says, "Please hold that thought.
        11    I'm going to re-sign the message and post a new,
        12    never-used signature from 9."
        13                       So he has clearly committed to sign
        14    using the block key -- using the private key of
        15    block 9; is that right?
        16                       MR. KASS:   Object to form.
        17          A      Yes.
        18          Q      Did he?
        19          A      No.
        20          Q      Even though it would have been simple for
        21    him to do so?
        22                       MR. KASS:   Object to form.
        23          A      Yes.
        24          Q      Okay.
        25                       (Exhibit 25 marked for
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                                                                         Page 140
         1                        identification.)
         2          Q      So I'm now handing you what's been marked
         3    as Plaintiffs' Exhibit No. 25, and it is Gavin 371.
         4                        Do you recognize this email?
         5          A      Yes.
         6          Q      It is a -- it's an email, on the bottom,
         7    from you -- it's an email chain that reflects,
         8    first, an email from you to Craig on bottom and
         9    then a response from Craig to you; do you see that?
        10          A      Yes.
        11          Q      And you might have predicted this
        12    earlier, but do you see the opening sentence of
        13    your email?
        14          A      Yes.
        15                      MR. KASS:    Object to form.
        16          Q      What does it say?
        17          A      "Why the OpenSSL hoop-jumping exercise
        18    and not just a simple Electrum-signed message?"
        19          Q      Which, is it fair, in layman's speak to
        20    say, Why didn't you just do the easy signature
        21    instead of some complex gobbledygook that turned
        22    out to be nothing?
        23                      MR. KASS:    Object to form.
        24          A      Yes.
        25          Q      Okay.    What is his response to that?
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         1          A      He claimed that he -- that the wrong blog
         2    post was posted, and at the time that seemed
         3    unlikely to me.
         4          Q      I mean, like, your question's very
         5    understandable, right, why not just do the simple,
         6    unequivocal proof?
         7                        MR. KASS:   Object to form.
         8          A      Yes.
         9          Q      And did you find his response
        10    unsatisfactory?
        11                      MR. KASS:     Object to form.
        12          A      I did.    I mean, I -- I -- yes, I found it
        13    unsatisfactory.
        14                      (Exhibit 26 marked for
        15                      identification.)
        16          Q      So I'm gonna hand you what we're marking
        17    as Plaintiffs' Exhibit 26, and it is Bates Gavin 4.
        18                      And this is an email that reflects a
        19    chain between you and Stefan Matthews; is that
        20    right?
        21          A      Yes.
        22          Q      The money man?
        23                      MR. KASS:     Object to form.
        24          A      Yes.
        25          Q      And Stefan Matthews says, "CSW" -- it's
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               1    Craig Steven Wright -- "has committed to moving a
               2    coin associated with block 9 address.            The intent
               3    is for you to send a coin to that address, and then
               4    for CSW to return that coin to you."
               5                        Do you see that?
               6          A      Yes.
               7          Q      And you provided the address?
               8          A      Yes.
               9          Q      Did you send the coin?
              10          A      I did.
              11          Q      And you never got 'em back.         We covered
              12    that already, right?
              13          A      Correct.
              14                      MR. KASS:    Object to form.
              15                      (Exhibit 27 marked for
              16                      identification.)
              17          Q      I'm handing you what's been marked as
              18    Plaintiffs' Exhibit 27; it's Bates-labeled Gavin

H-R
              19    18.   And this is a -- does this -- do you recognize
              20    this email?
              21          A      Yes.
              22          Q      And does it reflect an email chain
              23    between you and Stefan Matthews and Craig Wright?
              24          A      Yes.
              25          Q      And you initially reach out to the two of
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                                                                             Page 143
             1    them saying that you have sent, at the time, $50
 H-S-R
             2    worth of Bitcoin to the block 9 address?
             3                        MR. KASS:   Object to form.
             4          A      Yes.
             5          Q      And Stefan Matthews, the money man,
             6    writes back that he sees the transaction, and then
             7    he says, "Will let you know when we do the
  H-S-R      8    transfer.     It could be several days before we get
             9    the necessary authorization fully documented,"
            10    et cetera.
            11                       Do you see that?
            12          A      Yes.
            13          Q      Is this what you were basing your
            14    speculation on earlier?
            15                       MR. KASS:    Object to form.
H-S-R       16          A      Yes.
            17          Q      What did you understand them to mean when
            18    they said "necessary authorization"?
            19                       I mean, let me take a step back.
            20    Strike that question for a second.
            21                       If I have a private key to a Bitcoin
            22    block -- public address, do I need anyone's
            23    authorization to use that private key?
            24                       MR. KASS:    Object to form.
            25          A      No.
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                                                                         Page 144
         1          Q      Okay.   So what did you take this to mean,
         2    that he needed necessary authorization?
         3          A      I'm trying to -- I don't remember what I
         4    knew or thought I knew at that time.            So I think
         5    the best answer would be I don't recall if -- it
         6    might have been -- I might have imagined that there
         7    was some trustee that would have to sign off on any
         8    use of those private keys.         But, again, I don't
         9    recall at what point I learned about the trust.
        10                      MR. KASS:    So, Vel, we have to
        11    resolve the timing issue.         I'm happy to go off the
        12    record if you want to.
        13                      MR. FREEDMAN:     Let's take a break.
        14                      THE VIDEOGRAPHER:       The time is
        15    12:34 p.m.     We're now off the record.
        16                      (Off record.)
        17                      THE VIDEOGRAPHER:       The time is
        18    12:44 p.m.     We're coming back on the record,
        19    continuing Media No. 2.
        20                      (Exhibit 28 marked for
        21                      identification.)
        22    BY MR. FREEDMAN:
        23          Q      I'm now handing you what's been marked as
        24    Plaintiffs' Exhibit 28, which is Bates-marked
        25    Gavin 1708, but I've printed out the wrong version,
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                                                                              Page 145
          1    it doesn't have the Bates marking.
          2                        Do you recognize this email?
          3          A      Yes.
          4          Q      Is this an email from Craig to you?
H-R       5          A      Yes.
          6          Q      And you start off by saying to him, "I'm
          7    starting to doubt myself and imagining clever ways
          8    you could have tricked me."
          9                        Well, let me take that back.          He
         10    wrote you an email on May 2nd saying, We F'd up and
         11    I loaded the wrong post.         I'll be loading the
         12    correct one shortly.
         13                      And then you respond the next day, on
         14    May 3rd, saying, "Today, pretty please.             I'm
         15    starting to doubt myself and imagining clever ways
         16    you could have tricked me."
         17                      Is that accurate?
         18          A      Yes.
         19          Q      And what does Craig say in response?
         20          A      Do you want me to read that?
         21          Q      Sure.
         22          A      He says, "There will be a post soon.              It
         23    is in review to ensure it is all okay.            We are
         24    going to move coin as well, but we need to get the
         25    trust permissions in place.         Lawyers..."
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                                                                            Page 146
            1          Q      So was it really speculation?
            2          A      About permissions from trusts?          No,
            3    apparently not.      Apparently Craig told me that that
            4    was the reason permission was needed.
F-H-S
            5          Q      So it's your understanding that Craig is
            6    refusing to publicly prove that he holds the
            7    private keys to block 9 because it would show he
            8    inappropriately kept private keys from the trust?
            9          A      Or used them in a way that was outside of
           10    some legal agreement in the trust, yes.
           11          Q      So that he has them, as he signed with
           12    them, but isn't allowed to move coin with them?
           13                      MR. KASS:    Object to form.
 H-F-S     14          A      Yes.
           15          Q      Okay.
           16                      (Pause.)
           17                      MR. FREEDMAN:     I seem to be missing a
           18    document.     No, it's just out of order.
           19                      (Pause.)
           20          Q      So as things currently stand, Craig has
           21    provided a public proof that failed; the money men
           22    are attempting to arrange for Craig to send you
           23    Bitcoin from block 9, and they are saying they need
           24    authorization from a trust to do this, even though
           25    he has the private key.        Is that all correct?
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                                                                         Page 147
         1                        MR. KASS:   Object to form.
         2          A      I believe Craig said he needs trust
         3    permission.
         4          Q      That's right.
         5          A      I'm not sure the money men --
         6          Q      Craig said he needs --
         7          A      -- ever said --
         8          Q      Right.    So modify my -- my question to
         9    say Craig said he needed authorization from the
        10    trust; is that correct?
        11                      MR. KASS:     Same -- same objection.
        12          A      Yes.
        13                      (Exhibit 29 marked for
        14                      identification.)
        15          Q      Okay.    And I'm handing you what's been
        16    marked as Plaintiffs' Exhibit 29, which is
        17    Bates-labeled Gavin 1206.
        18                      Do you recognize these emails?
        19          A      Yes.
        20          Q      So if -- if you go to the back of the
        21    email, so the beginning of the email chain, and the
        22    one sent on May 4th, 2016, and it's Robert
        23    MacGregor.     He's one of the money men, correct?
        24          A      Okay.
        25                      MR. KASS:     Object to form.
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                                                                         Page 148
         1          Q      Do you not recall who --
         2          A      I don't recall what Rob -- Robert and
         3    Stefan's exact roles were.         I don't -- and I don't
         4    recall who had known Craig for years and who was
         5    owner of the -- the VC, but if you want to call all
         6    of them --
         7          Q      Part of --
         8          A      -- money men, sure.
         9          Q      Yeah.   Sure.    Okay.    He -- he writes and
        10    says that Rory from the BBC has asked if he could
        11    have a one-liner from interviews, that he is
        12    comfortable that you are participating, and this
        13    isn't yet -- isn't a yet more fantastical hoax.
        14                      So the BBC wanted to know that this
        15    coin was really gonna get sent, right?
        16                      MR. KASS:    Object to form.
        17          A      Yes.
        18          Q      And Jon Matonis says, "I will call Rory"?
        19          A      Yes, I see that.
        20          Q      And then Stefan says, "Gavin, can you
        21    please call Rory"?
        22          A      Yes.
        23          Q      And then Jon -- and then Robert MacGregor
        24    says, "Gavin replied via email, Stefan."
        25                      So do you remember reaching out to
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                                                                         Page 149
         1    Rory at the BBC?
         2          A      I don't recall.
         3          Q      Do you have any reason to doubt that you
         4    didn't?
         5          A      No.
         6          Q      Jon Matonis said, "I just got off the
         7    phone with Rory at the BBC," right?
         8          A      Yes.
         9          Q      And then Robert MacGregor sends a message
        10    on May 4th, 2016, you're all waiting for Craig to
        11    send this transaction, and can you read what he
        12    says to you?
        13          A      "All Stop.     Craig has just tried to
        14    injure himself and is bleeding badly in the
        15    washroom.     Stefan is there with him and Ramona and
        16    I am en route.       Ambulance is on its way."
        17          Q      So Craig tried to hurt himself?
        18                       MR. KASS:   Object to form.
        19          A      That was my understanding, yes.
        20          Q      Did you get any more details then beyond
        21    this email?
        22          A      I believe there was a phone call, I don't
        23    recall with who, who said that -- were they at
        24    Craig's house?       I don't recall the location, but
        25    they were somewhere.        Craig disappeared upstairs
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                                                                           Page 150
         1    and then was found bleeding with cuts to his neck,
         2    and then was taken to the hospital in -- in an
         3    ambulance with an apparent suicide attempt.              I
         4    think the word "suicide" was -- was used.
         5          Q      And this was by someone who was at the
         6    locale?
         7                        MR. KASS:   Object to form.
         8          A      If I recall correctly, yes.
         9          Q      And they were describing what was going
        10    on at the time?
        11          A      I believe this happened -- several days
        12    or maybe a week or more later, the phone call
        13    happened recounting events.
        14          Q      That had -- that had happened --
        15          A      That had happened in the past, on
        16    May 4th.
        17          Q      But you don't recall who that was?
        18          A      No, I don't recall.
        19          Q      Did you ever talk to Craig about this?
        20          A      No.
        21                       Things get dark.
        22          Q      This stopped the public proof -- this
        23    stopped the transfer of Bitcoin?
        24          A      Yes.
        25                       MR. KASS:    Object to form.
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                                                                           Page 151
           1                        (Exhibit 30 marked for
           2                        identification.)
           3            Q    I'm handing you what's been marked as
           4    Plaintiffs' Exhibit 30, and it's been Bates-labeled
           5    Gavin 769.
H-F-R
           6                        Do you recognize this email chain?
           7            A    Yes.
           8            Q    This is an email between you and Robert
           9    MacGregor?
          10          A      Yes.
          11          Q      One of the money men group?
          12                      MR. KASS:    Object to form.
          13          A      Yes.
          14          Q      Okay.    And in it you say to Robert
          15    MacGregor that you see two possibilities about
          16    what's going on, either Craig is Satoshi and is
 H-F-R
          17    under incredible pressure not to provide proof --
          18    or, rather, the pressure of providing proof is too
          19    much?
          20          A      Yes.
          21          Q      Or he's lying to everyone for many years,
          22    perhaps from evidence -- perhaps with evidence that
          23    he obtained from the real deal?
          24          A      Yes.
          25          Q      So maybe Dave Kleiman was Satoshi, he got
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                                                                         Page 152

 H
          1   the keys, and he used one of the keys but doesn't
          2   have more?
          3                       MR. KASS:   Object to form.
          4         A      Sure.    Possibly.
     H    5         Q      Possibly.    And in response, one of --
          6   Robert MacGregor, who has been working with Craig
          7   for at least a few months now on this coming out as
          8   Satoshi -- is that accurate?
          9         A      Yes.
         10         Q      -- says, "I agree completely"?
         11         A      Yes.
         12         Q      Okay.    Do you remember receiving an email
         13   from Stefan Matthews telling you that there was no
         14   indication Craig would default until a minute
         15   before, and that they are checking their public
         16   position and so should you?
         17                      MR. KASS:    Object to form.
         18         A      No, I don't recall.
         19         Q      Did you ever have any conversations with
         20   any of the money men or Craig about why this
         21   default happened?
         22                      MR. KASS:    Object to form.
         23         A      No.
         24                      (Exhibit 31 marked for
         25                      identification.)
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                                                                           Page 153
           1          Q      I'm handing you what's been marked as
           2    Plaintiffs' Exhibit 31.        It's Gavin 41.
           3                       Do you recognize this email?

R-H        4          A      Yes.
           5          Q      It's an apology email from Craig Wright
           6    to you?
           7          A      Yes.
           8          Q      Sent May 7, 2016?
           9          A      Yes.
          10          Q      And in the third paragraph down, it
          11    says -- Craig tells you, "At no point did I lie to
          12    you nor deceive you, but it is better that I am a
          13    hoaxer"?
          14          A      Yes, I see that he said that.
          15          Q      Do you believe that?
          16          A      No.
          17          Q      What do you really believe?
          18          A      He certainly deceived me about what kind
          19    of blog post he was going to publish, and that
          20    gobbledygook proof that he published was certainly
          21    deception, if not an outright lie.           So at the very
          22    least, that, I consider, you know, that -- he
          23    bamboozled me there.
          24          Q      And had you known -- strike that.
          25                       As I understand your testimony, you
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                                                                         Page 154
         1    went into the proof session as kind of one element
         2    of due diligence, but expecting there to be a real
         3    public proof posted afterwards; is that fair?
         4                        MR. KASS:   Object to form.
         5           A     Yes.
         6           Q     And so you were maybe less than careful
         7    -- strike that.
         8                        In reliance on what you knew would be
         9    coming out, or what you assumed would be coming out
        10    based on his word, you weren't as diligent as you
        11    might have been otherwise in checking that the
        12    proof was truly proof --
        13                      MR. KASS:     Object to form.
        14           Q     -- is that fair?
        15                      MR. KASS:     Object to form.
        16           A     Yes.
        17           Q     And if you were to do it again today, you
        18    might require much more stringent circumstances for
        19    that proof?
        20                      MR. KASS:     Object to form.
        21           A     Yes.

 R-S    22           Q     So he almost socially engineered you in a
        23    way?
        24                      MR. KASS:     Object to form.
 R-S    25           Q     Social hacking?
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                                                                         Page 155
         1                        MR. KASS:    Object to form.
         2            A    I don't think I would use that term.
         3            Q    How would you describe it?
         4            A    Maybe -- maybe that's accurate.          I mean,
R-S
         5    he certainly misled me.          He -- he -- he wanted
         6    something from me, and he wasn't clear about what
         7    he actually wanted from me.          He -- he led me to
         8    believe he wanted one thing when I -- I suspect he
         9    wanted something else.          I'm not sure what that
        10    other thing...
        11          Q      Well, I mean, you carried a lot of
        12    credibility, you still do, within the Bitcoin
        13    community; is that fair?
        14                      MR. KASS:     Object to form.
        15          A      That's -- yes, that's fair.
        16          Q      And your endorsement of him as Satoshi
        17    would -- would carry a significant amount of
        18    weight?
        19          A      Yes.    I definitely --
        20                      MR. KASS:     Object to the form, but,
        21    yeah.
        22                      THE WITNESS:     Sorry.
        23                      MR. KASS:     That's okay.
        24          A      I definitely knew he wanted that from me.
        25    But I guess, you know, now, looking back on it, I
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                                                                         Page 156
         1    wonder, you know, was he also trying to impress the
         2    money men, was that part of what he was trying to
         3    get out of it?       And I don't know.
         4          Q      That he could bring -- bring down --
         5    bring over Gavin Andresen onto his side?
         6                        MR. KASS:   Object to form.
         7          A      Right.    That that would, you know, maybe
         8    help him with his relationship with -- with the
         9    money men.
        10          Q      At the time, and you tell me if this is a
        11    fair characterization, you were probably -- if not
        12    the -- one of the most prominent members of the
        13    Bitcoin community?
        14                      MR. KASS:     Object to form.
        15          A      Yes.
        16          Q      You were lead core developer?
        17          A      Was I still at that time?         I think I had
        18    stepped away from that role, and I was just chief
        19    scientist at the Bitcoin Foundation.
        20          Q      I think you stepped down after, but I
        21    could be misremembering the time frame.
        22                      MR. KASS:     Object to form.
        23          Q      You were certainly chief scientist of the
        24    Bitcoin Foundation?
        25          A      Yes.
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                                                                         Page 157
         1          Q      And you had been -- you were, and are,
         2    the person Craig -- Satoshi Nakamoto had handed
         3    over control of Bitcoin to?
         4          A      Yes.
         5          Q      You were the best replacement to Satoshi
         6    the world had at the moment?
         7                        MR. KASS:   Object to form.
         8          Q      You don't have to agree with that
         9    statement.     I mean, strike that.
        10          A      I sure was the best.
        11          Q      So you certainly brought objective value
        12    -- your endorsement certainly brought objective
        13    value; is that fair?
        14          A      Yes.
        15          Q      And do you think that's what he wanted
        16    from you?
        17                      MR. KASS:     Object to form.
        18          A      Yes.
        19          Q      And what did he lead you to believe that
        20    he really wanted from you?
        21                      MR. KASS:     Object to form.
        22          Q      You said that he -- he led you to believe
        23    he wanted one thing from you, and really you
        24    thought he really wanted something else.
        25          A      I suspect -- yeah, I mean, I guess, you
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                                                                          Page 158
         1    know, I -- I thought that my piece would be part of
         2    a larger whole of him proving beyond a reasonable
         3    doubt to the world that he was Satoshi Nakamoto.
         4    And I thought that that's what he wanted from me.
         5                      And then he did not complete the rest
         6    of the puzzle, and so that makes me wonder, is that
         7    really what he wanted from me, or did he have some
         8    other ulterior motive for flying me to London and
         9    -- and doing this -- the proof session?             And I
        10    don't know what that other motive would be.
        11          Q      Did you ever -- did you ever talk to
        12    Ira Kleiman?
        13          A      I believe I've received email from
        14    Ira Kleiman, but I don't believe I've ever spoken
        15    to him.
        16          Q      Did you ever -- beyond the emails that
        17    we've reviewed from Uyen Nguyen to you with
        18    Ian Grigg on them, have you heard from Uyen Nguyen
        19    since?
        20          A      I don't believe so.       There might have
        21    been another -- she might have reached --
        22    she/he/them?      Them.   I'll use them.       They might
        23    have reached out to me again.          I seem to recall two
        24    sets of emails separated in time, but I have no
        25    idea when.
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                                                                         Page 159
         1          Q      Have you spoken with Craig Wright or
         2    emailed with Craig Wright in the past year?
         3          A      I'd have to go back and check my email.
         4    I'm not sure when my last -- when he last contacted
         5    me via email was.
         6          Q      Have you --
         7          A      It might have been more than a year.
         8          Q      Have you responded to him within the past
         9    year?
        10          A      I don't believe I've responded to him in
        11    the past year, no.
        12          Q      Have you spoken with any of his
        13    attorneys?
        14          A      No.
        15                       THE WITNESS:    Oh, wait.     Are you...
        16                       MR. KASS:   Well, yes.
        17          A      Okay.
        18          Q      Before today.
        19          A      Before today.
        20                       MR. KASS:   I don't think you got a
        21    good answer to your question.
        22          Q      Have you spoken with any of Craig
        23    Wright's attorneys before today?
        24          A      No.
        25          Q      Thank you.
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                                                                            Page 160
            1                        (Exhibit 32 marked for
            2                        identification.)
            3          Q      I am handing you what's been marked as
            4    Plaintiffs' Exhibit 32, and it's Bates-labeled
            5    1512.
            6                        Do you recognize this email?
            7          A      Yes.
            8          Q      And is it a email from Craig to you?
            9          A      Yes.
           10                      (Exhibit 33 marked for
           11                      identification.)
           12          Q      I am handing you an e -- a document
           13    labeled Plaintiffs' Exhibit 33.           It is
           14    Bates-labeled Gavin 344.
 R-H-F     15                      Do you recognize this email?
           16          A      Yes.
           17          Q      And is it a email from Craig to you?
           18          A      Yes.    I think so.    It's a different email
           19    address, craig@rcjbr.org, but I believe it's from
           20    Craig to me.
           21                      MR. KASS:    And, also, object to form.
           22    There's two emails in here.
           23          Q      Okay.    Is this an email chain between you
H-R-F
           24    and Craig where Craig is forwarding you an email?
           25          A      Yes.
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                                                                             Page 161
             1          Q      And it appears Craig has forwarded you an
             2    email that he received from the Australian Tax
             3    Office; is that accurate?
H-R-F        4          A      Yes.
             5          Q      And in it he says to you, "They left the
             6    audit open"?
             7          A      Yes.
             8          Q      And he says, "High-wealth individuals are
             9    taxed differently.       As I have over 100 million,
            10    they can assess Bitcoin as a ForEx bank holding."
            11                      Do you see that?
            12          A      Yes.
            13          Q      So Craig did, at some point, tell you
            14    about his net worth --
            15                      MR. KASS:    Object to form.
            16          Q      -- is that an accurate statement?
            17          A      Sure.   I mean, this email claims to have
            18    over a hundred million somethings.
            19          Q      He says he has over a hundred million.
            20    Well, it can't be Bitcoin.
            21                      MR. KASS:    Object to form.
            22          A      Correct, it could not be Bitcoin.           There
            23    are only -- there are fewer than 21 million
            24    Bitcoin.
            25          Q      Okay.
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                                                                         Page 162
         1                          (Exhibit 34 marked for
         2                          identification.)
         3            Q      Did you ever ask him how he got a
         4    hundred -- over a hundred million dollars in net
         5    worth?
         6                          MR. KASS:   Object to form.
         7            A      No.
         8            Q      I'm handing you what's been marked as
         9    Plaintiffs' Exhibit 34, it's Gavin 732.
        10                         Do you recognize this email?
        11          A        Yes.
        12          Q        Also from Craig Wright to you?
        13          A        Yes.
        14          Q        And this has below it -- it's a chain,
        15    actually, between you and Craig, right?
        16                         MR. KASS:    Object to form.
        17          A        Yes.
        18          Q        And he says in the original email to you,
        19    "I am sorry for last year, but I cannot sign."
        20                         You see that?
        21          A        Yes.
        22          Q        And then you insert in line in response,
        23    Okay.       Don't worry about me.      I'm enjoying
        24    semi-retirement.         All the people I care about still
        25    love and respect me and don't care that you
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                 1    bamboozled me, and you did, just not in the way
                 2    most people think.
                 3                        MR. KASS:   Object to form.
                 4          Q      What did you mean by that?
                 5          A      I meant that he bamboozled me about the
                 6    gobbledygook proof, but I still think it's most
R-S-F
                 7    likely that he did not bamboozle me during the
                 8    signing ceremony.
                 9          Q      And he really does have possession of the
                10    private key to block 9?
                11          A      I still think it's more likely than not
                12    that he does.
                13                      MR. KASS:     Object to form.
                14          Q      And then he says, "I have sufficient
                15    funds that they can force me to sell."
                16                      Do you see that?
                17          A      Yes.
                18          Q      And you say, "I am not" -- "I am not sure
                19    I want to know, but who is "they"?           You can be
                20    vague: former business partner?           Australian
                21    government?     Somebody else?      And sell to pay what?"
                22                      Right?
                23          A      Yes.
                24          Q      And he tells you, "They is part a few
                25    people, not all, in the tax office"?
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                                                                         Page 164
         1                        MR. KASS:   Object to the form.
         2          Q      You see that?      If you jump back up to the
         3    top of the email.
         4          A      "They is part a few people, not all."
         5    Yes, I see that.
         6          Q      And did you take this to mean that there
         7    were people not in the tax office that was trying
         8    to force him to sell?
         9                        MR. KASS:   Object to the form.
        10          A      Yes.
        11                      MR. KASS:     Vel, with regards to the
        12    time, I have a proposal.
        13                      MR. FREEDMAN:     Let's deal with it at
        14    lunch.
        15                      MR. KASS:     No, no, but I just want to
        16    see if we get this on the record.
        17                      Why don't we ask the witness how long
        18    he can stay today, and then we just divide it?
        19                      MR. FREEDMAN:     No.
        20                      MR. KASS:     What do you mean "No"?
        21                      MR. FREEDMAN:     I mean no.      I'm gonna
        22    finish.    I'm almost finished, but I'm gonna finish,
        23    and then you can have the rest of the time and --
        24                      MR. KASS:     Right.    So then I'll have
        25    seven hours after that.         But I want to make sure
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         1    the witness is able to stay, because, if not, I may
         2    have to get relief.       So --
         3                      MR. FREEDMAN:     You can ask for
         4    relief.
         5                      MR. KASS:    Well, I'm gonna ask the
         6    witness right now how long he can stay today.
         7                      Mr. Andresen, how long are you able
         8    to stay today?
         9                      THE WITNESS:     Let me check my
        10    calendar.
        11                      MR. KASS:    Okay.
        12                      (Pause.)
        13                      THE WITNESS:     I can stay till 6:00.
        14                      MR. KASS:    Until 6:00.      Okay.
        15                      And then just one other question.
        16                      MR. FREEDMAN:     Zalman?
        17                      MR. KASS:    What?    One other quick
        18    question.     I just want to -- I just want to
        19    under --
        20                      MR. FREEDMAN:     One last question.
        21                      MR. KASS:    That's all I'm asking.
        22                      MR. FREEDMAN:     All right.
        23                      MR. KASS:    Okay.    Would you be -- if
        24    necessary, would you be able to come back tomorrow
        25    to continue the deposition?
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           1                        THE WITNESS:    I have -- I'm giving a
           2    lecture in the afternoon, but I believe I'm free
           3    tomorrow morning.
           4                        MR. KASS:   Okay.
           5                        THE WITNESS:    Let me double check.
           6                        MR. KASS:   Yeah, could you just check
           7    what your schedule is like tomorrow morning?
           8                        MR. FREEDMAN:    Check by lunch.
           9                        THE WITNESS:    I'm supposed to have a
          10    workout from 9:00 to 10:00 a.m., and then my
          11    lecture is at 2:30 in the afternoon.
          12                      MR. KASS:     Okay.   So 2:30.     And you
          13    would be willing to come back?
          14                      THE WITNESS:      Yes.
          15                      MR. KASS:     Okay.   Back to you, Vel.
          16    I just wanted to make sure the witness was...
          17                      (Exhibit 35 marked for
          18                      identification.)
          19    BY MR. FREEDMAN:
          20          Q      Okay.    I am handing you what's been

H-S-F
          21    marked as Plaintiffs' Exhibit 35 and Bates-labeled
          22    Gavin 1274.
          23                      Do you recognize that email?
          24          A      Yes.
          25          Q      That's an email from Craig to you?
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                                                                         Page 167
         1          A      Yes.
         2          Q      And in it Craig says he has -- "I have
         3    sufficient funds that they can force me to sell.
         4    Signing proves control."
         5                        See that?
         6          A      Yes.
         7          Q      Did you ever find out how much sufficient
F-S-H
         8    funds would be?
         9          A      No.
        10          Q      But then he says, "Right now it would
        11    mean dumping 400 million in coin to pay.             I will
        12    not do that."
        13                       Do you see that?
        14          A      Yes.
        15          Q      Did you take this to mean that Craig was
        16    telling you he had over $400 million in Bitcoin?
        17                       MR. KASS:    Object to form.
        18          A      Yes.
F-S-H   19          Q      Does that strike you as odd?
        20          A      No.    If he's Satoshi, that would not be
        21    an unreasonable amount.
        22          Q      Okay.    Then he says, "I will not do
        23    that."
        24          A      Yep.
        25          Q      Did you ask him why he didn't say "I
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                                                                         Page 168
         1    cannot do that" if he was having a problem with the
         2    trust allowing him to move coins?
         3          A      I don't recall pressing him on that.
         4          Q      Do you know what he meant by "signing
         5    proves control"?
         6          A      Sure.   If you create a message signed
         7    with a private key, it -- it -- it proves that you
         8    have control of that key, that you own that key,
         9    that you have access to that key.
        10          Q      Unless there's a mysterious trust that
        11    prevents you from using it.
        12                      MR. KASS:    Object to the form.
        13                      (Exhibit 36 marked for
        14                      identification.)
        15          Q      I'm handing you what's marked as
        16    Plaintiffs' Exhibit 36, Bates-labeled Gavin 1439.
        17                      Do you recognize this email?
        18          A      Yes.
        19          Q      And it reflects an exchange between you
        20    and Craig.     I believe this is, again, another --
        21    another instance where you've inserted your
        22    comments into his below, right?
        23          A      Yes.
        24          Q      And he's saying, "I would need to pay tax
        25    in fiat on the gains at a rate of 51 percent."
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                                                                         Page 169
         1                      You say that's nasty.        It's a lot --
         2    lot of tax.     But then you say, My advice would be
         3    to pay it and move on.        What is the use of being
         4    wealthy if you have to spend your time talking to
         5    lawyers or worrying about what your family will do
         6    if you die and leave them with a gazillion BTC and
         7    a big financial mess to clean up?
         8                      What -- what was his response to the
         9    suggestion that he just pay the tax and move on?
        10          A      I don't recall.      I'm not sure I received
        11    any response.
        12                      THE VIDEOGRAPHER:       We're at the
        13    half-hour point.       I don't know if it matters
        14    anymore, but --
        15                      MR. KASS:    So, Vel, I just want -- do
        16    I have an agreement with you to stay until 6:00
        17    today or tomorrow morning, if necessary, to
        18    complete my deposition?
        19                      MR. FREEDMAN:     We'll talk about it on
        20    the break.
        21                      (Exhibit 37 marked for
        22                      identification.)
        23    BY MR. FREEDMAN:
        24          Q      I'm handing you what's marked as
 H
        25    Exhibit 37, which is Gavin 869.
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                                                                             Page 170
             1                        MR. KASS:   I suggest we should take a
             2    break after this 'cause it's the half point.              So
             3    ask your questions, but then I'm gonna go off.
             4    BY MR. FREEDMAN:
             5           Q     Do you recognize this email?
             6           A     Yes.
  H-R-F      7           Q     This is an email from Craig Wright to
             8    you?
             9           A     Yes.
            10           Q     And here he's sig -- he's sig -- he's
            11    telling you that he is an individual with over a
            12    hundred million dollars in net worth -- wealth?
            13                      MR. KASS:     Object to form.
            14           A     Over a hundred million net wealth.           I'm
            15    not sure -- yes.
            16           Q     He says --
            17           A     Yes.

H-R-F
            18           Q     -- "That was the point of the trust, but
            19    it means that I cannot have control"?
            20           A     Yes.
            21           Q     And then if you look at the second to
            22    last and last lines of the typed email, do you see
            23    where he says, "A forced sale of 400 million in BTC
            24    would be a mess, especially mine"?
            25           A     Yes.
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                                                                         Page 171

H-R-F
          1         Q      Do you take this to say Craig is telling
          2   you that he has at least 400 million BTC to sell?
          3                       MR. KASS:   Object to form.
 H-R-F    4         A      Yes.
          5         Q      And at a rate of 51 percent, that means
          6   he has over 800 million?
          7                       MR. KASS:   Object to form.
          8         A      I'm not sure where you're getting
          9   51 percent.
         10         Q      On the previous email, we saw the -- the
         11   tax amount would be 51 percent, right?
         12         A      Yeah, but he would need to pay 51 percent
         13   of the $400 million sale is what I would understand
         14   the tax.
         15         Q      So the total amount being 400 million?
         16         A      I think, yeah.
         17         Q      And he says, "400 million is too much"?
 H-R-F   18         A      Yes.
         19         Q      "I am Antiguan now...        So in a few years
         20   I will pay a lot less"?
         21         A      Yes.
         22         Q      Did you ever follow up on this, where the
         23   money was, where the Bitcoin was?
         24         A      No.
         25         Q      Did he ever tell you more about this?
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                                                                             Page 172
             1            A    No.
             2                        MR. KASS:   Okay, Vel, let's go off
             3    the record.
             4                        (Exhibit 38 marked for
             5                        identification.)
             6            Q    I'm handing you what's been marked --
             7                        MR. KASS:   Vel --
             8            Q    -- as Plaintiffs' --
             9                        MR. FREEDMAN:   We're not going off
            10    the record, Zalman.
            11                       MR. KASS:    You're running out of
            12    tape.
            13                       THE VIDEOGRAPHER:      I need to switch
            14    disks in about 4 minutes.
            15                       MR. FREEDMAN:    Perfect.
            16    BY MR. FREEDMAN:
            17          Q      I'm handing you what's been marked as
            18    Plaintiffs' Exhibit 38, which is Bates-labeled
            19    Gavin 1974.
F-R-H       20                       Do you recognize this email?
            21          A      Yes.
            22          Q      And is this an email from Craig to you?
            23          A      Yes.
            24          Q      And do you see at the bottom he says, "I
            25    am a fraud, but I am a fraud that is free to work
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                                                                           Page 173
           1    on what I need to do"?
H-R-F
           2          A      Yes.
           3          Q      How -- what did you take that to mean?
           4          A      I don't think I know.
           5          Q      Did you ever follow up on it with him?
           6          A      Not that I recall, no.
           7                      MR. FREEDMAN:     Why don't we stop now.
           8                      THE VIDEOGRAPHER:       Okay.   The time
           9    now is 1:19 p.m.       We've come to the end of Media
          10    Unit No. 2.     We're now off the record.
          11                      (Off record.)
          12                      (Lunch recess taken from 1:19 p.m. to
          13                      2:23 p.m.)
          14                      THE VIDEOGRAPHER:       The time now is
          15    2:23 p.m.     We're coming back on the record.           Now
          16    beginning Media Unit No. 3 at deposition with Gavin
          17    Andresen.     We're on the record.
          18                      MR. KASS:    Vel, I just wanted to
          19    really quickly get on the record where we are with
          20    the cross-noticing and the continuation of
          21    Mr. Andresen's deposition.
          22                      We've agreed that we can go until
          23    6:00 p.m. tonight.       It's my position that we should
          24    continue tomorrow as the witness is available.
          25                      My understanding is I don't have a
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                                                                         Page 174
         1    firm commitment from you, but that you're open to
         2    the idea, maybe if you want to just put your --
         3    your position on the record.
         4                      MR. FREEDMAN:     Position is you don't
         5    have a valid subpoena, since you didn't notice the
         6    deposition in time under the local rules; but that
         7    we're trying to accommodate you, nonetheless, and
         8    Mr. Andresen, so he doesn't have to come back.              And
         9    I will let you know who and if we can cover the
        10    deposition tomorrow morning once I can finish this
        11    and get into my calendar and make some calls.
        12                      MR. KASS:    Okay.    My position is
        13    that -- I'll make this really quick -- that it
        14    wasn't invalid; you were here anyways; that you
        15    didn't need any additional notice under; it.              You
        16    didn't object until now; so if there was any
        17    objection, you've waived it by now.
        18                      Now let's get on with the depo.
        19                      MR. FREEDMAN:     Okay.
        20    BY MR. FREEDMAN:
        21          Q      Mr. Andresen, before we get back into the
        22    documents, I want to just talk a little bit more
        23    broadly about Bitcoin for a second.            Is that okay?
        24          A      Sure.
        25          Q      So can Bitcoin function without miners?
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                                                                         Page 175
         1          A      No.
         2          Q      So it -- it needs someone to actively
         3    mine in order to function?
         4          A      Yes.
         5          Q      And in the beginning of Bitcoin's life,
         6    is it fair to say that Satoshi was one of the only
         7    active miners?
         8                        MR. KASS:   Object to form.
         9          A      We assumed that -- yes, we assumed that
        10    he was the first miner.         Well, we know that he
        11    created the -- the very first genesis block, and
        12    it's fair to assume that he might have been the
        13    only miner for a while.
        14          Q      And thereby -- and, therefore, through
        15    launching the system -- strike that.
        16                       And -- and mining Bitcoin was,
        17    therefore, integral to the creation and sustaining
        18    of this new creation; is that a fair statement?
        19                       MR. KASS:    Object to form.
        20          A      Yes.
        21                       (Exhibit 39 marked for
        22                       identification.)
        23          Q      I am going to hand you what's been marked
        24    as Plaintiffs' Exhibit 39, and it is Bates-labeled
        25    Gavin 1075.
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                                                                          Page 176
         1                        Do you recognize this email?
         2          A      Yes.
         3          Q      And it's an email from you to Craig?
         4          A      Yes.
         5          Q      And on the -- in it you say that you are
         6    not angry at him?
         7          A      Yes.
         8          Q      Is that true?
         9          A      Yeah, I don't think I was angry.            I was
        10    disappointed, but I wasn't angry.
        11          Q      Are you angry at him now?
        12          A      I tend not to get angry, so I wouldn't
        13    say I'm angry.
        14          Q      Still just disappointed?
        15          A      Still just disappointed, yeah.
        16          Q      And then you say, "If you ever need or
        17    want to talk, I'll be happy to listen"?
        18          A      Yes.
        19          Q      Did he ever take you up on that?
        20          A      No, not really.      I mean, he did send me
        21    some emails after this, but it was -- and I think
        22    they're all in the -- in the record.            But we
        23    certainly never had a phone conversation or
        24    anything.
        25          Q      Is it -- is it fair to say that every
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                                                                         Page 177
         1    email that you've produced to us is an accurate
         2    representation of the email you received?
         3                        MR. KASS:   Object to form.
         4          A      Yes.
         5                        (Exhibit 71 marked for
         6                        identification.)
         7          Q      I'm gonna hand you what's been marked as
         8    Plaintiffs' Exhibit 40, which is Bates-labeled
         9    Gavin 1334.
        10                      Do you recognize this email chain?
        11    Just to help you out, I think it's a continuation
        12    of that original chain you received from Uyen about
        13    the trusts.
        14          A      Yes.
        15          Q      But I have a particular question -- so do
        16    you recognize this chain now?
        17          A      Yes.
        18          Q      I have a particular question about the
        19    May 4th email from Uyen to you.           She says, "You
        20    deserve the truth.       Do not share."
        21                      And then you say, "I will not share,
        22    I will destroy."
        23                      What did she -- did she attach
        24    something to that email?
        25          A      She did.
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                                                                         Page 178
         1          Q      What did she attach?
         2          A      I think it was a document related to the
         3    Tulip Trust.
         4          Q      Okay.
         5          A      But I did destroy it.        So I read it once
         6    and then destroyed it, and I have little
         7    recollection of what it -- what the details of it
         8    were.
         9          Q      Was it an actual trust document?
        10                       MR. KASS:   Object to form.
        11          A      I don't know.
        12          Q      Do you think you would recognize it if
        13    you saw it?
        14          A      No.
        15          Q      Do you remember anything about its
        16    contents?
        17          A      No.
        18          Q      Do you remember if it talked about who
        19    owned or controlled Bitcoin at all?
        20          A      No.
        21                       (Exhibit 41 marked for
        22                       identification.)
        23          Q      I am handing you Plaintiffs' Exhibit 41.
        24    And I have neglected to print out the version with
        25    the Bates label, and I can't tell you which it is,
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                                                                         Page 179
         1    unfortunately.       Exhibit -- Plaintiffs' Exhibit 41.
         2                        Mr. Andresen, do you recognize this
         3    email chain?
         4            A    Yes.
         5            Q    And it's a -- an email from Stefan
         6    Matthews, a/k/a the money man, to you; is that
         7    correct --
         8                        MR. KASS:   Object to form.
         9            Q    -- with a chain back and forth below
        10    that?
        11          A      Yes.
        12          Q      And in it Stefan Matthews says to you --
        13    and I asked you about this email earlier, but you
        14    said you didn't recall it -- "The situation that
        15    unfolded this week was horrific.           I will say no
        16    more other than to say till one minute prior to
        17    Craig's actions there was no indication that he
        18    would default.       You have a public position on this
        19    that you will need to correct for sure.             And we are
        20    looking at our business position today."
        21                      And then at the end it says, "CSW
        22    defaulted for reasons unknown to us at this stage,
        23    other than the conversation we had yesterday."
        24                      Do you see that?
        25          A      Yes.
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                                                                         Page 180
         1          Q      Do you recall that conversation?
         2          A      No.
         3                        MR. KASS:   Object to form.
         4          A      I believe he's referring to, perhaps, an
         5    email that -- exchange we had the previous day, but
         6    I'm not positive about that.
         7          Q      And what -- do you remember what that
         8    email exchange was about?
         9          A      I think that was the email exchange where
        10    I put forward the two possibilities of maybe Craig
        11    had been conning people for years, or maybe he just
        12    couldn't handle the pressure.
        13          Q      Got it.
        14                       (Exhibit 42 marked for
        15                       identification.)
        16          Q      All right.     I'm handing you what's been
        17    marked as Plaintiffs' Exhibit 42.           Again, I did not
        18    print out the Bates labels.
        19                       Do you recognize this email?
        20          A      Yes.
        21          Q      This is an email from Craig Wright to you
        22    and Roger Ver; is that right?
        23          A      Yes.
        24          Q      In mid 2018?
        25          A      Yes.
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                                                                           Page 181
         1          Q      It starts, "I have solved Blacknet"?
         2          A      Yes.
         3          Q      Do you know what that means?
         4          A      No clue.
         5          Q      He then says, "Atlas has alread" -- I'm
         6    assuming that's "already" -- "shrugged."
         7                      Do you see that?
         8          A      Yes.
         9          Q      Do you know what he means there?
        10          A      I'm assuming he's referring to the
        11    Ayn Rand novel "Atlas Shrugged."           But, yeah, no, I
        12    don't know what he's referring to.
        13          Q      Okay.   Did you respond to this?
        14          A      No, I did not.
        15          Q      Did you talk to Roger about it?
        16          A      No, I didn't.
        17          Q      You just ignore it?
        18          A      I believe I ignored it.        I know you
        19    maybe -- you have an email where I responded.
        20          Q      Whatever you recall.
        21          A      But I don't recall --
        22          Q      I'm not --
        23          A      -- responding to it.
        24          Q      -- setting you up for any traps.          I'm
        25    just --
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          1            A    Okay.
          2            Q    -- asking your recollection.
          3            A    No, I -- I -- and it is a very cryptic
          4    email, and I don't recall thinking anything other
          5    than maybe Craig Wright is crazy.
          6                        (Exhibit 43 marked for
R-H-F
          7                        identification.)
          8            Q    I am handing you what's been marked as
          9    Plaintiffs' Exhibit 43 Bates-labeled 1482.
         10                       Do you recognize this email?
R-F-H    11          A      Yes.
         12          Q      It's an email from Craig to you?
         13          A      Yes.
         14          Q      In May of 2017?
         15          A      Yes.
         16          Q      He says, "The trust is all cleaned up
         17    now."
         18                       You see that?
         19          A      I see that.
         20          Q      What was unclean about the trust before?
         21                       MR. KASS:   Object to form.
         22          A      I don't know.
         23          Q      Did you ever ask him?
         24          A      No.
         25          Q      Did you ever get information -- any
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         1    information from Craig about the trust after this
         2    email that you can recall?
         3            A    Not that I recall, no.
         4            Q    Has anyone else, beyond Craig, told you
         5    about his relationship with Dave Kleiman?
         6            A    Possibly Ian Grigg, but I'm not sure
         7    about that -- oh, and perhaps one of the money men.
         8    Yeah, and, again, I'm not sure about that.             I'm not
         9    sure who told me what.
        10          Q      So you said you thought that maybe Craig
        11    Wright is a crazy person.         Have you given any more
        12    thought to that since that email, and where do you
        13    come out?
        14                      MR. KASS:    Object to form.
        15          A      Yeah, I've wondered if maybe Craig is
        16    paranoid; that he might have, you know, the -- the
        17    psychological condition of paranoia.            I'm not a
        18    psychologist, but it -- it seems like it would fit
        19    some of the -- the behavior I've -- I've seen from
        20    Craig.
        21          Q      Are you aware that in this lawsuit the
        22    Court has found that Craig committed perjury under
        23    oath?
        24                      MR. KASS:    Object to form.
        25          A      No, I am not aware of that.
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                                                                         Page 184
         1            Q      And are you aware that the Court has also
         2    found he submitted forged documents to the Court?
         3                       MR. KASS:   Object to form.
         4            A      I think I did see media reports about
         5    that.
         6            Q      That change your opinion of him at all?
         7            A      No, I don't think it does.
         8            Q      Why?
         9            A      Because I think even before that, you
        10    know, once he bamboozled me about what he was going
        11    to come out with when we were supposed to have
        12    these simultaneous blog posts where he announced
        13    himself to the world, you know, I realized he -- he
        14    was lying at least about that, and so -- and -- and
        15    I think in some of our conversations he had said he
        16    had lied about things in the past.           He had maybe
        17    done things to muddy up the record.            He didn't go
        18    into any specifics.       So, you know, I think even
        19    before then I got the impression, you know, he's a
        20    person who's not a hundred percent honest all the
        21    time.       So it -- it didn't really change.
        22          Q        Were there times that he struck you as
        23    honest and others that he struck you as dishonest,
        24    or you were unable to tell when you were speaking
        25    with him?
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                                                                         Page 185
         1            A     I don't --
         2                      MR. KASS:    Object to form.
         3            A     I don't think I am able to tell.
         4            Q     Okay.
         5                      MR. FREEDMAN:     Let's take a
         6    two-minute break, and I think I'm done, but I just
         7    want to circle back with my notes, and we'll finish
         8    up our -- our deposition.         Thank you.
         9                      THE VIDEOGRAPHER:       The time is
        10    2:37 p.m.      We are off the record.
        11                      (Off record.)
        12                      THE VIDEOGRAPHER:       The time now is
        13    2:50 p.m.      We're coming back on the record.
        14                      MR. FREEDMAN:     Oh, wait.     Hold on.
        15    Sorry.      Go back off.
        16                      (Off record.)
        17                      MR. FREEDMAN:     All right.      We've got
        18    an official conference line, so I hope that's
        19    better for anyone who's on the line.
        20                      Are we still on the record?
        21                      THE VIDEOGRAPHER:       Yes.
        22                      MR. FREEDMAN:     Still on the record.
        23    Okay.
        24    BY MR. FREEDMAN:
        25          Q       I just want to go back to the
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                                                                         Page 186
             1   conversations you had with Craig and request
             2   whether or not you had -- recall -- strike that.
             3                  Do you recall in any of your
S

             4   conversations with Craig Wright him referring to
             5   Dave Kleiman as his partner?
             6                  MR. KASS:    Object to form.
             7        A    I don't recall.
        S
             8        Q    It's possible he did?
             9                  MR. KASS:    Object to form.

    H       10        A    It's possible.
            11        Q    Beyond the time that he got emotional
            12   about Dave Kleiman, do you remember any other
            13   reference to Dave Kleiman?
            14                  MR. KASS:    Object.
            15        A    I don't recall.
            16        Q    When he told you about the three people
            17   behind Satoshi, was that the same time he got
            18   emotional about Dave?
            19                  MR. KASS:    Object to form.
            20        A    I think so, but I'm not certain.
            21        Q    And do you recall -- can you do your best
            22   to tell me the words you recall him using when he
            23   -- when he told you that?
            24                  MR. KASS:    Object to form.
            25        A    No, I'm sorry, I don't think I can.
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                                                                         Page 187
         1          Q      The -- did he -- do you recall Craig ever
         2    mentioning the Tulip Trust to you?
         3          A      I think he did say the words "Tulip
         4    Trust," although it might have been one of the
         5    money men who mentioned a Tulip Trust.            Again, my
         6    recollection is very fuzzy, so...
         7                        MR. FREEDMAN:   All right.      No further
         8    questions.
         9                             EXAMINATION
        10    BY MR. KASS:
        11          Q      Well, Mr. Andresen, my name is Zalman
        12    Kass, I represent Dr. Craig Wright.
        13                      The previous instructions that you
        14    received from Mr. Freedman, ask if you don't
        15    understand any questions or if you need a
        16    clarification, if you need a break, just let me
        17    know, those will still apply.
        18                      Do you recall opposing counsel asking
        19    whether sometimes Dr. Wright lied?
        20          A      Yes.
        21          Q      And your response was you believe he --
        22    he did lie in the past, correct?
        23          A      Yes.
        24          Q      Now, to the extent Dr. Wright told you
        25    anything about Dave Kleiman, could he have been
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                                                                         Page 188
         1    lying?
         2          A      Yes.
         3                      (Pause.)
         4                      MR. FREEDMAN:     Objection to form.
         5          Q      Mr. Andresen, did you do anything to
         6    prepare for today's deposition?
         7          A      The only thing I did to prepare was this
         8    morning I did go back and look at that Reddit
         9    private message thread, just to refresh my memory a
        10    little bit about what might have -- what happened
        11    during the so-called proving ceremony in London.
        12          Q      Okay.   And do you recall anything else
        13    that you did to prepare?
        14          A      No, nothing else.
        15          Q      All right.     Did you speak to anybody in
        16    advance of this deposition related to the
        17    deposition?
        18          A      I certainly told my wife that I was gonna
        19    be at a deposition today --
        20          Q      Okay.
        21          A      -- but, no.     Other than that, no.
        22          Q      All right.     I'm gonna introduce as
        23    Exhibit 44 a document.
        24                      (Exhibit 44 marked for
        25                      identification.)
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                                                                         Page 189
         1          Q      Can you let me know if you recognize this
         2    document?     And take your time to look through it.
         3                        (Witness perusing document.)
         4          A      Yes, this is the subpoena I received last
         5    year.
         6          Q      Okay.
         7          A      Last year?     I think it was last year.
         8    Yeah, last year.
         9          Q      And did you produce documents in response
        10    to the subpoena?
        11          A      Yes, I did.
        12          Q      Did you produce all the documents that
        13    you had responsive to these requests?
        14          A      Yes, I did.
        15          Q      And, for example, in Request No. 4, that
        16    includes documents related to Craig Wright, Satoshi
        17    Nakamoto, or Dave Kleiman?
        18          A      Yes.
        19          Q      Okay.    So would it be accurate to state
        20    that all those documents have already been produced
        21    in this case by you --
        22          A      Yes.
        23          Q      -- that you have in your possession?
        24          A      Yes.    As far as I know, yes.
        25          Q      And how did you go about ensuring that
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                                                                         Page 190
         1    you found those documents?
         2           A     Most of the documents -- well, I mean,
         3    there are -- there are -- let me back up.
         4                      So Craig Wright, Satoshi Nakamoto,
         5    and David Kleiman -- Satoshi I only ever
         6    communicated via either email or BitcoinTalk
         7    private forum messages.
         8           Q     Um-hm.
         9           A     And so all of those documents -- and the
        10    same thing for -- well, besides the in-person
        11    meeting with Craig Wright, all of our
        12    communications were via email.          And so I -- I
        13    performed search over all of my Gmail inbox, like
        14    all -- you know, all mail sent, all mail received
        15    for Craig Wright, Satoshi Nakamoto, and David
        16    Kleiman.     And then I also did some manual searches
        17    in BitcoinTalk private messages, and the Reddit
        18    private messages I -- I -- I had related to -- to
        19    this matter.
        20           Q     Okay.    Could we just actually switch
        21    exhibits out.      I should have given you the marked
        22    one.
        23           A     Sure.
        24           Q     When did you first learn of Dave
        25    Kleiman's existence?
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                                                                         Page 191
         1          A      I'm not sure.
         2          Q      Okay.   Do you know if you learned of Dave
         3    Kleiman's existence before you learned of Craig
         4    Wright's existence?
         5          A      Again, I'm not sure.
         6          Q      Okay.   Have you ever communicated with
         7    Dave Kleiman?
         8          A      Not that I know of.
         9          Q      Okay.   Other than conversations that you
        10    may have had with Craig Wright or other people on
        11    Craig's -- you know, related to Craig's -- Craig
        12    Wright, has anybody ever -- else spoken to you
        13    about Dave Kleiman?
        14          A      I believe Ira Kleiman contacted me.           I'm
        15    not sure anybody else has ever spoken to me about
        16    Dave Kleiman.
        17          Q      Okay.   So would it be fair to say that
        18    any information that you have related to Dave
        19    Kleiman would either come from Ira, Craig, or
        20    somebody close to Craig?
        21          A      I mean, there's certain -- there have
        22    been reports in -- in media that I've read that --
        23    that talk about Dave Kleiman.          So it's, again,
        24    possible I've -- I heard about him through some
        25    Reddit post or something that appeared in public
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                                                                         Page 192
         1    media.
         2          Q      Other -- if we were to exclude online
         3    media or some sort of posting, as far as like
         4    one-on-one conversations with somebody, any
         5    information would have come from either Craig --
         6    Dr. Craig Wright, Ira Kleiman, or someone close to
         7    Craig Wright; is that correct?
         8          A      Yes.
         9          Q      Are you familiar with the term "firsthand
        10    knowledge"?
        11          A      Vaguely.
        12          Q      Okay.   What does it mean to you?
        13          A      Firsthand knowledge, it means you
        14    actually witnessed something happening; you didn't
        15    hear about it from somebody who witnessed a thing
        16    happening.
        17          Q      Okay.   So we're gonna use that definition
        18    going forward.
        19          A      Okay.
        20          Q      Do you have any firsthand knowledge about
        21    a partnership between Dr. Wright and Craig -- I'm
        22    sorry -- Dr. Wright and Dave?
        23          A      No.
        24          Q      Okay.   Do you have any firsthand
        25    knowledge about any intellectual property that Dave
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                                                                         Page 193
         1    Kleiman developed?
         2            A    No.
         3            Q    Do you have any firsthand knowledge as to
         4    any Bitcoin that Dave Kleiman may have mined?
         5            A    No.
         6            Q    Do you have any firsthand knowledge about
         7    a purported theft of Dave Kleiman's Bitcoin?
         8            A    No.
         9            Q    Do you have any firsthand knowledge about
        10    Bitcoin that Dr. Wright may have mined?
        11          A      No.
        12          Q      Do you have any firsthand knowledge about
        13    Dr. Wright's wealth?
        14          A      I'm not sure how to -- I certainly have
        15    emails, from an email address that I assumed was
        16    Craig Wright, talking about his wealth.             Given the
        17    definition of firsthand knowledge, I -- that we
        18    were discussing --
        19          Q      Correct.
        20          A      -- I don't know how an email fits into
        21    that definition, but that's the only knowledge I
        22    have.
        23          Q      Okay.   Well, let me ask you, those emails
        24    mention large sums, correct?
        25          A      Yes.
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                                                                         Page 194
         1          Q      All right.     I believe there was one about
         2    millions -- million something, correct?
         3          A      Hundreds of millions of somethings, yes.
         4          Q      Somethings, yes.      Okay.    Right.
         5                       Now, you haven't -- have you seen any
         6    bank account statements where you could see
         7    hundreds of millions of something?
         8          A      No.
         9          Q      Okay.    So any information -- is it fair
        10    to say that any information that you would have
        11    about Dave Kleiman's wealth is based on an email
        12    that seems to come from Dave Kleiman's email inbox?
        13          A      You mean Craig Wright's email?
        14          Q      Craig -- yes.     I'm sorry.
        15                       That seems to come from Craig
        16    Wright's email account, correct?
        17          A      Yes, correct.
        18          Q      All right.     But you haven't verified
        19    whether or not -- whether that's accurate?
        20          A      Correct, I have not.
        21          Q      Okay.    So would it be fair to say that
        22    you don't have firsthand knowledge as to whether
        23    that wealth, in fact, exists?
        24          A      I think that's fair to say, yes.
        25          Q      And do you have any firsthand knowledge
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                                                                         Page 195
         1    about whether Dave Kleiman -- Ira Kleiman -- Craig
         2    Wright has any trusts?
         3          A      No, I don't think I do.
         4          Q      Have you seen any trust documents?
         5          A      I'm not sure.
         6          Q      Okay.   Do you recall having seen any
         7    trust documents?
         8          A      The only trust document I would have seen
         9    might have been that attachment that I said that I
        10    destroyed in an email exchange with Uyen Nguyen.
        11          Q      But is it accurate to state you don't
        12    really recall what -- it could have been a trust
        13    document, but you're just not -- you don't recall?
        14          A      That's correct, it could have been a
        15    trust document, but I don't recall.
        16          Q      Okay.   And you weren't a party to setting
        17    up of any trusts?
        18          A      No, I was not.
        19          Q      And do you have any firsthand knowledge
        20    of any trusts that Dave Kleiman may have been part
        21    of?
        22          A      No.
        23          Q      Now, I just asked you a whole bunch of
        24    questions, whether you had firsthand knowledge
        25    about many different subjects, correct?
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                                                                         Page 196
         1           A     Yes.
         2           Q     To the extent you have any knowledge
         3    about those -- those subjects that is not firsthand
         4    knowledge, what would the source of that knowledge
         5    be?    And we can go one by one if that's easier for
         6    you.
         7           A     I mean, the -- the -- the sources of any
         8    of those would be emails from Craig Wright, emails
         9    from Uyen Nguyen, emails from the so-called money
        10    guys who are part of the -- the London proving
        11    session I was part of, and then any court documents
        12    or other things that I've seen reported in -- in
        13    public media.
        14           Q     Okay.   And do you know whether those
        15    emails were, in fact, sent by Craig Wright or any
        16    of those other parties?
        17           A     Do I know for a hundred percent sure?
        18    No.    Emails can be forged.
        19           Q     Sure.   And they -- they could also be
        20    sent from an email address, but the person sending
        21    it is not actually the one who typed up the
        22    message, right?
        23           A     That is possible, yes.
        24           Q     At most we know it's from -- would it be
        25    fair to say that the most we know, it's from an
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         1    email address that is consistent with an email
         2    address that we believe those people use?
         3          A      Yes.
         4          Q      Okay.   Now, you previously testified
         5    about a cryptographic proof session in London.              Do
         6    you recall that?
         7          A      Yes.
         8          Q      And that cryptographic proof was related
         9    to either block 9 or 10, depending on how you
        10    count, correct?
        11          A      Yes.
        12          Q      Did -- did Dr. Wright show you any
        13    cryptographic proofs for any other blocks?
        14          A      No.
        15          Q      Do you have any knowledge as to whether
        16    he has the ability to control any other Bitcoin
        17    blocks?
        18          A      No.
        19          Q      Now, if somebody had access to a Bitcoin
        20    private key in the past, does it mean they still
        21    have access to a Bitcoin private key?
        22          A      No.
        23          Q      Is it possible to have access one day and
        24    access not the other day?
        25          A      Yes, keys can be lost or stolen.
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                                                                         Page 198
         1          Q      Okay.   Do you recall the date that you
         2    had the proof session with Dr. Wright in London?
         3          A      That was one of the things I looked at --
         4                      (Brief interruption.)
         5                      (Phone connection disconnected.)
         6          A      That was one of the things I looked at
         7    this morning, and I believe it was April 7th.
         8          Q      Okay.   All right.     And do you recall what
         9    time of day it was that the actual proof was shown
        10    to you?
        11          A      I think it was late afternoon.
        12          Q      Okay.   So would it be fair to say that,
        13    at most, you can know that in the late afternoon of
        14    April 7th, Dr. Wright could have had the private
        15    key to block 9 or block 10, correct?
        16          A      Yeah.   Yes.
        17          Q      You don't know if he had the private key
        18    prior to that, correct?
        19          A      Correct.
        20          Q      And you don't know if he had the private
        21    key after that?
        22          A      Correct.
        23          Q      And you don't know if -- when there were
        24    those email conversations going back and forth
        25    where people made representations on behalf of
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         1    Dr. Wright, that he would transfer money from a
         2    certain Bitcoin address, you don't know if he still
         3    had the key at that point in time?
         4          A      Correct.
         5          Q      And if he didn't have the key, it
         6    wouldn't be a very easy matter to make a transfer,
         7    correct?
         8          A      It -- it would be impossible.
         9          Q      Okay.
        10                      (Calling conference line.)
        11          Q      And it's -- and it's also possible that
        12    Dr. Wright did not, in fact, have the key in the
        13    evening of April 7th, 2016, right?
        14          A      Correct.
        15                      (Reconnecting into conference line.)
        16          Q      You testified before that you
        17    corresponded with Satoshi in 2010, correct?
        18          A      Correct.
        19          Q      And what was the nature of your
        20    relationship with Satoshi?
        21          A      It was very businesslike, very -- you
        22    know, one programming geek talking to another
        23    programming geek.
        24          Q      Okay.   So would it be fair to say that
        25    large parts of your conversations were about
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         1    programming stuff?
         2          A      Yeah, basically all of our conversations
         3    were about programming stuff.          My conversations in
         4    2010 never really delved into anything personal.
         5    Yeah, it was all the bus -- about the business of
         6    making the Bitcoin software successful.
         7          Q      Okay.    And did Satoshi ever share code
         8    with you?
         9          A      Did he share -- yes, he did share code
        10    with me.
        11          Q      And did you ever share code with Satoshi?
        12          A      Yes.
        13          Q      And did you have conversations with
        14    Satoshi about the code?
        15          A      Yes.    We had back and forth about how
        16    things should be implemented.
        17          Q      And would it be accurate to state that
        18    you're familiar with Satoshi's programming
        19    abilities?
        20          A      Yes.
        21          Q      And that would be based on the email
        22    conversations that you had with Satoshi, correct?
        23          A      Yes, and also the -- the -- the code
        24    in -- that is in the Bitcoin repository, that
        25    open-source software code, that we know was written
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         1    by Satoshi.
         2          Q      Okay.   I'm going to introduce Exhibit 48.
         3                      (Exhibit 48 marked for
         4                      identification.)
         5          Q      And, Mr. Andresen, do you recognize this
         6    document?
         7          A      2010.   Yeah.
         8          Q      What -- what -- what do you believe it
         9    is?
        10          A      Let's see, what were we doing here?
        11          Q      Well, I'm fine with the higher level
        12    understanding; like, for example, are you talking
        13    code with Satoshi?       Let's start, is this an email
        14    with Satoshi?
        15          A      Yes, this is an email with Satoshi.
        16          Q      And are you talking about coding things?
        17          A      Yes, we're talking about coding things.
        18    I believe this is the new -- yes, this is the new
        19    RPC methods for talking to the -- the Bitcoin
        20    software and controlling the Bitcoin software.
        21          Q      Okay.   Now, I'm going to introduce
        22    Exhibit 49.
        23                      (Exhibit 49 marked for
        24                      identification.)
        25          Q      And do you recognize this document?
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                                                                         Page 202
         1          A      Yes.
         2          Q      And is it an email between you and
         3    Satoshi Nakamoto?
         4          A      Yes, it is.
         5          Q      And are you talking about coding things
         6    and programming?
         7          A      Yes, we are.
         8          Q      Okay.   And I'm going to introduce as
         9    Exhibit 45 this document.
        10                      (Exhibit 45 marked for
        11                      identification.)
        12          Q      And if you look at the prior exhibit that
        13    I showed you, which was 49, there is an attachment
        14    to it.    Do you have any knowledge as to whether
        15    this attachment is what's referred to in that
        16    email?
        17                      (Witness perusing document.)
        18          Q      If it does help, the -- the Bates numbers
        19    are sequential.
        20          A      Yes, I think this is the attachment that
        21    would go with that email.
        22          Q      Okay.   Thank you.
        23                      And, again, so not only are you
        24    talking about coding stuff in the -- the body of
        25    the email, you're actually exchanging code with
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                                                                         Page 203
         1    Satoshi?
         2          A      Yes.
         3                        (Exhibit 46 marked for
         4                        identification.)
         5          Q      I'm going to introduce Exhibit 46.           And
         6    do you recognize this document?
         7          A      Yes.
         8          Q      And are -- it's a Satoshi email --
         9                        MR. FREEDMAN:    Zalman, you said 46.
        10    It's 51, I think.
        11                      MR. KASS:    What -- what was I saying,
        12    please?
        13                      THE WITNESS:      This says Exhibit 46.
        14                      MR. KASS:    46.    I had jumped five by
        15    mistake, so I just kind of went back to -- to fill
        16    in the numbers I didn't have.          There were two rows
        17    of stickies.
        18                      MR. FREEDMAN:      This is going to
        19    become your new trademark, Mr. Kass.
        20                      MR. KASS:    Are you confused yet?
        21    BY MR. KASS:
        22          Q      Okay.    Exhibit 46, is this an email
        23    between you and Satoshi?
        24          A      Yes.
        25          Q      And what's -- is this email about coding
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                                                                         Page 204
         1    and programming things?
         2          A      Yes.
         3          Q      Okay.
         4                        (Exhibit 47 marked for
         5                        identification.)
         6          Q      I am introducing Exhibit 47.         And do you
         7    recognize this document?
         8          A      Yes.
         9          Q      Is it an email conversation between you
        10    and Satoshi Nakamoto?
        11          A      Yes.
        12          Q      Are you talking about programming and
        13    coding things?
        14          A      Yes.
        15          Q      All right.
        16                      (Exhibit 50 marked for
        17                      identification.)
        18          Q      Okay.    I'm going to introduce Exhibit 50.
        19    Do you recognize this email?
        20          A      Yes.
        21          Q      Is this a conversation between you and
        22    Satoshi Nakamoto?
        23          A      Yes.
        24          Q      Is it about coding and programming?
        25          A      Yeah.    A particularly annoying one, yes.
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                                                                         Page 205
         1          Q      I'm just curious, what was particularly
         2    annoying about this one?
         3          A      Just the -- cleanly shutting down the
         4    application took many revisions.           It seems like it
         5    should be a very simple thing to do, but it was
         6    much more complicated.
         7          Q      And did you work with Satoshi on that?
         8          A      Yes.
         9                        (Exhibit 51 marked for
        10                      identification.)
        11          Q      Now, I'm going to introduce Exhibit 51,
        12    which is a sequential Bates number from the prior
        13    email that I sent to you.         If you could take a peek
        14    at it, and let me know if that is an attachment in
        15    Exhibit 50.
        16          A      Yes, it is.
        17          Q      So would it be fair to say that, in
        18    addition to speaking about coding in the body of
        19    Exhibit 50, you are also sharing code, actual code,
        20    with Satoshi?
        21          A      Yes.
        22          Q      And Satoshi was sharing code with you as
        23    kind of back --
        24          A      Yes --
        25          Q      -- you know, a two-way street?
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                                                                         Page 206
         1          A      -- we would trade what are called
         2    "patches" back and forth.
         3                        (Exhibit 52 marked for
         4                        identification.)
         5          Q      Okay.    I'm going to introduce Exhibit 52.
         6    Do you recognize this document?
         7          A      Satoshi to me.      Yes.
         8          Q      Is it an email between you and Satoshi
         9    Nakamoto?
        10          A      Yes.
        11          Q      Are you talking about programming and
        12    coding?
        13          A      Yes.
        14          Q      Okay.    And -- okay.
        15                      (Exhibit 53 marked for
        16                      identification.)
        17          Q      I'm going to introduce Exhibit 53.           Do
        18    you recognize this document?
        19          A      Yes.
        20          Q      Is it a conversation between you and
        21    Satoshi Nakamoto?
        22          A      Yes.
        23          Q      Is it related to programming and coding?
        24          A      Yes.
        25          Q      I'm going to introduce Exhibit No. 54.
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                                                                         Page 207
         1                        (Exhibit 54 marked for
         2                        identification.)
         3          Q      Do you recognize this email?
         4          A      Yes.
         5          Q      Is it an email between you and
         6    Satoshi Nakamoto?
         7          A      Yes.
         8          Q      Is it related to programming and coding?
         9          A      Yes.
        10          Q      Okay.
        11                      (Exhibit 55 marked for
        12                      identification.)
        13          Q      I'm going to introduce Exhibit 55.           Do
        14    you recognize this document?
        15          A      Yes.
        16          Q      Is it an email between you and Satoshi
        17    Nakamoto?
        18          A      Yes.
        19          Q      Is it related to programming and coding?
        20          A      Yes.    I'm detecting a pattern.
        21          Q      Yes.    We're getting to the end of it.
        22                      (Exhibit 56 marked for
        23                      identification.)
        24          Q      I'm introducing Exhibit No. 56.          Do you
        25    recognize this document?
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                                                                         Page 208
         1          A      Yes.
         2          Q      Is it an email between you and Satoshi
         3    Nakamoto?
         4          A      Yes.
         5          Q      Does it relate to coding -- coding and
         6    programming?
         7          A      Yes.
         8          Q      All right.     Is it -- is it fair to say we
         9    just looked at a large number of documents that are
        10    communications between you and Satoshi Nakamoto
        11    related to programming and coding?
        12          A      Yes.
        13          Q      As it related to the Bitcoin software?
        14          A      Yes.
        15          Q      Okay.   And based on all those emails, did
        16    you form an opinion as to Satoshi's coding or
        17    programming abilities?
        18          A      Yes.
        19          Q      And how would you describe his
        20    programming and coding abilities?
        21          A      I would say he's a very good coder,
        22    although a little bit old-fashioned.
        23          Q      Okay.   I actually have two more exhibits
        24    we've got to do.
        25                      (Exhibit 57 marked for
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                                                                         Page 209
         1                        identification.)
         2          Q      I'm going to introduce Exhibit 57.           Do
         3    you recognize this document?
         4          A      Yes.
         5          Q      Is it an email between you and Satoshi
         6    Nakamoto?
         7          A      Yes.
         8          Q      Does it relate to programming and coding?
         9          A      Yes.
        10          Q      And, again, I am going to introduce now
        11    as Exhibit 58, which is sequentially marked.
        12                      (Exhibit 58 marked for
        13                      identification.)
        14          Q      And do you recognize this to be the -- do
        15    you recognize 58 to be the attachment from
        16    Exhibit 57?
        17          A      Yes.
        18          Q      And what is attached, would you -- would
        19    it be fair to say, is coding and programming
        20    related?
        21          A      Yes.
        22          Q      Is it actual code?
        23          A      It's actual code.
        24          Q      And this is actual code from Satoshi
        25    Nakamoto?
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                                                                         Page 210
         1          A      Yes.
         2          Q      Okay.   Would you consider Satoshi a
         3    brilliant programmer?
         4          A      Definitely a top 10 percent programmer.
         5          Q      All right.      And when you say "top" --
         6    "top 10 percent," is that in the world?             In the US?
         7    I just want to understand a little bit more what
         8    you mean.
         9          A      Among all the programmers that I've
        10    interacted with, he's definitely in the top
        11    10 percent.     I've known better programmers.           I've
        12    known a lot of worse programmers.
        13          Q      Sure.   Okay.    And how would you rank
        14    yourself in the -- in the hierarchy of programmers?
        15          A      I'd say I'm in the top 10 percent also.
        16          Q      All right.     So --
        17          A      I'm a little slower than most
        18    programmers, but I'm -- I think I have fewer bugs.
        19          Q      Okay.   So would you consider yourself on
        20    equal footing with Satoshi?
        21          A      It depends on what we were programming,
        22    but, yeah, roughly equal.
        23          Q      Okay.
        24                      (Exhibit 59 marked for
        25                      identification.)
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                                                                         Page 211
         1          Q      I am going to introduce Exhibit 59.
         2                        Now, I'm gonna ask you to turn to the
         3    second page of the exhibit.         And then I'm going to
         4    ask you to look at the fifth paragraph from the
         5    bottom, and the paragraph starts with "Over."
         6          A      Sure.
         7          Q      Okay.    And then do you see on the second
         8    line it says, "I mean, Satoshi is a brilliant
         9    programmer, but he also acts like a lone wolf."
        10                      And then if you go on a little
        11    further, this statement is attributed to you.
        12                      Do you recall making that statement?
        13          A      Yes, I believe I did.
        14          Q      Okay.
        15          A      I've said similar statements in the past.
        16          Q      All right.     So -- and is that an accurate
        17    statement?
        18          A      Yes.
        19          Q      Okay.    So based on your interactions with
        20    Satoshi, it's your belief that he was a brilliant
        21    programmer?
        22          A      Yes.
        23          Q      So would it be fair to say that Satoshi
        24    would know how to create a simple programmer --
        25    program?
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                                                                         Page 212
         1            A    Yes.
         2            Q    And if someone told you that Satoshi
         3    needed help creating a simple program, what would
         4    your reaction be?
         5            A    I would need to know a little bit more.
         6    I mean, certainly if it was an unfamiliar
         7    programming language or unfamiliar programming
         8    environment, then I could imagine needing help.
         9    Even I would need help writing Ruby code, for
        10    example; I don't know the programming language
        11    Ruby.
        12          Q      Um-hm.    But if it wasn't an issue of --
        13    of languaging, if you -- if -- if Satoshi was able
        14    to use whatever code -- programming language he
        15    wanted, would you be surprised that he had
        16    difficulty creating a simple program?
        17          A      Yes, I would be surprised.
        18          Q      All right.     And would you be surprised if
        19    he would have to reach out to his best friend, who
        20    was a programmer, and ask him to create simple
        21    programs?
        22          A      Yes.
        23          Q      What's a -- are you familiar with the
        24    term "simple script"?
        25          A      "Simple script"?
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                                                                         Page 213
         1          Q      Yeah.
         2          A      No, I don't think so, at least not as
         3    a -- not as a term.
         4          Q      Okay.   Well, if I were to define a simple
         5    script as a series of moderately simple commands,
         6    sort of like a macro in Excel --
         7          A      Sure.
         8          Q      -- would you understand what that is?
         9          A      Absolutely, yes.
        10          Q      Yeah.   Would you consider that
        11    programming?
        12          A      It's a kind of programming.
        13          Q      Do you believe Satoshi's skills were in
        14    excess of writing simple scripts?
        15          A      Again, it depends.       I mean, for example,
        16    the first version of Bitcoin ran on Windows, and if
        17    Satoshi was a Windows programmer that needed to
        18    write some UNIX scripts on a server, then I could
        19    imagine him reaching out to somebody to help out
        20    with -- with that kind of task.           Again, it would be
        21    like -- it's -- it's basically a different
        22    programming language.
        23          Q      Okay.   Well, if somebody were to state
        24    that Satoshi only knew how to write simple scripts,
        25    as a blanket statement, would that be consistent
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                                                                         Page 214
         1    with your interactions with Satoshi?
         2          A      No.     The Satoshi I was interacting with
         3    had a demonstrated ability to produce code.              Or at
         4    least, you know, I received code in emails.              I have
         5    no firsthand knowledge that the person I was
         6    communicating via email actually wrote the code.
         7          Q      Okay.
         8          A      But I assume that it -- that it was the
         9    same person.
        10          Q      Well, let me ask you.        In the emails that
        11    we've looked at, in the body of the emails, are
        12    there discussions about code?
        13          A      Yes.
        14          Q      Okay.    So based on those -- the messages
        15    in the body of the email, would it be accurate to
        16    state that this Satoshi, or the person who held
        17    himself out as Satoshi that you were speaking with,
        18    was a programmer?
        19          A      Yes.
        20          Q      And a coder?
        21          A      Yes.
        22          Q      And able to do things more advanced than
        23    simple scripts?
        24          A      Yes.
        25          Q      Okay.    Do you recall testifying earlier
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                                                                         Page 215
         1    on that somebody reached out to you regarding
         2    Craig Wright showing himself as Satoshi, correct?
         3          A      Yes.
         4          Q      And your initial reaction was skepticism?
         5          A      Yes.
         6          Q      I believe you said highly skeptical?
         7          A      Yes.
         8          Q      Okay.   And that was because other people
         9    in the past had claimed they were Satoshi?
        10          A      Quite a few, yes.
        11          Q      Okay.   And, in fact, you said I'm not
        12    getting on that plane until I'm -- a plane to
        13    London until I'm reasonably certain that Craig
        14    Wright is Satoshi?
        15          A      Yes.
        16          Q      Okay.   And there was an email with four
        17    different ways that you could be reasonably certain
        18    that you were speaking with Satoshi, correct?
        19          A      Yes.
        20          Q      All right.     And if you could take a look
        21    at Exhibit 4, previously marked.
        22          A      (Witness complied.)
        23          Q      Now -- all right, if you look at the
        24    bottom, it says, "I want to see" and then you have
        25    one, two, three, four.        Do you recall if it was
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                                                                         Page 216
         1    that you wanted to see all four or if one of them
         2    was sufficient?
         3          A      The more, the better.        The more, the more
         4    certain I felt I would be.
         5          Q      Okay.   Now, if you look at all of those
         6    four options, or at least the first three of them,
         7    there's some language in parentheticals.             Do you
         8    see that?
         9          A      Yes.
        10          Q      Okay.   And the first one, where you ask
        11    for a PGP key that Satoshi used, what do you --
        12    what do you state in parentheticals?
        13          A      "But his computer could have been
        14    hacked."
        15          Q      And what's the import of that?
        16          A      The import is that a PGP key can be
        17    stolen, and somebody else can use it to impersonate
        18    somebody if they have access to that piece of data.
        19          Q      All right.     And, therefore, it's not a
        20    perfect proof; is that fair?
        21          A      That's fair, yeah, it's not a perfect
        22    proof.
        23          Q      All right.     And then we go down to the
        24    second one, which is a message signed with the keys
        25    from the early Bitcoin blocks.          And, again, there's
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                                                                          Page 217
         1    something in parentheticals.          Could you read that?
         2            A      "But his wallet could have been stolen."
         3            Q      And what's the import of that?
         4            A      Again, I mean, the keys are pieces of
         5    data.
         6            Q      Um-hm.
         7            A      The fact that you have a key, it doesn't
         8    tell you anything about how you obtained that key,
         9    so keys can be stolen.         And so, again, somebody
        10    could have stolen those keys and used them to
        11    pretend to be the person who actually mined the
        12    blocks way back in 2009.
        13           Q       Okay.    Now, the third one on that list is
        14    an email or private forum post he sent to me in
        15    2010.       And, again, you have a parenthetical.
        16    What's that parenthetical?
        17           A       "But email could have been hacked."
        18           Q       And, again, what's the import of that?
        19           A       Again, email is just data.       So if you
        20    hack into a computer, you could steal somebody's
        21    emails and then present them as if they were your
        22    own.
        23           Q       Okay.    And then there's the fourth one,
        24    which is a conversation about technical stuff,
        25    ideally via email, so I can see if it feels like
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                                                                         Page 218
         1    the same person I communicated with in 2010?
         2          A      Yes.
         3          Q      Is there any parenthetical after that?
         4          A      No.
         5          Q      All right.     So would it be fair to say,
         6    out of those four options, the fourth option would
         7    be the most convincing?
         8          A      I mean, I -- I'm not sure I would say the
         9    most convincing.       I mean, certainly if -- if you
        10    could produce the other three, I think they would
        11    have more weight.       I think any individual one --
        12    yeah, no, I don't think I -- I don't think it's --
        13    it's the one that would be most convincing to me.
        14                       I think the other three, if you could
        15    produce them, would be more convincing, just
        16    because I don't trust myself to -- to judge
        17    whether, you know, two documents are produced by
        18    the same person.       That's just not a skill that I
        19    feel like, you know, I'm -- I'm super great at.
        20          Q      All right.     Well, let me ask you.        For
        21    the fourth one, which was this email conversation,
        22    you didn't identify any downsides over there?
        23          A      That's correct.
        24          Q      All right.     And so would it be fair to
        25    say that at that point in time, which, based on the
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                                                                         Page 219
         1    email, is March 29, 2016, you didn't identify that
         2    as a downside?
         3           A     I didn't identify what as a downside?
         4           Q     Your inability to adequately --
         5           A     -- judge whether I'm communicating with
         6    the same --
         7           Q     Yes.
         8           A     -- person I was in the past?         Correct.
         9    Yes.
        10           Q     Okay.   Now, which of the four did
        11    Dr. Wright eventually end up using?
        12           A     I believe a message signed with a key
        13    from the early Bitcoin block is the only one.
        14           Q     That was a poor question.         Sorry.    Can I
        15    take that back?
        16           A     Sure.
        17           Q     You can -- I don't want to interrupt.
        18    You can answer, but I'm gonna change the question
        19    anyways.
        20                      Before you got on the plane to go to
        21    London, which one of those four did Dr. Wright use?
        22           A     The conversation about technical stuff.
        23    So we did have a back-and-forth conversation about
        24    the state of Bitcoin --
        25           Q     All right.
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                                                                         Page 220
         1          A      -- and what his thoughts were.
         2          Q      And was that conversation through email?
         3          A      Yes.
         4          Q      Was there a phone conversation?
         5          A      I don't think so, no.
         6          Q      Okay.
         7          A      I -- I might be -- I might be
         8    misremembering, but I don't think there was.
         9          Q      I'm going to introduce Exhibit 60.
        10                      (Exhibit 60 marked for
        11                      identification.)
        12          Q      Do you recognize that document?
        13          A      Yes.
        14          Q      Is it an email that appears to be from
        15    Stefan Matthews to you?
        16          A      Yes.
        17          Q      Okay.    And what does it say about --
        18    like, do you -- do you know what the purpose of
        19    this email was?
        20          A      It was part of the logistics of me
        21    traveling to London --
        22          Q      Um-hm.
        23          A      -- to witness signing of an early Bitcoin
        24    block.
        25          Q      Okay.    And if you look at the third
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         1    paragraph, the one that starts with, I am looping
         2    Craig into this email so that the two of you have
         3    the necessary email contact information for the
         4    exchange of information prior to the substantial
         5    discussion information exchange in London.
         6                        Reading that, do you have any
         7    additional recollection as to what the purpose of
         8    this email was?
         9                        (Pause.)
        10          Q      I can re-ask it.
        11                      Was one of the reasons of this email
        12    so that Craig could be in contact with you to then
        13    give you the fourth -- the fourth option of the
        14    list of proofs?
        15          A      Yes, probably.
        16          Q      And that would just be based on reading
        17    that paragraph, what I just read to you?
        18          A      Exactly, yes.
        19          Q      Okay.
        20          A      I mean, I have -- I have very little
        21    recollection of exactly what happened when.
        22          Q      All right.     But this is consistent with
        23    what you recall?
        24          A      Yes.
        25          Q      Okay.    I'm going to introduce Exhibit 67.
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                                                                         Page 222
         1          A      This says --
         2          Q      I'm sorry --
         3          A      -- 61.
         4          Q      -- 61.    I misread.     Thank you.
         5                        (Exhibit 61 marked for
         6                        identification.)
         7          Q      Do you recognize this document?
         8          A      Yes.
         9          Q      Okay.    And is it an email between
        10    Dr. Craig Wright and yourself?
        11          A      Yes.
        12          Q      Okay.    Now, I'm gonna introduce another
        13    exhibit, and this exhibit is going to be Exhibit
        14    No. 62.
        15                      (Exhibit 62 marked for
        16                      identification.)
        17          Q      All right.     Do you recognize this
        18    document?
        19          A      Yes.
        20          Q      Is it an email between you and Craig
        21    Wright?
        22          A      Yes.
        23          Q      What is the time -- what -- when was the
        24    email sent, what time?
        25          A      It says April 3rd, 2016, 11:06 a.m.
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         1          Q      All right.     And then if you look at the
         2    other email, which is Exhibit 61, what's the time
         3    on that email?
         4          A      It says April 3rd, 2016, 11:53 a.m.
         5          Q      All right.     So would it be fair to say
         6    that these emails are about 50 minutes apart,
         7    slightly less?
         8                      MR. KASS:    50.
         9          A      Yes.
        10          Q      Now, could you just take a minute to
        11    quickly look over the two emails, because I'm going
        12    to be asking you questions.          I just want to make
        13    sure you're familiar with it.
        14                      (Witness perusing documents.)
        15          Q      And that's fine if you just read the
        16    first page of both emails.
        17          A      I'll skim.
        18          Q      That's fine.
        19                      (Witness perusing document.)
        20          A      Okay.
        21          Q      And would it be fair to say that there
        22    are similarities between these two emails?
        23          A      Yeah.
        24          Q      Okay.   And would it be fair to say that,
        25    for the most part, it's the same substance, but
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         1    they're in different writing styles?
         2                      MR. FREEDMAN:     Objection, form.
         3          A      Yes.
         4          Q      All right.     Now, let's go to Exhibit 61.
         5    If you look at the first paragraph, does Dr. Wright
         6    give any explanation as to why he sent you two
         7    emails less than 50 minutes apart with similar
         8    substance?
         9                      (Witness perusing document.)
        10          A      Well, the first paragraph says, Using
        11    this style, I've written many blog posts.             Has a
        12    few minor alterations to my standard prose.              The
        13    following is more in line to how I naturally write.
        14          Q      Okay.    Now, when he says, "Using this" --
        15    so he says, "The first email I send to you a few
        16    moments back."       Do you understand that to mean
        17    Exhibit 62?
        18          A      I'm not sure.
        19          Q      Okay.    Well, was that email sent a few
        20    moments back?
        21          A      According to the dates in the sent, then,
        22    yes, it was sent 50 minutes before the --
        23          Q      Okay.
        24          A      -- before Exhibit 61.
        25          Q      And it has similar content?
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                                                                         Page 225
         1          A      It does have similar content, yes.
         2          Q      But a different writing style?
         3          A      Different words, certainly, yes.
         4          Q      All right.     So would you be comfortable
         5    stating that it's probable that is the
         6    communication Dr. Wright was referring to?
         7          A      Yes.
         8          Q      Okay.   And if -- if there were no other
         9    emails between -- in that 50-minute span, would you
        10    be very convinced that that is the actual -- that
        11    Dr. Wright is referring to Exhibit 62 when he says,
        12    "The email I send to you a few moments back"?
        13          A      Yes.
        14                      MR. FREEDMAN:     Objection to form.
        15          Q      Okay.   Now, was part of this, these two
        16    emails, did you understand it that Dr. Wright was
        17    trying to show you that he could write like Satoshi
        18    Nakamoto?
        19          A      I hadn't thought about it until now,
        20    frankly.
        21          Q      All right.     And now that you've thought
        22    about it...
        23          A      Now that I've thought about it, yeah,
        24    that seems to be what he's doing here.
        25          Q      And you, in fact, were familiar with
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                                                                         Page 226
         1    Satoshi's writing style, correct?
         2          A      Yes.    I think I probably read everything
         3    that he wrote publicly.
         4          Q      Sure.    And, in addition to what Satoshi
         5    had -- had written publicly, you had also had a
         6    series of email conversations with Satoshi,
         7    correct?
         8          A      Yes.
         9          Q      Now, we've seen a lot of them related to
        10    coding-type things and programming, correct?
        11          A      Yes.
        12          Q      But would it be accurate to state that
        13    some of those conversations were more expansive
        14    than that?
        15          A      Yes, we'd talk about things related to
        16    making the Bitcoin project succes -- successful.
        17                      (Pause.)
        18                      MR. KASS:    We're gonna take a
        19    five-minute break.       Off the record.
        20                      THE VIDEOGRAPHER:       The time is
        21    3:46 p.m.     We're going off the record.
        22                      (Off record.)
        23                      THE VIDEOGRAPHER:       The time now is
        24    3:51 p.m.     We're back on the record.
        25                      (Exhibit 63 marked for
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                                                                         Page 227
         1                        identification.)
         2    BY MR. KASS:
         3          Q      I'm introducing Exhibit 63.         Do you
         4    recognize that document?
         5          A      Yes.
         6          Q      It is an email conversation between you
         7    and Satoshi Nakamoto?
         8          A      Yes.
         9          Q      And in this email, it's -- are you
        10    talking about more than just coding?
        11          A      Well --
        12          Q      Let me rephrase that question.
        13                      More than just code?
        14          A      More than just code.       Yeah, we're talking
        15    about user interface for the Bitcoin software and
        16    how it should work.
        17                      (Exhibit 64 marked for
        18                      identification.)
        19          Q      And I'm going to introduce Exhibit 64.
        20    Do you recognize this document?
        21          A      Yes.
        22          Q      And is it an email between you and
        23    Satoshi Nakamoto?
        24          A      Yes.
        25          Q      And are you talking about more -- or is
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                                                                         Page 228
         1    Satoshi talking to you more than just about code?
         2            A    Yeah, he's talking about -- well, he's
         3    talking about the design of the -- of the software
         4    and how it should work.
         5                        (Exhibit 65 marked for
         6                        identification.)
         7            Q    And I'm going to introduce Exhibit 65.
         8    Do you recognize this document?
         9            A    Yes.
        10          Q      Is it an email between you and Satoshi
        11    Nakamoto?
        12          A      Yes.
        13          Q      And are you talking about more than just
        14    code?
        15          A      Yes.
        16          Q      Okay.    And would it be fair to -- and
        17    would it be fair to say it's a fairly lengthy email
        18    from Satoshi Nakamoto to yourself?
        19          A      Yeah, it's mostly about code, but there
        20    are -- I mean, we do talk about team members and --
        21    and kind of higher level software development
        22    stuff.
        23          Q      Okay.    And I'm going to introduce
        24    Exhibit 66.
        25                      (Exhibit 66 marked for
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                                                                         Page 229
         1                        identification.)
         2          Q      Do you recognize this document?
         3          A      Yes.
         4          Q      Is it an email between you and Satoshi
         5    Nakamoto?
         6          A      Yes.
         7          Q      Are you talking about anything in
         8    addition to code?       And by "you," I also mean
         9    Satoshi.     The conversation, does it involve things
        10    in addition to code?
        11          A      Yeah, we're talking about potential
        12    attacks on the Bitcoin software.
        13          Q      All right.     So I just showed you four
        14    exhibits, and would it be accurate to state that in
        15    the last four exhibits that I just showed you,
        16    those are examples of conversations you had with
        17    Satoshi Nakamoto that encompassed things in
        18    addition to coding and programming language?
        19          A      Yes.
        20                      MR. FREEDMAN:     Object to form.
        21          Q      So based on that, would -- would it be
        22    fair to state that you had an understanding as to
        23    Satoshi's writing style?
        24          A      I think I had a --
        25                      MR. FREEDMAN:     Objection to form.
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                                                                         Page 230
         1           A     I would say I had a feeling for Satoshi's
         2    writing style.       I'm not sure I would say
         3    understanding.
         4           Q     And do you recall if, after receiving
         5    the -- the two emails from Dr. Wright that were
         6    about 50 minutes apart, if that was sufficient to
         7    convince you to go on a plane to London to meet
         8    him?
         9           A     Yes, I believe that was sufficient to
        10    convince me to get on an airplane.
        11           Q     Okay.    So would it be fair to state that
        12    you believed that that writing style was consistent
        13    with the previous writing style of Satoshi?
        14           A     Yes.    I felt like it could be the same
        15    person.
        16           Q     Okay.    And when Dr. Wright sent you those
        17    emails, what year was it in?
        18           A     When Dr. Wright sent me those emails, I
        19    would have to go back and look at the -- the -- the
        20    email headers.       2016, was it?     Again, I have a
        21    terrible memory for dates.
        22           Q     You can look at the email.         It's just a
        23    few back.
        24           A     2016.
        25           Q     Okay.    Could -- do you know if Dave
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                                                                         Page 231
         1    Wright -- Dave Kleiman wrote those emails for
         2    Dr. Wright?
         3          A      I'm sorry.     Ask that again.
         4          Q      Do you know if -- if Dave Kleiman wrote
         5    those emails for Dr. Wright, those two emails that
         6    were -- that were 50 minutes apart?
         7          A      I -- I don't know.
         8          Q      Do you know if he could have written
         9    those emails?
        10          A      I don't know.
        11          Q      Do you know if he was alive at that point
        12    in time?
        13          A      I don't know.
        14          Q      If I were to tell you he passed away in
        15    2013, would that affect your answer?
        16          A      If you tell me he died in 2013, then I
        17    don't believe in ghosts.
        18          Q      So you don't believe it was Dave Kleiman
        19    who was communicating with you in 2016?
        20          A      Correct.    I believe it was Craig Wright.
        21          Q      Okay.
        22          A      Maybe there are ghosts.
        23          Q      How would you describe your relationship
        24    -- your current -- your current relationship with
        25    Craig Wright?
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                                                                         Page 232
         1          A      I don't think I have a relationship with
         2    Craig Wright at the moment.
         3          Q      Okay.   How would you describe your
         4    relationship with Craig Wright after you flew to
         5    London?
         6          A      I would say we had a cordial
         7    relationship.
         8          Q      Okay.   And were you shown emails earlier
         9    on today where you continued communicating with
        10    Dr. Craig Wright after that public session, correct
        11    -- or after the -- after the -- Dr. Wright released
        12    that -- what appeared -- what he stated was the --
        13    the transaction, correct --
        14                      MR. FREEDMAN:     Objection to form.
        15          Q      -- publicly?
        16          A      Yes, we continued to have some email
        17    conversations sporadically after that whole proving
        18    session and then blog post and then mess.
        19          Q      Sure.   And were there some sort of
        20    apologies going back and forth?
        21          A      Yes.
        22          Q      Okay.   And did you tell him that you
        23    understood, and you didn't really hold hard
        24    feelings?
        25          A      I -- well, it's what I said in the email,
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                                                                         Page 233
         1    which I -- I don't recall exactly what I said, but
         2    it is in the email.
         3            Q    Okay.
         4            A    I believe I said I was not angry, but I
         5    was disappointed, and I certainly, personally, took
         6    a lot of heat and abuse.
         7            Q    But -- but you weren't angry with him?
         8            A    No, I don't think I was angry.
         9            Q    Okay.    Now, you've testified previously
        10    this morning that you've been doing coding for
        11    quite a while?
        12          A      Yes.
        13          Q      And how many years have you been doing
        14    coding?
        15          A      Well, let's see.      I graduated from high
        16    school in 1984.       I got my first -- I saved up when
        17    I was a freshman in high school for my
        18    Commodore 64, which would have been 1980 -- about
        19    1980.
        20          Q      Um-hm.
        21          A      So since 1980, probably, I've been
        22    programming.
        23          Q      Okay.    And was a portion of that
        24    programming professionally?
        25          A      Yes.
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                                                                         Page 234
         1            Q      Would it be fair to say that you have
         2    sufficient skills to look at code that was written
         3    and have an understanding as to the coder's coding
         4    style?
         5            A      Yes.
         6            Q      And have you looked at the original
         7    Bitcoin software code?
         8            A      Yes.
         9            Q      Have you read the entire code of the
        10    original release?
        11          A        I don't think I've read every single
        12    line, but I've read large portions of it.
        13          Q        Okay.   And have you reached any opinion
        14    as to how many people wrote the code?
        15          A        My impression is that a small number of
        16    people, possibly one, wrote the code, just because,
        17    in a large programming project, you have to do a --
        18    a good job of documenting what you're doing and
        19    kind of coordinating among multiple people, and the
        20    original Bitcoin code didn't have kind of any of
        21    that.       It was dense and -- and not a lot of
        22    comments, not a lot of explanation of, you know,
        23    what different pieces of the code were doing.              So
        24    that -- that gave me the impression that it was a
        25    small number of people, maybe one person.
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                                                                         Page 235
         1          Q      Okay.    Would you state that it was likely
         2    by one person?
         3                        MR. FREEDMAN:   Objection, form.
         4          A      It could be.     I mean, any piece of code,
         5    you know, there are -- it wouldn't surprise me at
         6    all if -- if different parts were written by
         7    different people.        I mean, it's -- it's a large --
         8    well, it's a moderate size code base --
         9          Q      Um-hm.
        10          A      -- but a lot of different parts.          And so
        11    it wouldn't surprise me at all if, you know, some
        12    of the networking code was written by a different
        13    person, for example.
        14          Q      Right.    So a discrete portion of it could
        15    have been written by someone else?
        16          A      Yes.
        17          Q      Okay.    But as far as the general body of
        18    it, would it be fair to say, based on actually
        19    looking at the code, that it appears that it likely
        20    was one person who did the bulk of the work?
        21          A      Probably.
        22                      MR. FREEDMAN:     Objection to form.
        23          A      It's possible it was multiple people who
        24    just had the same coding style.
        25          Q      Um-hm.
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                                                                         Page 236
         1          A      You know, certainly like if people work
         2    together at a company, there's usually a company
         3    coding style, and, you know, it is possible to
         4    create, you know, a body of code that has a very
         5    consistent coding style that's written by more than
         6    one person.
         7          Q      And if you were to do that, would the
         8    coders have to have similar skill sets as far as
         9    coding goes?
        10          A      No.
        11          Q      Okay.    So could you have a coder who only
        12    knows how to write BASIC script drafting code
        13    together with someone who's a brilliant coder?
        14          A      Yeah, I'd say that's possible.
        15          Q      And -- and how would that work?
        16          A      Well --
        17                       MR. FREEDMAN:    Objection, form.
        18          A      -- in any piece of software, there will
        19    be parts of the software that are critical --
        20          Q      Um-hm.
        21          A      -- that have to be absolutely right, and
        22    that there will be other parts of the software that
        23    just aren't critical.        For example, you know, like
        24    you might write code that prints out a help message
        25    if you get something wrong.         You know, a junior
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         1    programmer could very easily be in charge of doing
         2    all the help messages or something.
         3          Q      Right.    But would that junior programmer
         4    at least need to know how to code and program; that
         5    be fair?
         6          A      Sure, yes.
         7          Q      Okay.
         8          A      It's not that hard.
         9          Q      Hey, to me this is...
        10          A      I'm sure I could teach you.
        11          Q      All right.     Okay.   Now, if we could go
        12    back to -- I need to find an exhibit.            Sorry.
        13                      (Pause.)
        14          Q      All right.     If you could go back to
        15    Exhibit 59.
        16          A      (Witness complied.)
        17          Q      And if you could go to the last page, so
        18    it's 3 of 3.
        19          A      Yeah.
        20          Q      And do you see where it says, "If you ask
        21    a geek to look at some of the code I've written in
        22    the past, and look at Satoshi's early code, they
        23    can tell it's written by two different people, a
        24    different writing style," right?           You could tell.
        25    "I mean, you could tell the difference between a
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                                                                           Page 238
         1    Kurt" --
         2                        THE STENOGRAPHER:     Excuse me?
         3                        MR. KASS:   I'm sorry.
         4           Q     "You could tell the difference between a
         5    Kurt Vonnegut novel and a Jackie Collins novel, or
         6    whatever."
         7                        Do you recall stating that?
         8           A     I don't recall it, but I believe that I
         9    did.
        10           Q     Okay.    So would it be fair to state, at
        11    least based on that comment, that you believe there
        12    was one person who wrote the Bitcoin code?
        13           A     No.
        14           Q     Okay.    And why, why not?
        15           A     Again, you can have multiple people who
        16    have the same coding style.
        17           Q     Okay.    So other than -- okay.        Let me
        18    rephrase that question.
        19                       So would it be fair to state that you
        20    believed that the Bitcoin software was written in
        21    one style -- coding style?
        22           A     Yes.
        23           Q     Okay.    And that could either mean that
        24    one person wrote it, or that more than one person
        25    wrote it but that they all had the same coding
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                                                                         Page 239
         1    style?
         2          A      Yes.
         3          Q      Okay.    Got it.
         4                        Now, I want to go to when you flew to
         5    London to attend the private proof session with
         6    Dr. Wright.
         7                        You stated that you met Dr. Wright I
         8    believe it was maybe two hours after you got off
         9    the flight.     Do you recall something along those
        10    lines?
        11          A      If I recall correctly, I got a little bit
        12    of sleep at the hotel room.
        13          Q      Um-hm.
        14          A      And then I met with the, quote-unquote,
        15    money guys; and then, yeah, an hour or two after
        16    meeting with them, Craig Wright came into the room.
        17          Q      Okay.    And do you recall how much sleep
        18    you got?
        19          A      Just a couple of hours, one or two hours.
        20          Q      Okay.    So -- and you had previously
        21    testified that you were jet lagged?
        22          A      Yes.    Yes, I -- I -- I can't sleep on
        23    airplanes very well, so...
        24          Q      Okay.    And you had also testified that
        25    you don't remember a lot of specific details of
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         1    that day?
         2          A      Correct.    I remember a few details, but
         3    not many at all.
         4          Q      All right.     And, for example, you
         5    couldn't remember exactly how the signing took
         6    place?
         7          A      Correct.
         8          Q      And you couldn't remember how the hotel
         9    Wi-Fi was accessed?
        10          A      Correct.
        11          Q      And I'm not gonna go through every single
        12    one, but you would agree that today you -- you
        13    acknowledge that there are multiple things you
        14    could not remember about that, right?
        15          A      Yes.    Like I wouldn't be able to tell you
        16    what brand of laptop was purchased.            I just -- I
        17    don't remember.       I don't know.
        18          Q      Okay.    And is one reason for that because
        19    you were jet lagged?
        20          A      Yes, probably.      I mean, the other reason
        21    would be I -- I tend to have a bad memory for
        22    details.     Good memory for numbers --
        23          Q      Okay.
        24          A      -- but bad memory for dates, proper
        25    names, details of what happened last week, last
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         1    month, last year.
         2          Q      And could another reason also be the
         3    passage of time?
         4          A      Absolutely.
         5          Q      Because all this took place in 2016,
         6    correct?
         7          A      Correct.
         8          Q      So almost five years ago?
         9          A      2020.    Four years.
        10          Q      Four years.     Yeah, almost four years ago?
        11          A      Yes.
        12          Q      Now, you initially stated that you
        13    recalled some sort of conversation about Dave
        14    Kleiman?
        15          A      Yes.
        16          Q      But initially you weren't very convinced
        17    -- or very -- weren't very -- would it -- would it
        18    be fair to say that -- that you weren't very sure
        19    in your memories?
        20          A      Yes.    I certainly -- I don't remember
        21    what I heard when or what I have read in public
        22    accounts.
        23          Q      Okay.    And is it possible that what you
        24    know about Satosh -- Craig's involvement or Dave's
        25    purported involvement in -- at Satoshi came from a
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         1    source other than Dr. Craig Wright?
         2          A      I think that's unlikely, because I do
         3    have that memory of -- of Craig being emotional
         4    around the subject of Dave.
         5          Q      Okay.   So you have in your mind that
         6    Dr. Wright was emotional about Craig, and that
         7    happened in London, correct?
         8          A      Dr. Wright was emotional about --
         9          Q      -- Dave.
        10          A      -- Dave.
        11          Q      And it happened --
        12          A      That happened in London, yes.
        13          Q      Okay.   Around the proof session time?
        14          A      Yes.
        15          Q      Okay.   But -- and that's -- is that
        16    because -- and why -- why, in particular, does that
        17    stick out in your mind?
        18          A      I think it just sticks out because when
        19    you see somebody acting obviously emotional, sad,
        20    choked up, that's the kind of thing that just
        21    sticks in your memory.
        22          Q      Okay.
        23          A      You know, it's -- it's unusual; you don't
        24    generally see a grown man almost crying.
        25          Q      So would it be fair to state that
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                                                                         Page 243
         1    Dr. Wright was upset about the passing of Dave
         2    Kleiman?
         3          A      Yes, that -- he appeared to be, yes.
         4          Q      And he was emotional about that?
         5          A      Yes.
         6          Q      Now -- but as far as the actual -- actual
         7    substance of the conversation that Dr. Wright said
         8    about Dave Kleiman, do you recall much about that?
         9          A      No, I don't.
        10          Q      Okay.   So what you really remember most
        11    is his emotions?
        12          A      Yes.
        13          Q      And that there was a conversation about
        14    Dave Kleiman?
        15          A      A conversation.      Yeah, some discuss --
        16    some mention.
        17          Q      A mentioning?
        18          A      Yes.
        19          Q      Okay.   All right.     But -- but you can't
        20    state for certain that at that point in time he --
        21    Dr. Wright said Dave Kleiman was the third Satoshi?
        22                      MR. FREEDMAN:     Objection, form.
        23          A      I do seem to recall him saying that there
        24    were three people involved, and that Dave was one
        25    of the three people involved.
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                                                                         Page 244
         1          Q      Okay.    So now you do recall that that
         2    happened at that conversation?
         3                        MR. FREEDMAN:   Objection.
         4          A      I believe that did -- that did happen
         5    around -- yes.
         6          Q      All right.     Could it have been that
         7    somebody else had said it --
         8                        MR. FREEDMAN:   Objection.
         9          Q      -- other than Dr. Wright?
        10                      MR. FREEDMAN:     Objection.
        11          A      It's possible.
        12          Q      And is it possible -- do you recall that
        13    there was a chain of emails from somebody called
        14    "Uyen Nguyen"?
        15          A      Yes.
        16          Q      And do you recall if she talked about
        17    Dave Kleiman in those emails?
        18          A      I don't recall.      I'd have to go back and
        19    read those emails.
        20          Q      Okay.    So if I were to show you an email
        21    where she's talking about Dave's involvement in
        22    Satoshi, could -- could that be the source of your
        23    memory as to Dave's involvement?
        24          A      It's possible, but I think unlikely.
        25          Q      Okay.    Well, how about we look at the
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                                                                         Page 245
         1    emails.
         2          A      Okay.
         3          Q      It's not a memory test.
         4          A      Good, because I would fail, miserably.
         5                        (Exhibit 68 marked for
         6                        identification.)
         7          Q      Okay.    I'm going to introduce for the
         8    record -- I'm jumping one 'cause I mislabeled --
         9    we'll get back to it maybe -- but I'm introducing
        10    68.
        11                      Do you recognize this email?
        12          A      Yes.
        13          Q      Is it an email between Uyen Nguyen and
        14    yourself?
        15          A      Yes.
        16          Q      Okay.    Now, do you see in the first
        17    paragraph how she is mentioning Dave Kleiman?
        18          A      Yes.
        19          Q      And -- and Craig Wright?
        20          A      Yes.
        21          Q      And then if you go down to the paragraph
        22    that "I write this letter"; you see that?
        23          A      Yes.
        24          Q      And there it says, "Craig is one-third
        25    Satoshi"?
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                                                                         Page 246
         1          A      Yes.
         2          Q      And, "He is the only survivor now"?
         3          A      Yes.
         4          Q      All right.     And do you understand if --
         5    if Dave Kleiman was alive in 2016?
         6          A      You have told me he was not.
         7          Q      Okay.   Now, would it be fair to state
         8    that, based on this email at least, Uyen Nguyen is
         9    stating that Craig Wright was only one-third of
        10    Satoshi?
        11          A      Yes.
        12          Q      And that there were other people, I
        13    presume, with the other two-thirds?
        14          A      Yes.
        15          Q      Could this have been the source of your
        16    memory that Craig was only a third of Satoshi?
        17                      MR. FREEDMAN:     Objection, form.
        18          A      May 3rd, 2016.      I suppose it's possible.
        19          Q      Now, I think this actually might help us
        20    a lot.    Okay.
        21                      (Exhibit 69 marked for
        22                      identification.)
        23          Q      I am going to introduce Exhibit 69.
        24                      Do you recognize this document?
        25          A      Yes.
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                                                                         Page 247
         1          Q      What is it?
         2          A      This is the blog post I wrote in 2016
         3    saying that I believe Craig Wright is Satoshi
         4    Nakamoto.
         5          Q      And what month did you write it in?
         6          A      May -- I posted it on May of 2016.
         7          Q      That's fair.
         8                        And that was after you met with
         9    Dr. Wright in London, correct?
        10          A      Yes, that's correct.
        11          Q      And that -- that was a few weeks after?
        12                       MR. FREEDMAN:    Objection.
        13          A      Yes.
        14                       MR. FREEDMAN:    A month.
        15          Q      And did you do your best to make sure
        16    that what you posted on the blog was as accurate
        17    that you believed could be?
        18                       MR. FREEDMAN:    Objection, form.
        19          A      Yes.
        20          Q      Let me ask -- let me ask it another way.
        21                       Would you write something on your
        22    blog that you had doubts as to the veracity?
        23          A      No.
        24          Q      Now, could you read the first sentence of
        25    the blog?
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                                                                         Page 248
         1            A    "I believe Craig Steven Wright is the
         2    person who invented Bitcoin."
         3            Q    Now, I want you to focus on the word
         4    "the," okay?      If you had been told that Craig -- by
         5    Craig Wright that he was only one -- a third of
         6    Bitcoin, would you have written, "I believe
         7    Dr. Craig Wright is 'the' person who invented
         8    Bitcoin"?
         9            A    Maybe.
        10          Q      Okay.    Do you care to explain?
        11          A      Yeah.    Because, if I recall correctly,
        12    and it's very possible that I don't, Craig had said
        13    that he was the primary creator, the inventor of
        14    Bitcoin, the system, but he had help from other
        15    people in the beginning to actually make it happen.
        16          Q      So when did that -- if that -- if that
        17    conversation took place, which we're not sure,
        18    wouldn't it have been more accurate to state that I
        19    believe Craig Steven Wright is one of the people
        20    who invented Bitcoin?
        21          A      Inventing means you came up with the
        22    idea.
        23          Q      Okay.
        24          A      So if I had said, you know, I think it --
        25    I could say I believe Craig Wright is one of the
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         1    people who developed the first version of the
         2    Bitcoin software, you know, I think that's what I
         3    would have said.
         4                      But, I mean, the word "invented"
         5    means came up with the idea, sprang out of your
         6    head, and so that's what I mean there.
         7          Q      Okay.    So would it be fair to say that
         8    regardless of what conversation you had with Craig
         9    Wright in -- in London, which, you know, we
        10    understand there's some clouds surrounding it, but
        11    whatever had happened, at a minimum, you still
        12    believe that Craig Wright was the brain child, the
        13    one who came up with the idea?
        14          A      I have my doubts at this point.
        15          Q      Correct.    But at this point, I just want
        16    to know --
        17          A      When I wrote the blog post, yes, I
        18    believed that he was the primary --
        19          Q      Sure.
        20          A      -- inventor of the idea of Bitcoin.
        21          Q      Right.    And just to clarify, I'm just
        22    trying to work backwards, just to figure out what
        23    that conversation could have been.           Because we know
        24    for sure what you wrote, and we know that you were
        25    trying to do your best to make sure it was
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                                                                         Page 250
         1    accurate.     So I'm trying to figure out what the
         2    parameters of your conversation could have been.
         3            A    Okay.
         4            Q    Okay.    So would it be fair to state that
         5    Dr. Wright didn't tell you that Dave Kleiman was an
         6    inventor of Bitcoin?
         7            A    Correct.
         8            Q    Okay.    And that, at most, he had an
         9    assisting role, if that conversation happened?
        10                       MR. FREEDMAN:    Objection.
        11          A      Yes.    And I think, for example, he said
        12    the third mysterious person -- if I recall
        13    correctly --
        14          Q      Um-hm.
        15          A      -- this third mysterious person helped
        16    out with the cryptography.
        17          Q      Okay.    Do you recall, if this
        18    conversation happened, what Dave's role would have
        19    been?
        20          A      No.
        21          Q      We know it could have been something, but
        22    not the invention portion of it?
        23          A      Sure.
        24          Q      Okay.    You've been involved in Bitcoin
        25    since around 2010; is that accurate?
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                                                                         Page 251
         1          A      Yes.
         2          Q      Would it be fair to state that certain
         3    people may have very strong opinions as to how
         4    Bitcoin should look or function?
         5          A      Yes.    Yes.   Many people have many
         6    opinions on how Bitcoin should function.
         7          Q      And that some people have done pretty
         8    drastic things to try and get their way?
         9          A      That's fair to say.
        10          Q      Okay.    Do you know if people have ever
        11    been hacked in the controversy -- in the Bitcoin
        12    controversies?
        13                      MR. FREEDMAN:     Objection, form.
        14          A      I don't know if people have been hacked.
        15    I don't have any firsthand knowledge that people
        16    have been hacked.
        17          Q      Sure.    Did there come a point in time
        18    where -- are you familiar with -- I believe it's
        19    called "Bitcoin XT"?
        20          A      Yes.
        21          Q      Are you familiar with it?
        22          A      Yes.    I was one of the creators of
        23    Bitcoin XT.
        24          Q      Sure.    And does Bitcoin XT currently
        25    exist?
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                                                                         Page 252
         1          A      No.
         2          Q      What happened to Bitcoin XT?
         3          A      Bitcoin XT was a project that, if I
         4    recall correctly, Mike Hearn and I launched to try
         5    to increase the Bitcoin block size to allow more
         6    transactions on the Bitcoin network.            And it failed
         7    to get enough miner support.          The Bitcoin miners
         8    did not go along with it, and it was extremely
         9    controversial when we launched it.
        10                       There also -- it was attacked by
        11    denial-of-service attacks; and, certainly, Mike and
        12    I took a lot of heat for trying to make that change
        13    to the Bitcoin software.
        14          Q      And do you consider a denial-of-service
        15    attack a kind of hack?
        16          A      It's -- it's a kind of hack.
        17          Q      So would it be fair to say that a hacker
        18    worked hard to take down Bitcoin XT?
        19          A      Yes.
        20                       MR. FREEDMAN:    Objection, form.
        21          Q      All right.     And do you recall if
        22    Satoshi's email accounts were ever hacked?
        23          A      There was an incident, which I don't have
        24    firsthand knowledge of, but I believe the GMX --
        25    the reports I saw said that the satoshin@gmx.com
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         1    email expired and then was taken over by somebody.
         2          Q      All right.     I want to show you
         3    Exhibit 70, and we'll see if that could refresh
         4    your recollection.
         5                        (Exhibit 70 marked for
         6                        identification.)
         7          A      Oh, I forgot about this.
         8          Q      Does it -- let's start off with, what is
         9    this exhibit, do you recognize it?
        10          A      Yes.    This is an email from me to the
        11    rest of the -- the key Bitcoin developers in 2014.
        12          Q      Sure.    And does this refresh your
        13    recollection as to whether the Satoshi account was
        14    hacked?
        15          A      Yes.    Somebody did get ahold of Satoshi's
        16    email address and took over control of the old
        17    Bitcoin source repository, which, happily, we had
        18    moved away from.       So it had no practical --
        19    practical effect, but it was not a good thing to
        20    happen.
        21          Q      Okay.    So we just discussed two instances
        22    of hacking in the Bitcoin community; is that fair
        23    to say?
        24          A      Ye -- hacking?
        25          Q      The denial of service and then the email.
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                                                                         Page 254
         1          A      Yeah, hacking doesn't have a clear
         2    definition; but, yes, those were attacks.
         3          Q      Okay.
         4          A      Sorry.    As a security-conscious person,
         5    like, the word "hacking" is very fuzzy, and I much
         6    prefer the term "attack."
         7          Q      Fine.    Attack.    Okay.    So there were two
         8    attacks, computer cyber attacks?
         9          A      Yes.
        10          Q      And at least in one of those attacks,
        11    somebody got access to Satoshi's email account?
        12          A      Yes.
        13          Q      Are you aware of any other cyber attacks
        14    or hacking, however you want to define it, related
        15    to Bitcoin?
        16          A      Yes.    There have been several over the
        17    years.
        18          Q      Do you care to list -- or please list the
        19    ones that you recall.
        20          A      Gosh.    Somebody in 2010 created a Bitcoin
        21    transaction that created 4 billion Bitcoins --
        22          Q      Um-hm.
        23          A      -- leveraged a bug in the Bitcoin
        24    software.     Satoshi responded to that by rolling
        25    back the chain, as they say, invalidating that
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         1    transaction and putting -- putting things back to
         2    rights and patching the code.
         3          Q      Um-hm.
         4          A      We had transaction-spamming attacks in
         5    2010, where people would send millions upon
         6    millions of tiny transactions to try to flood the
         7    Bitcoin network --
         8          Q      Um-hm.
         9          A      -- and cause everybody to do a lot of
        10    extra work validating those transactions.             We had
        11    to respond to those.
        12                      I don't know.     I'd have to go down --
        13    there's a -- there's a list on the Bitcoin wiki of
        14    all the ways, you know, the -- the core Bitcoin has
        15    either had bugs or been hacked.           And I'd have to go
        16    back and look at that if you want more, but there
        17    are -- there are a few more.
        18          Q      That's fine.     So would it be fair to say
        19    that hacking is kind of part of the Bitcoin story?
        20                      MR. FREEDMAN:     Objection, form.
        21          A      Certainly, yes, attacks and security
        22    incidents are definitely part of the -- of the
        23    Bitcoin story.
        24          Q      Now, you testified earlier on today that
        25    you had, some -- I believe it was sometime in 2010,
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                                                                         Page 256
         1    but correct me, created something called the
         2    "Bitcoin faucet"?
         3          A      Yes, I created the Bitcoin faucet as my
         4    first Bitcoin programming project.
         5          Q      Okay.    And what was the Bitcoin faucet?
         6          A      The Bitcoin faucet was a website, anybody
         7    could go and ask for some Bitcoins, and it would
         8    give you some Bitcoin.
         9          Q      Was there a limit to how many Bitcoin you
        10    could ask for?
        11          A      Yes.    You were limited to -- when I
        12    started, it was limited to five Bitcoins per person
        13    per day.
        14          Q      Okay.    And how long did the Bitcoin
        15    faucet run for?
        16          A      I'd have to go back and check when I
        17    eventually had to shut it down.           About two years
        18    maybe, a year and a half.
        19          Q      Okay.    So if you started it sometime in
        20    2010, so maybe sometime 2012 you shut it down; is
        21    that fair?
        22          A      Yeah.    And, again, I'd have to go back
        23    and check.     My memory is terrible for dates.
        24          Q      That's fine.     And when you got involved
        25    in -- in Bitcoin in 2010, did you believe -- what
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                                                                         Page 257
         1    did you believe as to its potential?
         2          A      I actually gave an Ignite talk in Amherst
         3    in, I think -- it was either late 2010 or maybe
         4    2011, where I talked about that.
         5                      I thought it had the potential to be
         6    a major world currency to compete with the dollar
         7    or the Euro or the Yen.        I thought it had a small
         8    chance of becoming the world's reserve currency,
         9    replacing the U.S. dollar, as kind of the currency
        10    used for international payments.
        11                      I didn't think that that would happen
        12    quickly, but I thought that there was a fair chance
        13    that that could happen.
        14          Q      Considering that, wouldn't it have made
        15    more sense to just hold onto your Bitcoin for when
        16    they're valuable, and then you could be immensely
        17    wealthy?
        18          A      Money is not useful unless -- money is
        19    not valuable unless people use it.
        20          Q      Um-hm.
        21          A      And it seemed to me the best way to make
        22    Bitcoin valuable was to get people using it.              So
        23    that was the purpose of the faucet, was to give
        24    people some Bitcoin so they could have some
        25    experience using it.        And I didn't give away all of
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                                                                         Page 258
         1    my Bitcoin through the Bitcoin faucet, I did hold
         2    some for myself.
         3          Q      All right.     And if I were to ask what
         4    percentage of your Bitcoin you gave away through
         5    the Bitcoin faucet, do you know that answer?
         6          A      I have -- I'm not sure I understand the
         7    question.
         8                        MR. FREEDMAN:   Object.
         9          Q      You stated you gave away Bitcoin through
        10    the Bitcoin faucet?
        11          A      Yes.
        12          Q      You also stated that you held onto some
        13    Bitcoin?
        14          A      Yes.
        15          Q      All right.     Do you know the -- the
        16    relationship between the percentages of Bitcoin
        17    that you held onto versus the amount of Bitcoin
        18    that you gave away?
        19          A      Yes.
        20          Q      And what would it be?
        21          A      I've given away more Bitcoin than I held.
        22          Q      Okay.    Do you recall ever stating that
        23    not all the people who were involved in early
        24    Bitcoin are necessarily wealthy?
        25          A      Yes, I wrote a blog post about that not
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                                                                         Page 259
         1    too long ago.
         2          Q      Okay.   Let me actually see if I can pull
         3    that up.
         4                      THE STENOGRAPHER:       Can we take a
         5    quick break?
         6                      MR. KASS:    Sure.
         7                      THE VIDEOGRAPHER:       The time is -- the
         8    time is 4:34 p.m.       We've now reached the end of
         9    Media Unit No. 3, and we're off the record.
        10                      (Off record.)
        11                      THE VIDEOGRAPHER:       The time now is
        12    4:44 p.m.     We're coming back on the record.           Now
        13    beginning Media Unit 4 in a deposition with Gavin
        14    Andresen.     We're on the record.
        15                      MR. KASS:    All right.      I'm just going
        16    to put on the record the agreement that I have with
        17    Mr. Freedman, and if it's inaccurate in any way,
        18    Mr. Freedman, please chime in, is that we will be
        19    stopping the deposition at 5:00 so Mr. Freedman can
        20    catch his flight.       We will resume the deposition
        21    tomorrow morning at 11:00, and I will have two and
        22    a half hours to continue the deposition, which will
        23    take us to 1:30, after which Mr. Freedman will have
        24    a half hour for cross or redirect.
        25                      Do you agree, Mr. Freedman?
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         1                        MR. FREEDMAN:    Yes, as long as you
         2    help me with the exhibits like you promised.
         3                        MR. KASS:    Yes, I did, and the
         4    witness has indicated that he is -- will show up
         5    tomorrow, and he is accommodating us and we
         6    appreciate that.
         7                        MR. FREEDMAN:    Accommodating you.
         8                        MR. KASS:    We have enough things to
         9    argue about.
        10                       All right.    Let's go.
        11                       (Exhibit 71 marked for
        12                       identification.)
        13    BY MR. KASS:
        14          Q      I'm introducing Exhibit -- sorry.           What
        15    exhibit was that, 71?
        16          A      71.
        17          Q      71.    All right.    Do you recognize this
        18    document?
        19          A      Yes.    This is a blog post I wrote,
        20    apparently a while ago, in 2018.
        21          Q      But it's fresh in your mind?
        22          A      It is somewhat fresh in my mind, yeah.
        23    Actually, I wrote another blog post recently and
        24    went back and read a couple other of my older blog
        25    posts.
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                                                                         Page 261
         1           Q     Okay.    Got it.    And what's the substance
         2    of this blog post?
         3           A     A lot of people assume that if you were
         4    working on Bitcoin early in 2010, 2011 that you
         5    must be fantastically wealthy and have hundreds of
         6    millions of dollars.
         7           Q     Um-hm.
         8           A     And this just goes through reasons why
         9    that's a bad assumption and why probably a lot of
        10    people who -- who were working on Bitcoin that
        11    early do not have as much money as people think.
        12           Q     And what are the reasons that you lay out
        13    in your blog post?
        14           A     The reasons are, you know, back then,
        15    people were very free with their Bitcoin, so they
        16    weren't worth very much.         When I funded the
        17    Bitcoins that I gave away in the Bitcoin faucet, I
        18    purchased them -- I purchased 10,000 Bitcoins for
        19    $50.
        20           Q     Okay.
        21           A     So they were worth half a penny apiece,
        22    one-half of one cent per Bitcoin, which is why I
        23    could give away five of them, because they were
        24    only worth two and a half cents.
        25           Q     Um-hm.
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                                                                         Page 262
         1          A      And which is why when the Bitcoin faucet
         2    got hacked and I lost, I think, 10 Bitcoins that
         3    were sitting in the Bitcoin faucet, I didn't cry,
         4    because at that time they were worth $20 or
         5    something.     Now those Bitcoins would be worth a
         6    hundred thousand dollars, so it would be something
         7    to cry -- cry about now.
         8                      But people confound the value of
         9    Bitcoin today with the value of Bitcoin back then.
        10    So people were doing things like buying alpaca
        11    socks from the alpaca farmer that is across the
        12    river here --
        13          Q      Um-hm.
        14          A      -- for 50 Bitcoin.       So people would spend
        15    50 Bitcoin on a pair of socks.          Which, again, at a
        16    price of $10,000 for Bitcoin, you don't want to do
        17    that math.     That's a very expensive pair of socks.
        18    But that's what people did.
        19                      I know Jeff Garzik, one of the other
        20    core developers who I worked with early on, I think
        21    he's pretty public about using -- like spending
        22    10,000 Bitcoin on -- I forget exactly what it was,
        23    but some -- he paid 10,000 Bitcoin to somebody to
        24    open source some piece of software.            Because,
        25    again, 10,000 Bitcoins back then wasn't worth that
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         1    much.
         2                        And the other big reason why people
         3    don't have as much as you think is because if you
         4    did buy 10,000 Bitcoins for $50, and then Bitcoin
         5    goes up to $10 a piece, suddenly you're sitting on
         6    a hundred thousand dollars worth of capital gains,
         7    and it -- you -- probably crosses your mind that,
         8    well, maybe I'd like to spend $50,000 and pay down
         9    my mortgage or -- or spend them some other way.               So
        10    as Bitcoin rises in price, there's more and more an
        11    incentive to -- to sell those Bitcoins that you --
        12    you purchased earlier.
        13                      And so I think most people did not
        14    hold on to every Bitcoin that they had.             They
        15    either spent them or exchanged them and, you know,
        16    bought something nice for themselves.
        17          Q      Sure.    And, you know, based on your --
        18    your understanding and everything that you just
        19    stated, would -- would you believe it would be
        20    inconsistent for someone to be sitting on a large
        21    stash of -- stash of Bitcoin worth a couple of
        22    hundred million dollars but be in foreclosure and
        23    unable to pay a cell phone bill?
        24          A      Yes.
        25          Q      Okay.
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                                                                         Page 264
         1                        MR. FREEDMAN:   Objection, form.
         2          Q      Now, I -- I just want to -- one other
         3    thing that you just mentioned, I believe you
         4    mentioned that Bitcoin faucet was hacked?
         5          A      Yes, the Bitcoin faucet was hacked.
         6          Q      So is that another instance of hacking?
         7          A      Sure.    Yes.
         8          Q      And that happened to you personally?
         9          A      That happened to me personally, yes.
        10    The -- well, and, technically, it was the web
        11    hosting company that hosted the Bitcoin faucet was
        12    hacked, and so the Bitcoin faucet, plus a couple
        13    other Bitcoin businesses, were hacked.            And,
        14    happily, the Bitcoin faucet didn't have many
        15    Bitcoins, so I didn't lose much, but one of the
        16    others did, and it did lose a significant amount of
        17    Bitcoins out of their wallet.
        18          Q      All right.      So that's another instance of
        19    hacking.     So, actually, we know at least of -- of
        20    two people that were attacked in that hack?
        21          A      Yes.
        22          Q      Okay.    Now, I believe you testified
        23    earlier that early on Bitcoin mining was necessary
        24    to maintain the -- the blockchain network, the
        25    Bitcoin network?
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         1            A      Yes, it still is.
         2            Q      Okay.   And if somebody was participating
         3    in mining because they wanted to keep the network
         4    alive, would kind of a by-product of it be that
         5    they would -- would receive Bitcoin?
         6            A      Yes, that's correct.
         7            Q      And not necessarily were they actually
         8    mining to hold those Bitcoin?
         9            A      Correct.    If there's --
        10          Q        Or -- or -- or for the value, whatever
        11    value it was in those Bitcoins, correct?
        12          A        Sure.   Yes.
        13          Q        Okay.   So if -- and do you have an
        14    understanding as to what the value of Bitcoin was
        15    in 2010?
        16          A        At the beginning of 2010, Bitcoin had no
        17    value because there was no way to sell it.
        18          Q        How about around August of 2010?
        19          A        I'd have to go back and look.        And,
        20    again, I know May of 2010 I purchased Bitcoins for
        21    Bitcoin faucet at about a half a penny apiece.              By
        22    August, I don't think it had yet reached a dollar,
        23    but I don't know.         I'd have to go back and -- and
        24    look.       I don't -- I don't remember.
        25          Q        Okay.   So if somebody were -- were mining
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         1    primarily to keep the network alive, and Bitcoin
         2    weren't valued very much, would you be surprised if
         3    that person would put the Bitcoin in an encrypted
         4    drive and just kind of forget about it for the time
         5    being?
         6            A    No, that would not surprise me, and I
         7    think I've heard stories of people who mined
         8    Bitcoin for a little while and then just turned off
         9    their machines and reformatted their hard drive and
        10    the Bitcoins are lost forever.
        11          Q      Okay.   Are you familiar with what is
        12    called the "genesis" block?
        13          A      Yes.
        14          Q      What's the genesis block?
        15          A      The genesis block is basically a piece of
        16    data that's hard-coded, so it's in the software
        17    code, that is kind of the beginning of this chain
        18    of what are called "blocks."          So chains of -- of
        19    Bitcoin containing transaction -- Bitcoin block
        20    contains transactions, and the genesis block is --
        21    is the very first block that everything chains
        22    from.
        23          Q      So if somebody were to say that the
        24    genesis block was mined, would that be an accurate
        25    description?
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                                                                         Page 267
         1          A      No.   No, the genesis block was created.
         2    It didn't have to be mined in the same way --
         3          Q      Okay.
         4          A      -- as the rest of the blocks.
         5          Q      And if somebody made that statement,
         6    would you believe that person has a thorough
         7    understanding of how the Bitcoin network works?
         8          A      Yeah, I mean, the -- you do have to do
         9    some work to create a -- a genesis block.             So, you
        10    know, I would -- I would -- yes, I think you could
        11    say it was mined when it wasn't actually mined in
        12    the traditional way, and it -- you know, it would
        13    be okay.     It's a fuzzy enough idea of, you know,
        14    what mining is.
        15          Q      Well, what if somebody were to say that
        16    it was mined in the traditional way; would you
        17    consider that person knowledgeable as to the
        18    Bitcoin network?
        19          A      Well, it's tricky.       I mean, I -- I mined
        20    the genesis block -- or I created the genesis block
        21    for the test network, and it is a very similar
        22    process to traditional, you know, Bitcoin mining.
        23    So, I mean, there's enough similarity there that I
        24    -- you know, I think it is possible to -- to -- to
        25    say that.     And you're being a little bit fuzzy,
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                                                                         Page 268
         1    but, yeah, I think it's -- it's -- you could say
         2    that and still be an expert in -- in Bitcoin.
         3          Q      And how are the two -- how -- how was the
         4    creation of the genesis block different than the
         5    mining of a non-genesis block?
         6          A      It's just the -- the -- the -- I mean,
         7    the process for creating it requires some technical
         8    ability.     So, you know, to be -- to mine a regular
         9    Bitcoin block, all you needed to do was download
        10    the software and there was a menu item that said
        11    "start mining," and that's all you had to do.
        12          Q      Okay.
        13          A      To actually create a new genesis block,
        14    you know, when I created the test network, I
        15    actually had to write some code that would arrange
        16    things in the right way and then do some
        17    proof-of-work calculations to create appropriate
        18    proof of work for a new genesis block.
        19                      And so, you know, it's just -- it
        20    takes more -- at that time it took more technical
        21    skill to create a genesis block, and it was kind of
        22    not built into the software as it -- as it was.
        23          Q      All right.     When you say "hard-coded,"
        24    was it just kind of -- you did your stuff on your
        25    computer and then you kind of, like, inserted it,
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                                                                         Page 269
         1    is that --
         2          A      Yes.
         3          Q      Okay.    And -- but it didn't involve,
         4    like, a network or other computers and mining?
         5          A      No, it's all on a single computer.
         6          Q      And it's not passing around --
         7          A      No.     No, everything's done kind of
         8    privately on your own computer.
         9          Q      Okay.    In -- in comparison with -- well,
        10    in contrast to regular mining, where it's generally
        11    a collaborative effort?
        12          A      Yes, you have to build on other people's
        13    blocks or your block will be rejected.
        14          Q      Okay.    So there are, you know, some
        15    distinctions between the genesis block being
        16    hard-coded versus a regular?
        17          A      Yes.
        18          Q      Now, are you familiar with the term
        19    "Bitcoin private key"?
        20          A      Yes.
        21                       THE STENOGRAPHER:      Private key?
        22                       MR. KASS:   Bitcoin private key, yes.
        23          Q      And the term "Bitcoin public key"?
        24          A      Yes.
        25          Q      What is a "Bitcoin private key"?
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                                                                         Page 270
         1          A      A Bitcoin private key is a -- is a very
         2    long number that -- that you keep private as --
         3    as it -- as it says.        And, basically, private keys
         4    correspond to Bitcoins.        So if you own a private
         5    key, you have the ability to transfer the Bitcoins.
         6    It's -- it's -- is that good enough?
         7          Q      That's good enough.       I know it's a very
         8    touchy subject, but for my purposes, it's enough.
         9                        Now, if I have a private key -- what
        10    you define as a private key, which is a -- assume
        11    -- let's assume the definition of a private key --
        12    well, no, I don't -- I don't want to give
        13    you anything -- as you understand a private key to
        14    be, okay?
        15                      Now, if I have a private key and I
        16    share it with you -- correct?
        17          A      Yes.
        18          Q      -- what is that called now?
        19                      MR. FREEDMAN:     Objection, form.
        20          A      Well, I mean, it's still a private key.
        21          Q      Um-hm.
        22          A      But multiple people now can sign messages
        23    with it or can -- if there are Bitcoin associated
        24    with that private key, could spend the Bitcoin.
        25          Q      So would it be fair to say that whether
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                                                                         Page 271
         1    something is a private key does not depend on
         2    whether I actually keep it private?
         3          A      Yes.
         4          Q      Okay.
         5          A      Best practice is you should keep it
         6    private if you want control.
         7          Q      Okay.    And if somebody were to state that
         8    once a private key is shared, it no longer is a
         9    private key, would you consider that an accurate
        10    statement?
        11          A      No.    I think it still qualifies as a --
        12    as a private key.
        13          Q      Okay.    Would you consider that person
        14    very knowledgeable in Bitcoin terminology?
        15                       MR. FREEDMAN:    Objection, form.
        16          A      I -- I think possibly.        I mean, you know,
        17    your definition of private key may vary from the
        18    commonly held idea of what a private key is.
        19          Q      All right.     So you would at least agree
        20    that person's definition is not consistent with
        21    what the general Bitcoin community believes?
        22          A      I think that would be true, although I
        23    haven't polled the Bitcoin community on exactly,
        24    you know, Do you call a private key something else
        25    if it's been revealed to multiple people?
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                                                                         Page 272
         1                      MR. FREEDMAN:     Objection.
         2          Q      Based on your --
         3                      MR. FREEDMAN:     Objection.
         4          Q      Based on your understanding of your
         5    involvement of the Bitcoin -- in the Bitcoin
         6    community, it's a basic general understanding?
         7          A      Yes, I mean -- yes.
         8                      MR. FREEDMAN:     It's almost 5:00.       So
         9    do you want to stop now?
        10                      MR. KASS:    Want to stop now?
        11                      MR. FREEDMAN:     Yeah.
        12                      MR. KASS:    Okay.    So we're going to
        13    go off the record now.        We will resume tomorrow at
        14    11:00 a.m. here.
        15                      THE WITNESS:     Oh, 11's my favorite
        16    number.
        17                      MR. KASS:    Oh, yes, there we go.
        18                      THE WITNESS:     Perfect.
        19                      THE VIDEOGRAPHER:       I'm going to read
        20    off the record and close out for today.
        21                      MR. KASS:    Okay.
        22                      THE VIDEOGRAPHER:       The time now is
        23    5:00 p.m., and we have reached the end of today's
        24    deposition and Media Unit No. 4.           We are off the
        25    record, and this deposition will continue tomorrow.
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                                                                         Page 273
         1    We're off the record.
         2                      (Off record.)
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                                                                         Page 274
         1                       C E R T I F I C A T E
         2    COMMONWEALTH OF MASSACHUSETTS
         3    BRISTOL, SS
         4                      I, Lori-Ann London, Registered
         5    Professional Reporter and Notary Public in and for
         6    the Commonwealth of Massachusetts, do hereby
         7    certify:
         8               That, GAVIN A. ANDRESEN, the witness whose
         9    deposition is hereinbefore set forth, was duly
        10    sworn by me and that such deposition is a true
        11    record of the testimony given by the witness to the
        12    best of my knowledge, skill, and ability.
        13               I further certify that I am neither
        14    related to, nor employed by, any of the parties in
        15    or counsel to this action, nor am I financially
        16    interested in the outcome of this action.
        17               IN WITNESS WHEREOF, I have hereunto set my
        18    hand and seal of office this 3rd day of March 2020.
        19
        20
        21
        22                                      _______________________
        23                                      Lori-Ann London, RPR
        24                                      Notary Public
        25    My commission expires: 5/29/2026
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